                      IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE DITRICT OF KANSAS – KANSAS CITY DIVISION

In Re:                                         )            Case No. 23-20604-DLS
         MY SISTER’S CLOSET LLC                )            Chapter 11 (voluntary)
              Debtor and Debtor-In-Possession. )            Subchapter V

             THIRD AMENDED SMALL BUSINESS PLAN OF REORGANIZATION
            FOR DEBTOR MY SISTER’S CLOSET LLC, DATED DECEMBER 19, 2023

This Plan of Reorganization is presented to you to inform you of the proposed Plan for restructuring the
debt of Proponent MY SISTER’S CLOSET LLC., and to seek your vote to accept the Plan.

You are encouraged to carefully review the full text of this document, including all exhibits and
attachments, before deciding how to vote on the Plan.

IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THE PLAN, YOU MAY
OBJECT TO THE TERMS OF THE PROPOSED PLAN. IF YOU WISH TO OBJECT TO THE
ADEQUACY OF THE DISCLOSURES OR TO THE TERMS OF THE PROPOSED PLAN,
YOU MAY FILE AN OBJECTION. OBJECTIONS MUST BE FILED NO LATER THAN
JANAURY 4, 2024 AND MUST BE SERVED TO:

THE BALLOT MUST BE MAILED TO THE FOLLOWING ADDRESS:
RYAN A. BLAY, 15095 WEST 116TH STREET, OLATHE, KS 66062.

A HEARING ON THE CONFIRMATION OF THIS PLAN IS SCHEDULED FOR JANUARY
11, 2024 AT 1:46 PM.

Your rights may be affected by this Plan of Reorganization. You should consider discussing this
document with an attorney.

         Dated: December 19, 2023            Respectfully submitted,
                                             WM Law

                                             /s/ Ryan A. Blay
                                             Ryan A. Blay, MO #KS001066; KS #28110
                                             15095 W. 116th St.
                                             Olathe, KS 66062
                                             Phone (913) 422-0909 / Fax (913) 428-8549
                                             blay@wagonergroup.com
                                             ATTORNEY FOR DEBTOR(S)




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                                            ARTICLE I
1.1    Definitions

       A.      DEBTOR: MY SISTER’S CLOSET LLC.
       B.      CREDITORS: All creditors of the Debtor holding claims for unsecured debt, liabilities,
               demands, or claim of any character whatsoever, including any under-secured creditors.
       C.      SECURED CREDITORS: All creditors who hold a lien, security interest or other
               encumbrance which has been properly perfected, as required by law with respect to the
               property owned by the Debtor, prior to the filing of this case, or thereafter as authorized
               and ordered by the Court.
       D.      PRIORITY CREDITORS: All creditors who are deemed a priority under Section 507 of
               the Bankruptcy Code.
       E.      PLAN: Debtor’s proposed reorganization plan in its present form or as it may be
               amended or supplemented from time-to-time hereafter.
       F.      COURT: United State Bankruptcy Court for the District of Kansas, including the United
               States Bankruptcy Judge presiding in the Chapter 11 case of the Debtor.
       G.      CLAIM: A duly listed or timely filed claim which is allowed and ordered paid by the
               Court.
       H.      EFFECTIVE DATE: Fourteen (14) days after the date on which the order confirming the
               Plan becomes final and non-appealable.
       I.      ADMINISTRATIVE EXPENSES: Claims against the Debtor arising under 11 U.S.C. §
               507(a)(1) and allowed by the Court.

                HISTORY OF THE BUSINESS OPERATIONS OF THE DEBTOR

1.2      Nature of the Debtor’s Business
         My Sister’s Closet LLC (“My Sister’s Closet” or the “Debtor”) is a retail clothing operation with
two brick and mortar locations, in Marysville and Manhattan, Kansas, as well as an online presence at
https://mysistersclosetkansas.com/ and an app for Android and for Apple phones. My Sister’s Closet has
a total of 10 employees in addition to the owners, Brandon and Rachael Bargdill, each of whom holds a
50% interest. Rachael is the debtor’s principal and representative for this bankruptcy and she operates
out of both locations as a hybrid manager-salesperson. The business has been operating in various
versions over 12 years, including “Inside My Sister’s Closet” in the 2020 tax year. Income and
expenses for the entity are reported on the Bargdills’ income tax returns as a pass through entity.
1.3      Filing of the Debtor’s Chapter 11 Case
         On May 31, 2023, the Debtor filed a voluntary petition for relief under the Bankruptcy Code.
The Chapter 11 case is pending in the Bankruptcy Court for the District of Kansas.
1.4      Legal Structure and Ownership
         As mentioned above, the Bargdills own the LLC as members with 50% membership interest
         each. No other parties other than the Bargdills control any portion of the Debtor.
1.5      Debtor’s Assets
 The Debtor’s assets consist of two bank account at First Commerce Bank of Blue Rapids through which
all receipts are processed and payments are made, periodic accounts receivable, furniture and fixtures,
and store inventory valued at $60,000 in the Debtor’s schedules but fluctuating greatly week by week
and month by month. The Debtor may be eligible for an Employee Retention Credit (ERC) in an
unknown amount. The Debtor is seeking to retain all its collateral of through this Plan of
Reorganization except the ever changing inventory. A list of assets marked as Exhibit A is attached in



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the form of Schedule A/B from Debtor’s petition.

1.6     Debtor’s Liabilities
        The Debtor scheduled two secured claims in its schedules: A debt to Fora Financial for
approximately $41,000, and a debt to the US Small Business Administration (“SBA”) for $500,000.
Fora Financial filed an unsecured claim for $40,130.80 as an unsecured claim. The SBA has not filed a
claim, although the government bar deadline to do so hasn’t yet expired.

         Along with that, there are tax debts to the IRS. The IRS filed a claim in the amount of
$2,558.59, of which $2276.58 is priority. However, the majority of this claim stems from FICA reports
for the tax period 12/31/2021 and 3/31/2023 and are both estimated. The Debtor is working with its
accountants to produce the necessary reports to examine the claim and determine whether an objection
needs to be filed.
Debtor believes approximately $7500 is owed to the Kansas Department of Revenue for 2023
withholding and sales tax. However, no claim has yet been filed by KDOR
There are some general unsecured debts schedules as well, including a claim filed by Verizon for
$2632.42 and the aforementioned Fora loan. many of which related to equipment leases to be treated
through this Plan. $40,000 was scheduled to Chase, $4,200 to Shopify and $5,376 to Paypal. None of
these creditors filed claims, but are still eligible to participate in distributions through the Chapter 11
plan.

1.7    Current and Historical Financial Conditions
       The Debtor’s biggest struggle has been matching its workforce and locations to optimize its
revenues. While the Debtor used drop shipping during the COVID-19 pandemic, strong sales were
outweighed by unsustainable expenses. The Debtor is attempting to focus on its brick and mortar
presence in two relatively modest cities in Kansas to go along with the online presence.

       The Debtor believes that if it is allowed to reorganize, it can now pay operating costs along with
secured and priority creditors to maintain its inventory load and ultimately grow the inventory to
develop a more robust sales approach.

Unsecured creditors holding allowed claims will receive an amount equaling not less than would have
been paid under Chapter 7 of the Bankruptcy Code. See attached copies of Debtor’s Monthly Operating
Reports filed since the filing of the bankruptcy case, for the months of June and July 2023 Marked as
Exhibit B. (Augusts 2023’s is in preparation, and the Debtor anticipates filing this and perhaps
September 2023’s operating report before any hearing on confirmation of this Plan) Additionally, see
the Profit and Loss Statement from January-June 2023, marked as Exhibit C.

1.8     Events Leading to the Filing of the Bankruptcy Case
        The primary driver of the bankruptcy filing was the unsustainable payments to merchant cash
advance loans like Fora Financial, which were sapping the Debtor’s cash reserves and preventing a
growth in inventory. The Debtor would also like to increase salaries to its hourly employees and pay a
steadier wage to its principals

1.9    Significant Events During the Bankruptcy Case
       Since the filing of the bankruptcy the following is a list of significant events:

       •   The Debtor received approval to employ WM Law as counsel.



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       •    The Debtor is working on a motion to retain Christyne Gray and She Profits Now as
            accountants for the Estate.

1.10   Projected Recovery of Avoidable Transfers
       The Debtor does not anticipate any litigation to seek recovery of avoidable transfers.


                                             ARTICLE 2
                                               THE PLAN

        The Debtor’s Plan must describe how its Creditors will be paid. Certain Claims are entitled to
specific treatment under the Bankruptcy Code and are not placed in a class for purpose of payment. For
example, Administrative Expenses and Priority Tax Claims are not classified.

        As required by the Code, the Plan places Claims and Equity Interests in various classes and
describes the treatment each class will receive. The Plan also states whether each class of Claims or
Equity Interests is impaired or unimpaired. A Claim or Equity Interest can be impaired if the Plan alters
the legal, equitable or contractual rights to which the Claimants are otherwise entitled. If the Plan is
confirmed, each Creditor’s recovery is limited to the amount provided in the Plan.

        Only Creditors in classes that are impaired may vote on whether to accept or reject the Plan, and
only Creditors holding Allowed Claims may vote. A class accepts the Plan when more than one-half
(1/2) in number and at least two-thirds (2/3) in dollar amount of the Allowed Claims that actually vote,
vote in favor of the Plan. Also, a class of Equity Interests holders accepts the Plan when at least two-
thirds (2/3) in amount of the allowed Equity Interest holders that actually vote, vote in favor of the Plan.
A class that is not impaired is deemed to accept the Plan.

2.1     Unclassified Claims
        Certain types of Claims are automatically entitled to specific treatment under the Code. For
example, Administrative Expenses such as attorney fees are not classified. They are not considered
impaired, and holders of such Claims do not vote on the Plan. They may, however, object if, in their
view, their treatment under the Plan does not comply with that required by the Code. As such, the Plan
does not place the following Claims in any class.

        A. Administrative Expenses
        The Debtor must pay all Administrative Expenses in full. If an Administrative Expense is
disputed, the Bankruptcy Court must determine the validity and amount of the Administrative Expense,
or in other words, “allow” the Administrative Expense. Any Administrative Expense that is undisputed
and is due and owing on the Confirmation Date must be paid on the Effective Date of the Plan, or upon
such other terms as agreed upon by the Debtor and the Administrative Claimant. If the Administrative
Expense is disputed, payment will be made after the Administrative Expense is allowed by the
Bankruptcy Court.

       There are several types of Administrative Expenses, including the following:

       1.      If the Debtor trades in the ordinary course of business following its filing of the Chapter
               11 Case, Creditors are entitled to be paid in full for the goods or services provided. This
               ordinary trade debt incurred by the Debtor after the Petition Date will be paid on an


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              ongoing basis in accordance with the ordinary business practices and terms between the
              Debtor and its trade Creditors.

       2.     If the Debtor received goods it has purchased in the ordinary course of business within
              twenty (20) days before the Petition Date, the value of the goods received is an
              Administrative Expense.

       3.     Administrative Expenses also include any post-petition fees and expenses allowed to
              professionals, including attorneys and accountants employed upon Bankruptcy Court
              authority to render services to the Debtor during the course of the Chapter 11 case. These
              fees and expenses must be noticed to Creditors and approved by the Bankruptcy Court
              prior to payment.

       The following chart lists the Debtor’s estimated Administrative Expenses, and their proposed
treatment under the Plan:

                Type                  Estimated Amount                 Proposed Treatment
                                            Owed
    Expenses arising in the         None                         Payment through the Plan as
    ordinary course of business                                  follows:
    after the Petition Date
    Administrative Tax Claim        None                         Payment through the Plan
    The value of goods received     None                         Payment through the Plan as
    in the ordinary course of                                    follows:
    business within 20 days
    before the Petition Date
    Professional fees, as           Counsel estimates post-      After Bankruptcy Court approval,
    approved by the Bankruptcy      filing fees at               Payment through the Plan as
    Court                           approximately $12,000,       follows: Retainer to be paid from
                                    exclusive of any funds       funds held in Attorney’s Trust
                                    held in trust.               Account, then $200 per month for
                                                                 60 months.

                                                                 Additional fees paid by Debtor,
                                                                 after Bankruptcy Court approval.
    Clerk’s Office fees             None                         Paid in full on the Effective Date.
    Other Administrative            None                         Payment through the Plan as
    Expenses                                                     follows:
    Trustee                         Rob Messerli                 Upon application under § 330 and
                                                                 after Bankruptcy Court approval,
                                                                 payment through the Plan as
                                                                 follows: Within 30 days of Order
                                                                 of Approval or as negotiated with
                                                                 the Trustee. Debtor anticipates
                                                                 these expenses to total
                                                                 approximately $3,000




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        B. Priority Tax Claims
        Priority Tax Claims are unsecured income, employment, and other taxes described by §
507(a)(8) of the Code. Unless the holder of such a § 507(a)(8) Priority Tax Claim agrees otherwise, it
must receive the present value of such Claim, in regular installments paid over a period not exceeding
five (5) years from the order of relief.

       Each holder of a Priority Tax Claim will be paid as set forth in the chart below:

     Name of Taxing     Estimated            Date of                       Treatment
      Authority and      Amount             Assessment
       Type of Tax        Owed
     Internal Revenue $1993.59             2020-2022        Payment Treatment:
     Service –        ($1711.58
     Amended Claim priority)                                Interest rate: 5%
     #1, FICA taxes
     outstanding for                                        Paid in full no later than 60 months of
     period ending                                          the petition date (May 31, 2023) by 36
     3/2023                                                 consecutive payments of $51.30
                                                            monthly beginning February 1, 2024
                                                            Any nonpriority portion will be treated
                                                            as a general unsecured claim.
      Kansas              $15,897.98        2023 – not yet Payment Treatment:
      Department of       ($15,248.24       assessed or
      Revenue – Sales priority)             not filed as    Interest rate: 5%
      and Withholding                       claims
      Taxes (Claims 5                                       Paid in full no later than 60 months of
      and 6, as most                                        the petition date (May 31, 2023) by 48
      recently                                              consecutive payments of $351.16
      amended)                                              monthly beginning February 1, 2024
                                                            Any nonpriority portion will be treated
                                                            as a general unsecured claim.
The Debtor believes there may be an adjustment pending from the Internal Revenue Service as a result
of reports to be filed and will remain in communications with the proof of claim filer to determine if
there are additional credits pending. If the Debtor receives any credits for pre-petition payments made
after this Plan has been confirmed, the Debtor may elect to have the liabilities with the IRS reduced
accordingly and apply those credits or seek funds to pay into this Plan and account for those at the end
of the fiscal year funds are received.


2.2    Classes of Claims and Equity Interests
The following are the classes set forth in the Plan, and the proposed treatment that they will receive
under the Plan:

        A. Classes of Secured Claims
        Allowed Secured Claims are Claims secured by property of the Debtor’s bankruptcy estate (or
that are subject to setoff) to the extent allowed as secured Claims.
        All fees required to be paid by 28 U.S.C. § 1930(a)(6) (“United States Trustees Fees”) will
accrue and be timely paid until the case is closed, dismissed, or converted to another chapter of the



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Bankruptcy Code. Any United States Trustee Fees owed on the or before the Effective Date of the Plan
will be paid on the Effective Date.
        Under § 506 of the Code, if the value of the collateral or setoffs securing the Creditor’s Claim is
less than the amount of the Creditor’s Allowed Claim, the deficiency will be classified as a general
unsecured Claim.
        The following chart lists all classes containing the Debtor’s secured prepetition Claims and their
proposed treatment under the Plan:

Class #   Description                        Insider? Impairment Treatment
                                             (Yes or
                                             No)
1         Secured claim of:                  No       Impaired   Treatment of Lien: The SBA
          The US Small Business                                  retains its lien on the Debtor’s
          Administration (SBA)                                   collateral until the allowed secured
                                                                 claim is paid in full.
          Collateral description:
          Collateral description:                                       SBA shall receive fixed monthly
          General business security                                     payments over 5 years beginning
          agreement in the Debtor’s                                     February 1, 2024 on its secured
          assets. UCC filed with the                                    claim with interest at 5%.
          Kansas Secretary of State at                                  Monthly payments shall be
          date unknown. Claim #4 filed                                  $1960.19
          8/18/2023
                                                                        Payments due after the completion
          Allowed Amount:                                               of the plan shall be subject to any
          $522,325.02; Allowed Secured                                  future attempts at loan
          Amount $103,872                                               modifications, extensions, or
                                                                        renewals

                                                                        Payments begin:
                                                                        January 1, 2024
                                                                        Payments end:
                                                                        December 1, 2026


       B. Classes of Priority Unsecured Claims

        Certain priority Claims that are referred to in §§ 507(a)(1), (4), (5), (6), and (7) of the Code are
required to be placed in classes. The Code requires that each holder of such a Claim receive cash on the
Effective Date of the Plan equal to the allowed amount of such Claim. However, a class of holders of
such Claims may vote to accept different treatment.
        The following chart lists all classes containing Claims under §§ 507(a)(1), (4), (5), (6), and (a)(7)
of the Code and their proposed treatment under the Plan:

    Class #    Description                                    Impairment                    Treatment
    N/A        Priority unsecured claims pursuant to          [state whether impaired or    n/a
               Section 507(a)(1), (4), (5), (6), and & (7)    unimpaired] – n/a, no such
               None                                           creditors



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        C. Classes of General Unsecured Claims
        General unsecured Claims are not secured by property of the estate and are not entitled to
priority under § 507(a) of the Code. [Insert description of §1122(b) convenience class if applicable.]

       The following chart identifies the Plan’s proposed treatment of Classes 6 through 8, which
contain general unsecured Claims against the Debtor:

Class #    Description                                    Insider?        Impairment
                                                          (Yes or No)
2          General unsecured class                        Impaired        For the unsecured claims,
                                                                          General Unsecured Creditors
           Includes:                                                      shall share in payments from
           Fora Financial, $40,130.80 (Claim #2)                          disposable monthly income
           Verizon $2632.42 (Claim #3) Synchrony                          following years 1-5. The
           Bank/Paypal ($5,376, no claim filed),                          Debtor does not anticipate
           Shopify ($4,200, no claim filed), JPMCB                        having funds available to pay
           Card Services (Chase) ($40,000, no claim                       general unsecured creditors in
           filed), Faire Wholesale, Inc. ($23,381, no                     Year 1 of the plan due to
           claim filed) and the unsecured portion of                      administrative costs.
           the claim from the Internal Revenue
           Service (Claim #1)
                                                                          Based on current claims, debtor
                                                                          anticipates paying $4,800 to
                                                                          allowed unsecured claims with
                                                                          pro rata payments during year 5
                                                                          of the plan.


       D. Classes of Equity Interest Holders
       Equity Interest holders are parties who hold an ownership interest (i.e., equity interest) in the
Debtor. In a corporation, entities holding preferred or common stock are Equity Interest holders. In a
partnership, Equity Interest holders include both general and limited partners. In a limited liability
company (“LLC”), the Equity Interest holders are the members. Finally, with respect to an individual
who is a debtor, the Debtor is the Equity Interest holder.

        The following chart sets forth the Plan’s proposed treatment of the classes of Equity Interest
holders: [There may be more than one class of Equity Interest holders in, for example, a partnership
case, or a case where the prepetition Debtor had issued multiple classes of stock.]

      Class #   Description                                     Insider?         Impairment
                                                                (Yes or No)
      3         Equity Interest Holders:                        Unimpaired       Retain ownership
                Brandon and Rachael Bargdill                                     interest in the LLC

2.3    Estimated Number and Amount of Claims Objections
       A Disputed Claim is a claim that has not been allowed or has been disallowed by a final non-
appealable order, and as to which either:
       (i)    A proof of claim has been filed or deemed filed, and the Debtor of another party in
              interest has filed an objection; or


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        (ii)   No proof of claim has been filed, and the Debtor has scheduled such claim as disputed,
               contingent, or liquidated.

       The Debtor will have the power and authority to settle and compromise a Disputed Claim with
Court approval and compliance with Rule 9019 of the Federal Rules of Bankruptcy Procedure.

        The Debtor may object to the amount or validity of any Claim within 60 days of the
Confirmation Date by filing an objection with the Bankruptcy Court and serving a copy of the objection
on the holder of the Claim. The Claim objected to will be treated as a Disputed Claim under the Plan. If
and when a Disputed Claim is finally resolved by the allowance of the Claim in whole or in part, the
Debtor will pay the Allowed Claim in accordance with the Plan. [Set forth amount and number of
Claims in each class that will objected to.]

      Class    Number of Claims Objected To                          Amount of Claims Objected
                                                                     To
               The Debtor does not anticipate filing any claims      n/a
               objections. However, to the extent future filed
               tax returns, amended returns, or filings indicate a
               change in the amount due to any taxing
               authority, the Debtor may initiate a claim
               objection within the time frame specified above.


2.4     Treatment of Executory Contracts and Unexpired Leases
        Executory Contracts are contracts where significant performance of the contract remains for both
the Debtor and another party to the contract. The Debtor has the right to reject, assume (i.e., accept), or
assume and assign these types of contracts to another party, subject to the Bankruptcy Court’s approval.
The paragraphs below explain the Debtor’s intentions regarding its Executory Contracts (which includes
its unexpired leases) and the impact such intentions would have on the other parties to the contracts.

Check all that apply.

[X]    Assumption of Executory Contracts
       The Executory Contracts listed below shall be assumed by the Debtor unless otherwise noted.
Assumption means that the Debtor has elected to continue to perform the obligations under such
contracts and unexpired leases, and to cure defaults of the type that must be cured under the Bankruptcy
Code, if any.

        If you object to the assumption of your unexpired lease or executory contract, the proposed cure
of any defaults, or the adequacy of assurance of future performance, you must file and serve your
objection to the assumption within the deadline for objecting to the confirmation of the Plan, unless the
Bankruptcy Court as set an earlier date.

         The Debtor formally accepts the lease with Brad Simonsson and CenterCal Properties LL
for its commercial premises, and rejects all other executory contracts.
OR
[ ]      Rejection of Executory Contracts and Unexpired Leases
         The Executory Contracts shown on Exhibit ___ shall be rejected by the Debtor.



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       Further, the Debtor will be conclusively deemed to have rejected all executory contracts and/or
unexpired leases not expressly shown on Exhibit ____, or not assumed before the date of the order
confirming the Plan.
       Rejection means that the Debtor has elected not to continue to perform the obligations under
such contracts or leases. If the Debtor has elected to reject a contract or lease, the other party to the
contract or lease will be treated as an unsecured Creditor holding a Claim that arose before the
bankruptcy was filed.

2.5     Means for Implementation of the Plan
        Upon Confirmation of the Plan, the Debtor shall make direct payments to all the secured, priority
and general unsecured creditors per the provisions above, unless otherwise noted, from its income and
any contributions from the Debtor’s principal. Debtor believes the market for its services continues to
stabilize following lifting of the restrictions from the COVID-19 pandemic.

        Upon Confirmation of the Plan, all property of the Debtor, tangible and intangible, including,
without limitation, licenses, furniture, fixtures and equipment, will revert, free and clear of all Claims
and Equitable Interests except as provided in the Plan, to the Debtor. The Debtor expects to have
sufficient cash on hand to make the payments required on the Effective Date.

       Pursuant to 11 U.S.C. § 1192(c)(2)(A), all of the projected disposable income of the Debtor to be
received in the 3-year period, or such longer period not to exceed five (5) years as the Court may fix,
beginning on the date that the first payment is due under the Plan will be applied to make payments
under the Plan.

2.6    Disbursing Agent
       Distributions to Creditors provided for in this Plan will be made by MY SISTER’S CLOSET
LLC., directly.

2.7    Post-Confirmation Management
       The Post-Confirmation Officers/Management of the Debtor, and their compensation, shall be as
follows:

      Name            Position   Compensation
      Brandon and     Owners      Mr. and Mrs. Bargdill will each receive a monthly salary, estimated
      Rachael                    at $3200 per month in total for the two of them. This is subject to
      Bargdill                   future review as the plan progresses.

2.8   Tax Consequences of the Plan
      Creditors and Equity Interest Holders Concerned with How the Plan May Affect Their
Tax Liability Should Consult with Their Own Accountants, Attorneys, and/or Advisors.

       The following are the anticipated tax consequences of the Plan: The Debtor is treated as a Sub
Chapter S Corporation for tax purposes and all income and losses pass through directly to the members,
who are Matt Nelson. There should be no tax consequences to the Debtor.

2.9      Projections in Support of Debtor’s Ability to Make Payments Under the Proposed Plan
         Debtor has provided projected financial information. Those projections are listed in Exhibit D.




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                                             ARTICLE 3
                                         FEASIBILITY OF PLAN
        The Bankruptcy Court must find that confirmation of the Plan is not likely to be followed by the
liquidation, or the need for further financial reorganization, of the Debtor or any successor to the Debtor,
unless such liquidation or reorganization is proposed in the Plan.

3.1    Ability to Initially Fund Plan

       The Plan Proponent believes that the Debtor will have enough cash on hand on the Effective
Date of the Plan to pay all the Claims and expenses that are entitled to be paid on that date.

3.2    Ability to Make Future Plan Payments and Operation Without Further Reorganization

       The Plan Proponent must also show that it will have enough cash over the life of the Plan to
make the required Plan payments.

      The Plan Proponent has provided projected financial information. Those projections are listed in
Exhibit E.

       The Plan Proponent’s financial projections show that the Debtor will have an aggregate annual
average cash flow, after paying operating expenses and post-confirmation taxes (and proposed Chapter
11 plan payments), of $1,155 in year 1, $441 in year 2, $2974.56 in year 3, $672.48 in year 4, and
$1554.72 in year 5. The final Plan payment is expected to be paid in December 2028


      You Should Consult with Your Accountant or other Financial Advisor If You Have Any
Questions Pertaining to These Projections.


                                             ARTICLE 4
                                      LIQUIDATION ANALYSIS

To confirm the Plan, the Bankruptcy Court must find that all Creditors and Equity Interest holders who
do not accept the Plan will receive at least as much under the Plan as such Claimants and Equity Interest
holders would receive a in Chapter 7 liquidation. A liquidation analysis is attached hereto as Exhibit F.


                                             ARTICLE 5
                                              DISCHARGE
       On the Confirmation Date of this Plan, the Debtor will be discharged from any debt that arose
before confirmation of the Plan, subject to the occurrence of the Effective Date, to the extent specified in
§ 1141(d)(1)(A) of the Code. The Debtor will not be discharged from any debt imposed by this Plan.




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                                            ARTICLE 6
                                       GENERAL PROVISIONS

6.1    Title to Assets

       Except as otherwise provided in the Plan or in the order confirming the Plan,

       (i)     confirmation of the Plan vests all of the property of the estate in the Debtor, and
       (ii)    after confirmation of the Plan, the property dealt with by the Plan is free and clear of all
               Claims and Equity Interests of Creditors, equity security holders, and of general partners
               in the Debtor.

6.2    Binding Effect

       If the Plan is confirmed, the provisions of the Plan will bind the Debtor and all Creditors,
whether or not they accept the Plan. The rights and obligations of any entity named or referred to in this
Plan will be binding upon and will inure to the benefit of the successors or assigns of such entity.

6.3    Severability

        If any provision in this Plan is determined to be unenforceable, the determination will in no way
limit or affect the enforceability and operative effect of any other provision of this Plan.

6.4    Retention of Jurisdiction by the Bankruptcy Court

The Bankruptcy Court shall retain jurisdiction of this case with regard to the following matters:

       (i)     To make such orders as are necessary or appropriate to implement the provisions of the
               Plan and to resolve any disputes arising from implementation of the Plan;
       (ii)    To rule on any modification of the Plan proposed under Section 1127;
       (iii)   To hear and allow all applications for compensation to professionals and other
               Administrative Expenses;
       (iv)    To resolve all issues regarding Claims objections, and issues arising from the
               assumption/rejection of executory contracts or unexpired leases; and
       (v)     To adjudicate any cause of action which may exist in favor of the Debtor, including
               preference and fraudulent transfer causes of action.

6.5    Captions

      The headings contained in the Plan are for convenience of reference only and do not affect the
meaning or interpretation of this Plan.


6.6    Confirmation of Plan
       The Debtor is a corporation. The confirmation of the Plan is treated in 11 U.S.C. § 1191 with the
Discharge treated pursuant to 11 U.S.C. § 1192.

6.7    Modification of Plan



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       The Plan Proponent may modify the Plan at any time before confirmation of the Plan. However,
the Court may require re-voting on the Plan.

         The Plan Proponent may also seek to modify the Plan at any time after confirmation only if:
         (i)    The Plan has not been substantially consummated and
         (ii)   The Bankruptcy Court authorizes the proposed modifications after notice and a hearing.

6.8      Creditor Remedies in Event of Default under Plan

          A default under this Plan is defined as a failure to pay two or more consecutive payments under
      this plan or failure to pay any single payment for 90 days or more from a due date. Any Creditor
      whose payment is in default may file a Notice of Default with this Court and provide written notice
      care of Debtor’s counsel via e-mail or United States mail, first class. If such default is not cured
      within 30 days of the Notice of Default, the Creditor may elect to assert a restoration of security
      interests at contract amounts still owed, and the right of the Creditor to seek liquidation of non-
      exempt assets.

6.9      Final Decree

        Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of
Bankruptcy Procedure, the Plan Proponent or such other party as the Bankruptcy Court shall designate
in the Plan Confirmation Order, shall file a motion with the Bankruptcy Court to obtain a final decree to
close the case. Alternatively, the Bankruptcy Court may enter such a final decree on its own motion.

Dated: December 19, 2023                       Respectfully submitted,

                                               /s/ Rachael Bargdill
                                               My Sister’s Closet LLC.
                                               By Owner Rachael Bargdill

         Dated: December 19, 2023              Respectfully submitted,
                                               WM Law

                                               /s/ Ryan A. Blay
                                               Ryan A. Blay, MO #KS001066; KS #28110
                                               15095 W. 116th St.
                                               Olathe, KS 66062
                                               Phone (913) 422-0909 / Fax (913) 428-8549
                                               blay@wagonergroup.com
                                               ATTORNEY FOR DEBTOR(S)




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                     EXHIBIT A

                ASSETS: Schedules A/B




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Fill in this information to identify the case:

Debtor name          My Sister's Closet LLC

United States Bankruptcy Court for the:      DISTRICT OF KANSAS

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    First Commerce Bank of Blue Rapids
                    in name of Brandon and Rachael
           3.1.     Bargdill                                          checking                              0370                                   $2,990.00


                    First Commerce Bank of Blue Rapids
                    in name of Brandon and Rachael
           3.2.     Bargdill                                          checking                              0389                                        $882.35



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                     $3,872.35
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     security deposit for Manhattan store lease                                                                                     $2,000.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1


                                 Case
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Debtor         My Sister's Closet LLC                                                      Case number (If known)
               Name

           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                       $2,000.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

Part 4:        Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last             Net book value of      Valuation method used   Current value of
                                              physical inventory           debtor's interest      for current value       debtor's interest
                                                                           (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale
           store inventory                                                               $0.00    retail                            $60,000.00



22.        Other inventory or supplies

23.        Total of Part 5.                                                                                                     $60,000.00
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
            No
            Yes
25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                   Valuation method                        Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                     page 2

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Debtor        My Sister's Closet LLC                                                         Case number (If known)
              Name

Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

39.        Office furniture

40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           office equipment, primarily at the home of the
           principals for use in the business                                              $0.00                                        $1,000.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                             $1,000.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3

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62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           mailing list and website                                                      $0.00                                        Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           ERC - Debtor is hoping to have these funds in the next
           60 days                                                                                                                   $37,000.00




78.        Total of Part 11.                                                                                                      $37,000.00
           Add lines 71 through 77. Copy the total to line 90.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4

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Debtor      My Sister's Closet LLC                                                  Case number (If known)
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79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property              page 5

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                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                      Current value of real
                                                                                                    personal property                     property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $3,872.35

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $2,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $60,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                  $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $37,000.00

91. Total. Add lines 80 through 90 for each column                                                            $103,872.35             + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $103,872.35




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 6

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                                           EXHIBIT B


               MONTHLY OPERATING REPORTS FILED WITH THE COURT




See June-October 2023 Monthly Operating Reports attached


November 2023 report is in preparation and will be filed after this Plan has been submitted.




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Fill in this information to identify the case:

            My Sister's Closet LLC
Debtor Name __________________________________________________________________


                                        District ofDistrict
United States Bankruptcy Court for the: _______     Kansas  of ________

                                                                                                                     Check if this is an
Case number: 23-20604
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                 June 2023
                      ___________                                                              Date report filed:     08/21/2023
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                  Clothing sales - retail
Line of business: ________________________                                                     NAISC code:            4581
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                            Rachael Bargdill
                                              ____________________________________________

Original signature of responsible party       ____________________________________________

Printed name of responsible party             Rachael Bargdill
                                              ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.    Did the business operate during the entire reporting period?                                                     
                                                                                                                                          
    2.    Do you plan to continue to operate the business next month?                                                      
                                                                                                                                          
    3.    Have you paid all of your bills on time?                                                                         
                                                                                                                                          
    4.    Did you pay your employees on time?                                                                              
                                                                                                                                          
    5.    Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                  
                                                                                                                                          
    6.    Have you timely filed your tax returns and paid all of your taxes?                                               
                                                                                                                                          
    7.    Have you timely filed all other required government filings?                                                     
                                                                                                                                          
    8.    Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                 
                                                                                                                                            

    9.    Have you timely paid all of your insurance premiums?                                                             
                                                                                                                                          
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                           
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                           
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                           
    13. Did any insurance company cancel your policy?                                                                             
                                                                                                                                           
    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                           
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                       
                                                                                                                                           
    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                           
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Debtor Name   My  Sister's Closet LLC
              _______________________________________________________                             23-20604
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                     
                                                                                                                                         
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                          


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                             27,409.54
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                           27,438.50
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                                  -28.96
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                               5,258.40
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills

        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                      $ ___
                                                                                                                            $1,796.40_________
               (Exhibit E)                          Sales Taxes, incurred June 2023




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Debtor Name   My  Sister's Closet LLC
              _______________________________________________________                                23-20604
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                      $ ______0______

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?                                                              _______9_____

    27. What is the number of employees as of the date of this monthly report?                                                 ______8______




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                            0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ ____________           –      27,409.54
                                                                     $ ____________
                                                                                               =   $ ____________
    32. Cash receipts
                                                                        27,438.50              =
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                                 –          -28.96             =
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                       $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________



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Debtor Name   My  Sister's Closet LLC
              _______________________________________________________                            23-20604
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
     38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.
     40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
    

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




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   Transaction History
   MSC - INCOME - Checking
   Available Balance
   $1,106.81

                                                                                                    Current Balance
                                                                                                               $1,062.48



   Customer                        603311                          Account                    ****0370
   Last Deposit Date
   09/20/2023
   Last Deposit Amount             $46.81                          Last Statement Date        08/31/2023
   Last Statement Balance          $2,989.23


   You are currently viewing all transactions from 7/1/2023 to 7/31/2023

    Date           Type               Description                                             Debits Credits

                    ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/31/2023                                                                                    ($800.00)
                    DEBIT                   Transaction

                    POINT OF SALE           PURCHASE 07-28 VERY J LOVE RIC FAIRE
    7/31/2023                                                                                    ($233.58)
                    DEBIT                   SAN FRANCISCO, CA MCI 8410

                    POINT OF SALE           PURCHASE 07-28 FAIRE #GEKK2NM47R
    7/31/2023                                                                                    ($213.10)
                    DEBIT                   SAN FRANCISCO, CA MCI 8410

                    POINT OF SALE           PURCHASE 07-28 APPLE.COM/BILL 866-
    7/31/2023                                                                                     ($98.99)
                    DEBIT                   712-7753 , CA MCI 8410

                    POINT OF SALE           PURCHASE 07-28 FIVE BELOW 835
    7/31/2023                                                                                     ($94.96)
                    DEBIT                   MANHATTAN, KS MCI 8410

                    POINT OF SALE           PURCHASE 07-29 TRENDSI CITY OF INDUS,
    7/31/2023                                                                                     ($61.18)
                    DEBIT                   CA MCI 8410

                    POINT OF SALE           PURCHASE 07-27 RIVERSIDE MARKET BLUE
    7/31/2023                                                                                     ($31.74)
                    DEBIT                   RAPIDS, KS MCI 8410

                    POINT OF SALE           PURCHASE 07-29 TRENDSI CITY OF INDUS,
    7/31/2023                                                                                     ($26.83)
                    DEBIT                   CA MCI 8410


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                   POINT OF SALE           PURCHASE 07-28 APPLE.COM/BILL 866-
    7/31/2023                                                                                 ($21.69)
                   DEBIT                   712-7753 , CA MCI 8410

                   POINT OF SALE           PURCHASE 07-29 TRENDSI CITY OF INDUS,
    7/31/2023                                                                                 ($17.44)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-29 TRENDSI CITY OF INDUS,
    7/31/2023                                                                                 ($10.03)
                   DEBIT                   CA MCI 8410

                   REGULAR
    7/31/2023                              REGULAR DEPOSIT                                                $626.74
                   DEPOSIT

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/31/2023 ACH DEPOSIT                                                                                 $217.14
                                           CREDIT CommentSol ST-Z9W3W1R4V1E2

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/31/2023 ACH DEPOSIT                                                                                $1,044.18
                                           TRANSFER ST-D2C2W4O8J7O7

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/28/2023                                                                                ($500.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-27 FAIRE #HX9CE2G3S9 SAN
    7/28/2023                                                                                ($411.01)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-27 NINEXIS FAIRE SAN
    7/28/2023                                                                                ($191.60)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-27 DOLLAR GENERAL
    7/28/2023                                                                                 ($33.23)
                   DEBIT                   #15452 BLUE RAPIDS, KS PPE 8410

                   POINT OF SALE           PURCHASE 07-27 NINEXIS FAIRE SAN
    7/28/2023                                                                                 ($21.00)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-28 MCDONALD'S F2753
    7/28/2023                                                                                 ($11.14)
                   DEBIT                   MANHATTAN, KS PPE 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/28/2023 ACH DEPOSIT                                                                                  $80.09
                                           CREDIT CommentSol ST-D2V0O3H0V3A1

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/28/2023 ACH DEPOSIT                                                                                $1,031.95
                                           TRANSFER ST-E5P4U3R0Q4G5

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/28/2023 ACH DEPOSIT                                                                                 $190.98
                                           Payout

                   ELECTRONIC              TO XXXXXXXX7480 Internet Banking
    7/27/2023                                                                                ($330.00)
                   DEBIT                   Transaction

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                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/27/2023                                                                                ($100.00)
                   DEBIT                   Transaction

                   POINT OF SALE           POS PYMT 07-26 SP AFF BLOOMWHOLESA
    7/27/2023                                                                                 ($34.76)
                   DEBIT                   SAN FRANCISCO, CA PUL 8410

                   POINT OF SALE           POS PYMT 07-26 SP AFF TAASINC2 SAN
    7/27/2023                                                                                 ($32.21)
                   DEBIT                   FRANCISCO, CA PUL 8410

                   POINT OF SALE           PURCHASE 07-26 TRENDSI CITY OF INDUS,
    7/27/2023                                                                                 ($21.04)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-26 TRENDSI CITY OF INDUS,
    7/27/2023                                                                                 ($12.64)
                   DEBIT                   CA MCI 8410

                   REGULAR
    7/27/2023                              REGULAR DEPOSIT                                               $211.73
                   DEPOSIT

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/27/2023 ACH DEPOSIT                                                                                $464.32
                                           TRANSFER ST-I4J0S2Y7A4S3

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/27/2023 ACH DEPOSIT                                                                                 $29.82
                                           Payout

                   ELECTRONIC              TO XXXXXXXX7480 Internet Banking
    7/26/2023                                                                                ($300.00)
                   DEBIT                   Transaction

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/26/2023                                                                                ($200.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-25 42POPS FAIRE SAN
    7/26/2023                                                                                 ($91.50)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-25 TRENDSI CITY OF INDUS,
    7/26/2023                                                                                 ($42.52)
                   DEBIT                   CA MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/26/2023 ACH DEPOSIT                                                                                 $62.08
                                           CREDIT CommentSol ST-V2F2F7U3L7X1

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/26/2023 ACH DEPOSIT                                                                                $165.52
                                           TRANSFER ST-G1R5F0V2U2U0

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/25/2023                                                                                ($500.00)
                   DEBIT                   Transaction

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/25/2023                                                                                ($500.00)
                   DEBIT                   Transaction

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                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/25/2023                                                                                ($350.00)
                   DEBIT                   Transaction

                   ELECTRONIC
    7/25/2023                              TO XXXXXXXX7402 Owners pay                        ($300.00)
                   DEBIT

                   POINT OF SALE           PURCHASE 07-24 DM MERCHANDISING
    7/25/2023                                                                                ($221.00)
                   DEBIT                   FAIRE SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-24 MYS WHOLESALE IN
    7/25/2023                                                                                ($205.50)
                   DEBIT                   FAIRE SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-24 HEIMISH FAIRE SAN
    7/25/2023                                                                                ($102.30)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           POS PYMT 07-24 SP AFF BLOOMWHOLESA
    7/25/2023                                                                                 ($68.89)
                   DEBIT                   SAN FRANCISCO, CA PUL 8410

                   POINT OF SALE           PURCHASE 07-24 CULTURE CODE FAIRE
    7/25/2023                                                                                 ($50.65)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/25/2023                                                                                 ($50.00)
                   DEBIT                   Transaction

                   POINT OF SALE           POS PYMT 07-24 SP AFF LITTLEBUFFAL SAN
    7/25/2023                                                                                 ($31.00)
                   DEBIT                   FRANCISCO, CA PUL 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/25/2023 ACH DEPOSIT                                                                                 $340.58
                                           CREDIT CommentSol ST-P1S4M3T8U8E7

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/25/2023 ACH DEPOSIT                                                                                $2,354.50
                                           TRANSFER ST-C6A4T9G5Z0V8

                   POINT OF SALE           PURCHASE 07-22 42POPS FAIRE SAN
    7/24/2023                                                                                ($618.90)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-21 FAIRE #UKXAHJKFWY SAN
    7/24/2023                                                                                ($213.10)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-21 VERIZON-VICTRA KS
    7/24/2023                                                                                 ($34.40)
                   DEBIT                   MARY MARYSVILLE, KS MCI 8410

                   POINT OF SALE           PURCHASE 07-21 SONIC DRIVE IN #2571
    7/24/2023                                                                                 ($30.65)
                   DEBIT                   MARYSVILLE, KS MCI 8410

                   POINT OF SALE           PURCHASE 07-21 APPLE.COM/BILL
    7/24/2023                                                                                  ($4.33)
                   DEBIT                   CUPERTINO, CA MCI 8410

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                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/24/2023 ACH DEPOSIT                                                                                $399.25
                                           CREDIT CommentSol ST-J5J9Q0V4J1R0

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/24/2023 ACH DEPOSIT                                                                                $430.05
                                           TRANSFER ST-B0F6S0S6F9S1

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/24/2023 ACH DEPOSIT                                                                                 $43.40
                                           Payout

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/21/2023                                                                                ($500.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-20 FAIRE #SKP2US9GQT SAN
    7/21/2023                                                                                ($411.01)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-20 CULTURE CODE FAIRE
    7/21/2023                                                                                ($361.26)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/21/2023                                                                                ($250.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-19 DOLLAR-GENERAL #2502
    7/21/2023                                                                                ($139.71)
                   DEBIT                   MARYSVILLE, KS MCI 8410

                   ELECTRONIC              TO XXXXXXXX7480 Internet Banking
    7/21/2023                                                                                 ($40.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-20 TRENDSI CITY OF INDUS,
    7/21/2023                                                                                 ($27.04)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-20 TRENDSI CITY OF INDUS,
    7/21/2023                                                                                 ($21.63)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-19 DOLLAR-GENERAL #2502
    7/21/2023                                                                                 ($17.59)
                   DEBIT                   MARYSVILLE, KS MCI 8410

                   POINT OF SALE           PURCHASE 07-20 TRENDSI CITY OF INDUS,
    7/21/2023                                                                                 ($15.87)
                   DEBIT                   CA MCI 8410

                   REGULAR
    7/21/2023                              REGULAR DEPOSIT                                               $503.86
                   DEPOSIT

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/21/2023 ACH DEPOSIT                                                                                 $56.42
                                           CREDIT CommentSol ST-C8R6F1M4I3B6

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/21/2023 ACH DEPOSIT                                                                                $324.80
                                           TRANSFER ST-W2P5Z7Z4Z2C7

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                   POINT OF SALE           PURCHASE 07-19 WM SUPERCENTER #341
    7/20/2023                                                                                ($162.26)
                   DEBIT                   MARYSVILLE, KS MCI 8410

                   POINT OF SALE           PURCHASE 07-19 FAIRE INSIDER SAN
    7/20/2023                                                                                 ($19.99)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-19 TRENDSI CITY OF INDUS,
    7/20/2023                                                                                 ($14.59)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-19 WM SUPERCENTER #341
    7/20/2023                                                                                  ($8.06)
                   DEBIT                   MARYSVILLE, KS PPE 8410

                   POINT OF SALE           PURCHASE 07-19 WM SUPERCENTER #341
    7/20/2023                                                                                  ($1.49)
                   DEBIT                   MARYSVILLE, KS PPE 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/20/2023 ACH DEPOSIT                                                                                $186.10
                                           CREDIT CommentSol ST-X3W4R5P8V7D0

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/20/2023 ACH DEPOSIT                                                                                $332.73
                                           TRANSFER ST-Q4D3U1X3L5K5

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/20/2023 ACH DEPOSIT                                                                                $135.82
                                           Payout

                   POINT OF SALE           PURCHASE 07-18 SP THREAD SHED BOUTI
    7/19/2023                                                                                ($391.00)
                   DEBIT                   FREDERIC, WI MCI 8410

                   POINT OF SALE           PURCHASE 07-18 SUZIE Q USA FAIRE SAN
    7/19/2023                                                                                ($339.15)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   ELECTRONIC              TO XXXXXXXX7480 Internet Banking
    7/19/2023                                                                                ($300.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-18 TRENDSI CITY OF INDUS,
    7/19/2023                                                                                 ($77.30)
                   DEBIT                   CA MCI 8410

                                           PURCHASE 07-18 SP+AFF*
              POINT OF SALE
    7/19/2023                              KIDSCHARM.COM SAN FRANCISCO, CA MCI                ($48.34)
              DEBIT
                                           8410

                   POINT OF SALE           PURCHASE 07-18 TRENDSI CITY OF INDUS,
    7/19/2023                                                                                 ($16.97)
                   DEBIT                   CA MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/19/2023 ACH DEPOSIT                                                                                $260.34
                                           CREDIT CommentSol ST-V7L6V5D2Y1R9

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/19/2023 ACH DEPOSIT                                                                                $415.48
                                           TRANSFER ST-W4S4V4C2R1B8
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                                           SEZZLE My Sisters Closet ACH CREDIT
    7/19/2023 ACH DEPOSIT                                                                                  $20.41
                                           Payout

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/18/2023                                                                                ($800.00)
                   DEBIT                   Transaction

                   ELECTRONIC              TO XXXXXXXX7480 Internet Banking
    7/18/2023                                                                                ($500.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-17 CULTURE CODE FAIRE
    7/18/2023                                                                                ($418.35)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           POS PYMT 07-18 SP AFF TAASINC2 SAN
    7/18/2023                                                                                 ($51.81)
                   DEBIT                   FRANCISCO, CA PUL 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/18/2023 ACH DEPOSIT                                                                                 $493.20
                                           CREDIT CommentSol ST-B4N8E5Q5P0C6

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/18/2023 ACH DEPOSIT                                                                                $2,005.26
                                           TRANSFER ST-L1O9Z4O1U6I7

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/18/2023 ACH DEPOSIT                                                                                  $94.76
                                           Payout

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/17/2023                                                                                ($800.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-16 FAIRE #RF27F685B2 SAN
    7/17/2023                                                                                ($411.00)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   ELECTRONIC              TO XXXXXXXX7480 Internet Banking
    7/17/2023                                                                                ($300.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-14 FAIRE #6EVKEGQ4HE SAN
    7/17/2023                                                                                ($213.10)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-14 TRENDSI CITY OF INDUS,
    7/17/2023                                                                                ($190.83)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-14 POL CLOTHING FAIRE
    7/17/2023                                                                                ($174.52)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-16 TRENDSI CITY OF INDUS,
    7/17/2023                                                                                 ($53.05)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-16 TRENDSI CITY OF INDUS,
    7/17/2023                                                                                 ($41.99)
                   DEBIT                   CA MCI 8410

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                   POINT OF SALE           PURCHASE 07-16 TIME CLOCK WIZARD INC
    7/17/2023                                                                                 ($34.90)
                   DEBIT                   8662087618, NY MCI 8410

                   POINT OF SALE           PURCHASE 07-16 TRENDSI CITY OF INDUS,
    7/17/2023                                                                                 ($21.69)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-15 TRENDSI CITY OF INDUS,
    7/17/2023                                                                                 ($21.04)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           POS PYMT 07-15 SP AFF COUNTRY GRAP
    7/17/2023                                                                                 ($16.60)
                   DEBIT                   SAN FRANCISCO, CA PUL 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/17/2023 ACH DEPOSIT                                                                                $222.11
                                           CREDIT CommentSol ST-B5F9J6J3V1G9

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/17/2023 ACH DEPOSIT                                                                                $231.33
                                           TRANSFER ST-N6X9B9D8P9I8

                   POINT OF SALE           REFUND 07-14 TRENDSI CITY OF INDUS, CA
    7/17/2023                                                                                              $1.47
                   CREDIT                  MCI 8410

                   POINT OF SALE           REFUND 07-14 TRENDSI CITY OF INDUS, CA
    7/17/2023                                                                                              $7.59
                   CREDIT                  MCI 8410

                   POINT OF SALE           REFUND 07-14 TRENDSI CITY OF INDUS, CA
    7/17/2023                                                                                              $0.92
                   CREDIT                  MCI 8410

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/17/2023 ACH DEPOSIT                                                                                 $32.29
                                           Payout

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/14/2023                                                                                ($400.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-13 ACTING PRO FAIRE SAN
    7/14/2023                                                                                ($107.50)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-13 BLUE RAPIDS AUTO &
    7/14/2023                                                                                 ($98.08)
                   DEBIT                   HAR BLUE RAPIDS, KS MCI 8410

                   POINT OF SALE           PURCHASE 07-14 TRENDSI CITY OF INDUS,
    7/14/2023                                                                                 ($90.68)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-13 TRENDSI CITY OF INDUS,
    7/14/2023                                                                                 ($27.04)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-13 TRENDSI CITY OF INDUS,
    7/14/2023                                                                                 ($19.66)
                   DEBIT                   CA MCI 8410

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                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/14/2023 ACH DEPOSIT                                                                                $980.97
                                           CREDIT CommentSol ST-Y5U9K6I9I8I9

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/14/2023 ACH DEPOSIT                                                                                $265.98
                                           TRANSFER ST-N8E2S5T0B4L2

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/14/2023 ACH DEPOSIT                                                                                 $35.96
                                           Payout

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/13/2023                                                                                ($400.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($70.26)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($66.77)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($65.99)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-13 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($35.48)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($35.05)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-13 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($21.98)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($19.28)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($16.94)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($16.89)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-13 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($16.47)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-13 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($15.97)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                 ($14.52)
                   DEBIT                   CA MCI 8410

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                   POINT OF SALE           PURCHASE 07-12 TRENDSI CITY OF INDUS,
    7/13/2023                                                                                   ($10.32)
                   DEBIT                   CA MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/13/2023 ACH DEPOSIT                                                                                   $89.98
                                           CREDIT CommentSol ST-V5I8B4A0I4D4

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/13/2023 ACH DEPOSIT                                                                                  $224.59
                                           TRANSFER ST-X3Z1T3A6P4I5

                                           SHOPPAYINST AFRM
              ACH
    7/12/2023                              MySister'sClosetKansas ACH DEBIT                     ($61.00)
              WITHDRAWAL
                                           PAYMENTS C2FER1NG4C82LL8

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/12/2023                                                                                ($1,500.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-11 CY FASHION FAIRE SAN
    7/12/2023                                                                                 ($231.88)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-11 JADELYNN BROOKE FAIRE
    7/12/2023                                                                                 ($184.81)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-11 DM MERCHANDISING
    7/12/2023                                                                                   ($77.63)
                   DEBIT                   FAIRE SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-11 TRENDSI CITY OF INDUS,
    7/12/2023                                                                                   ($56.52)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-11 ROUTE 77 CORNER
    7/12/2023                                                                                   ($32.71)
                   DEBIT                   STORE WATERVILLE, KS MCI 8410

                   POINT OF SALE           PURCHASE 07-11 TRENDSI CITY OF INDUS,
    7/12/2023                                                                                   ($32.39)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-11 TRENDSI CITY OF INDUS,
    7/12/2023                                                                                   ($21.04)
                   DEBIT                   CA MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/12/2023 ACH DEPOSIT                                                                                  $393.28
                                           CREDIT CommentSol ST-R6W0N5O1F5S1

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/12/2023 ACH DEPOSIT                                                                                  $199.13
                                           TRANSFER ST-D0V8Z3R5V9J3

                   POINT OF SALE           REFUND 07-11 TRENDSI CITY OF INDUS, CA
    7/12/2023                                                                                                $1.93
                   CREDIT                  MCI 8410

                   POINT OF SALE           REFUND 07-11 TRENDSI CITY OF INDUS, CA
    7/12/2023                                                                                                $1.88
                   CREDIT                  MCI 8410
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                   POINT OF SALE           REFUND 07-11 TRENDSI CITY OF INDUS, CA
    7/12/2023                                                                                                 $2.18
                   CREDIT                  MCI 8410

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/12/2023 ACH DEPOSIT                                                                                    $86.15
                                           Payout

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/11/2023                                                                                ($1,000.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-10 HEIMISH FAIRE SAN
    7/11/2023                                                                                 ($441.00)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-10 TRENDSI CITY OF INDUS,
    7/11/2023                                                                                   ($37.34)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-10 TRENDSI CITY OF INDUS,
    7/11/2023                                                                                   ($36.65)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-10 TRENDSI CITY OF INDUS,
    7/11/2023                                                                                   ($35.63)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-10 LOVE AND REPEAT FAIRE
    7/11/2023                                                                                   ($31.49)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-10 TRENDSI CITY OF INDUS,
    7/11/2023                                                                                   ($27.83)
                   DEBIT                   CA MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/11/2023 ACH DEPOSIT                                                                                  $1,405.63
                                           CREDIT CommentSol ST-W6U1J0D0Z8C1

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/11/2023 ACH DEPOSIT                                                                                  $2,040.81
                                           TRANSFER ST-Q3F8P7J6B3N6

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/10/2023                                                                                ($1,500.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-07 KIDS CHARM ONLIN
    7/10/2023                                                                                 ($530.90)
                   DEBIT                   FAIRE SAN FRANCISCO, CA MCI 8410

                   ELECTRONIC              TO XXXXXXXX7480 Internet Banking
    7/10/2023                                                                                 ($500.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-09 BLU PEPPER FAIRE SAN
    7/10/2023                                                                                 ($321.42)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-09 143 STORY FAIRE SAN
    7/10/2023                                                                                 ($271.71)
                   DEBIT                   FRANCISCO, CA MCI 8410

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                   POINT OF SALE           PURCHASE 07-07 TRENDSI CITY OF INDUS,
    7/10/2023                                                                                 ($95.62)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-08 SHARK EYES INC FAIRE
    7/10/2023                                                                                 ($76.74)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-07 TRENDSI CITY OF INDUS,
    7/10/2023                                                                                 ($69.31)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-08 TRENDSI CITY OF INDUS,
    7/10/2023                                                                                 ($52.39)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-08 SP+AFF* LITTLEBUFFALO
    7/10/2023                                                                                 ($31.00)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-08 TRENDSI CITY OF INDUS,
    7/10/2023                                                                                 ($19.58)
                   DEBIT                   CA MCI 8410

                   REGULAR
    7/10/2023                              REGULAR DEPOSIT                                               $1,305.81
                   DEPOSIT

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/10/2023 ACH DEPOSIT                                                                                 $979.55
                                           CREDIT CommentSol ST-E4X8X7P2X7L2

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/10/2023 ACH DEPOSIT                                                                                 $270.80
                                           TRANSFER ST-A7M0Q1C8G4G7

                   POINT OF SALE           REFUND 07-09 TRENDSI CITY OF INDUS, CA
    7/10/2023                                                                                               $1.43
                   CREDIT                  MCI 8410

                   POINT OF SALE           REFUND 07-09 TRENDSI CITY OF INDUS, CA
    7/10/2023                                                                                               $3.56
                   CREDIT                  MCI 8410

                   POINT OF SALE           REFUND 07-09 TRENDSI CITY OF INDUS, CA
    7/10/2023                                                                                              $11.88
                   CREDIT                  MCI 8410

                   POINT OF SALE           PURCHASE 07-06 FAIRE #JFHKGXNN6Y SAN
    7/7/2023                                                                                 ($411.00)
                   DEBIT                   FRANCISCO, CA MCI 8410

                                           PURCHASE 07-06 SP+AFF*
                   POINT OF SALE
    7/7/2023                               BLOOMWHOLESAL SAN FRANCISCO, CA                    ($68.89)
                   DEBIT
                                           MCI 8410

                   POINT OF SALE           PURCHASE 07-06 TRENDSI CITY OF INDUS,
    7/7/2023                                                                                  ($54.31)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-06 TRENDSI CITY OF INDUS,
    7/7/2023                                                                                  ($47.09)
                   DEBIT                   CA MCI 8410
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                   POINT OF SALE           PURCHASE 07-06 TRENDSI CITY OF INDUS,
    7/7/2023                                                                                    ($41.99)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-06 TRENDSI CITY OF INDUS,
    7/7/2023                                                                                    ($41.99)
                   DEBIT                   CA MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/7/2023       ACH DEPOSIT                                                                             $460.31
                                           CREDIT CommentSol ST-D9J0S9X9U8A4

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/7/2023       ACH DEPOSIT                                                                             $446.43
                                           TRANSFER ST-A4O3C3I1Q9K3

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/7/2023       ACH DEPOSIT                                                                              $34.92
                                           Payout

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/6/2023                                                                                 ($1,000.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-05 TRENDSI CITY OF INDUS,
    7/6/2023                                                                                    ($22.39)
                   DEBIT                   CA MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/6/2023       ACH DEPOSIT                                                                             $241.98
                                           CREDIT CommentSol ST-D9J2V5G8S2G4

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/6/2023       ACH DEPOSIT                                                                             $650.60
                                           TRANSFER ST-H3Q4L8W9J9E7

                   POINT OF SALE           REFUND 07-05 TRENDSI CITY OF INDUS, CA
    7/6/2023                                                                                                 $1.49
                   CREDIT                  MCI 8410

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/6/2023       ACH DEPOSIT                                                                             $195.22
                                           Payout

                   ELECTRONIC              TO XXXXXXXX0389 Internet Banking
    7/5/2023                                                                                 ($1,500.00)
                   DEBIT                   Transaction

                   POINT OF SALE           PURCHASE 07-03 WWW.EZENANA.COM
    7/5/2023                                                                                  ($213.28)
                   DEBIT                   LOS ANGELES, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-04 MYS WHOLESALE IN
    7/5/2023                                                                                  ($156.00)
                   DEBIT                   FAIRE SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-04 TRENDSI CITY OF INDUS,
    7/5/2023                                                                                    ($84.42)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-04 TRENDSI CITY OF INDUS,
    7/5/2023                                                                                    ($53.05)
                   DEBIT                   CA MCI 8410

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                   POINT OF SALE           PURCHASE 07-03 L LOVE FAIRE SAN
    7/5/2023                                                                                  ($41.47)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-03 TRENDSI CITY OF INDUS,
    7/5/2023                                                                                  ($33.74)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-02 TACO JOHNS 9987
    7/5/2023                                                                                  ($22.73)
                   DEBIT                   MANHATTAN, KS MCI 8410

                   POINT OF SALE           PURCHASE 07-04 TRENDSI CITY OF INDUS,
    7/5/2023                                                                                  ($21.04)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-03 TRENDSI CITY OF INDUS,
    7/5/2023                                                                                  ($15.97)
                   DEBIT                   CA MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/5/2023       ACH DEPOSIT                                                                           $1,064.14
                                           CREDIT CommentSol ST-L1E3G0U6N5N3

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/5/2023       ACH DEPOSIT                                                                           $1,266.49
                                           TRANSFER ST-E6D2W6Q9W2W1

                   POINT OF SALE           PURCHASE 07-02 TAPMANGO SUB
    7/3/2023                                                                                 ($319.00)
                   DEBIT                   BUFFALO GROVE, IL MCI 8410

                   POINT OF SALE           PURCHASE 07-02 SUZIE Q USA FAIRE SAN
    7/3/2023                                                                                 ($292.90)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-01 VERY J LOVE RIC FAIRE
    7/3/2023                                                                                 ($254.95)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-01 MY GIRL IN LA FAIRE SAN
    7/3/2023                                                                                 ($212.55)
                   DEBIT                   FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-01 WOLFPACK BRANDS, LLC
    7/3/2023                                                                                 ($163.64)
                   DEBIT                   RIVERSIDE, CA MCI 8410

                   POINT OF SALE           PURCHASE 07-02 ANARCHY STREET FAIRE
    7/3/2023                                                                                 ($141.50)
                   DEBIT                   SAN FRANCISCO, CA MCI 8410

                   POINT OF SALE           PURCHASE 06-30 TRENDSI CITY OF INDUS,
    7/3/2023                                                                                  ($60.05)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-02 TRENDSI CITY OF INDUS,
    7/3/2023                                                                                  ($37.41)
                   DEBIT                   CA MCI 8410

                   POINT OF SALE           PURCHASE 07-01 SP+AFF* TAASINC2 SAN
    7/3/2023                                                                                  ($32.22)
                   DEBIT                   FRANCISCO, CA MCI 8410

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                   POINT OF SALE           PURCHASE 07-01 ROUTE 77 CORNER
    7/3/2023                                                                                 ($11.06)
                   DEBIT                   STORE WATERVILLE, KS MCI 8410

                   POINT OF SALE           PURCHASE 07-03 TAPMANGO SMSOVERAG
    7/3/2023                                                                                  ($4.68)
                   DEBIT                   BUFFALO GROVE, IL MCI 8410

                                           COMMENTSOLD RACHAEL BARGDILL ACH
    7/3/2023       ACH DEPOSIT                                                                           $91.85
                                           CREDIT CommentSol ST-Z8Z7Y3H8C2C2

                                           SHOPIFY RACHAEL BARGDILL ACH CREDIT
    7/3/2023       ACH DEPOSIT                                                                          $549.47
                                           TRANSFER ST-Q1S3K9O5U9T6

                                           SEZZLE My Sisters Closet ACH CREDIT
    7/3/2023       ACH DEPOSIT                                                                           $80.50
                                           Payout




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   MSC - OPERATIONS - Checking
   Available Balance
   $102.56

                                                                                                    Current Balance
                                                                                                                 $60.11



   Customer                        603311                          Account                    ****0389
   Last Deposit Date
   09/20/2023
   Last Deposit Amount             $320.00                         Last Statement Date        08/31/2023
   Last Statement Balance          $509.41


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    Date           Type                  Description                                          Debits Credits

    7/31/2023 SERVICE CHARGE                 MAINTENANCE FEE                                       ($3.00)

    7/31/2023 CHECK                          Check - 2593, CHECK                                 ($493.24)

    7/31/2023 CHECK                          Check - 2585, CHECK                                  ($88.60)

                    POINT OF SALE            PURCHASE 07-30 SAMS CLUB #6461
    7/31/2023                                                                                     ($34.71)
                    DEBIT                    Grand Island , NE PUL 7814

                                             PURCHASE 07-31 AMZN Mktp
              POINT OF SALE
    7/31/2023                                US*TH1DH4MO2 Amzn.com/bill, WA MCI                   ($18.58)
              DEBIT
                                             7814

                    ELECTRONIC               FROM XXXXXXXX0370 Internet Banking
    7/31/2023                                                                                                $800.00
                    DEPOSIT CREDIT           Transaction

                    POINT OF SALE            PURCH REV 07-30 SAMS CLUB #6461
    7/31/2023                                                                                                 $34.71
                    CREDIT                   Grand Island , NE PUL 7814

    7/28/2023 CHECK                          Check - 2589, CHECK                                 ($140.79)

                                             PURCHASE 07-27 AMZN Mktp
              POINT OF SALE
    7/28/2023                                US*T64YS4IQ0 Amzn.com/bill, WA MCI                   ($27.11)
              DEBIT
                                             7814

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                   POINT OF SALE
    7/28/2023                                US*T633X0I80 Amzn.com/bill, WA MCI               ($24.94)
                   DEBIT
                                             7814

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/28/2023                                                                                            $500.00
                   DEPOSIT CREDIT            Transaction

    7/27/2023 CHECK                          Check - 2586, CHECK                             ($389.90)

    7/27/2023 CHECK                          Check - 2588, CHECK                              ($80.58)

                   POINT OF SALE             PURCHASE 07-27 DOLLAR-GENERAL
    7/27/2023                                                                                 ($17.29)
                   DEBIT                     #2502 MARYSVILLE, KS PPE 7814

                   POINT OF SALE             PURCHASE 07-27 APPLE.COM/BILL 866-
    7/27/2023                                                                                  ($9.99)
                   DEBIT                     712-7753 , CA MCI 7814

                   POINT OF SALE             POS PYMT 07-26 APPLE COM BILL
    7/27/2023                                                                                  ($1.07)
                   DEBIT                     CUPERTINO, CA PUL 7814

                   ELECTRONIC                FROM XXXXXXXX7480 Internet Banking
    7/27/2023                                                                                            $350.00
                   DEPOSIT CREDIT            Transaction

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/27/2023                                                                                            $100.00
                   DEPOSIT CREDIT            Transaction

                   ACH                       BLUE VALLEY TELE Rachael bargdill ACH
    7/26/2023                                                                                 ($72.05)
                   WITHDRAWAL                DEBIT Phone Bill 00015422-1

                   ACH                       BLUE VALLEY TELE Rachael bargdill ACH
    7/26/2023                                                                                 ($69.95)
                   WITHDRAWAL                DEBIT Phone Bill 00015422-1

                   POINT OF SALE             PURCHASE 07-25 DOLLAR-GENERAL
    7/26/2023                                                                                 ($37.36)
                   DEBIT                     #2502 MARYSVILLE, KS PPE 7814

                   POINT OF SALE             PURCHASE 07-25 DOLLAR-GENERAL
    7/26/2023                                                                                 ($20.37)
                   DEBIT                     #2502 MARYSVILLE, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-25 DOLLAR-GENERAL
    7/26/2023                                                                                 ($18.89)
                   DEBIT                     #2502 MARYSVILLE, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-25 DOLLAR-GENERAL
    7/26/2023                                                                                  ($7.85)
                   DEBIT                     #2502 MARYSVILLE, KS MCI 7814

                                             PURCHASE 07-26 Prime Video
              POINT OF SALE
    7/26/2023                                *T64KH6QZ0 888-802-3080 , WA MCI                  ($5.99)
              DEBIT
                                             7814

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                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/26/2023 IAT ACH DEPOSIT                                                                            $106.72
                                             LLC ACH CREDIT MISC CRED

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/26/2023                                                                                            $200.00
                   DEPOSIT CREDIT            Transaction

    7/25/2023 CHECK                          Check - 2569, CHECK                             ($292.21)

    7/25/2023 CHECK                          Check - 2577, CHECK                             ($268.52)

    7/25/2023 CHECK                          Check - 2583, CHECK                              ($72.22)

                   ACH                       FB P-C INS FBM ACH DEBIT Payment
    7/25/2023                                                                                ($706.59)
                   WITHDRAWAL                FBMCOM034234822

                   ACH                       SEZZLE My Sisters Closet ACH DEBIT
    7/25/2023                                                                                  ($2.44)
                   WITHDRAWAL                Debit

                   POINT OF SALE             PURCHASE 07-25 APPLE.COM/BILL 866-
    7/25/2023                                                                                  ($9.75)
                   DEBIT                     712-7753 , CA MCI 7814

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/25/2023                                                                                             $50.00
                   DEPOSIT CREDIT            Transaction

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/25/2023                                                                                            $350.00
                   DEPOSIT CREDIT            Transaction

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/25/2023                                                                                            $500.00
                   DEPOSIT CREDIT            Transaction

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/25/2023                                                                                            $500.00
                   DEPOSIT CREDIT            Transaction

    7/24/2023 CHECK                          Check - 2587, CHECK                             ($530.98)

                   POINT OF SALE             PURCHASE 07-21 WWW.EZENANA.COM
    7/24/2023                                                                                ($318.95)
                   DEBIT                     LOS ANGELES, CA MCI 7814

                   POINT OF SALE             PURCHASE 07-21 KLAVIYO INC.
    7/24/2023                                                                                ($175.00)
                   DEBIT                     SOFTWARE BOSTON, MA MCI 7814

                                             PURCHASE 07-22 SP+AFF*
                   POINT OF SALE
    7/24/2023                                LITTLEBUFFALO SAN FRANCISCO, CA MCI              ($17.25)
                   DEBIT
                                             7814

                   POINT OF SALE             PURCHASE 07-23 Prime Video
    7/24/2023                                                                                  ($5.99)
                   DEBIT                     *ES95Z7YK3 888-802-3080 , WA MCI 7814


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                   POINT OF SALE             PURCHASE 07-21 GOOGLE *Google
    7/24/2023                                                                                  ($1.99)
                   DEBIT                     Storage Mountain View, CA PUL 7814

                   ELECTRONIC                FROM XXXXXXXX7402 Internet Banking
    7/24/2023                                                                                            $300.00
                   DEPOSIT CREDIT            Transaction

    7/21/2023 CHECK                          Check - 2579, CHECK                             ($498.42)

    7/21/2023 CHECK                          Check - 2578, CHECK                             ($155.50)

                   ACH                       DISCOVER BARGDILL RACHAEL ACH
    7/21/2023                                                                                 ($45.00)
                   WITHDRAWAL                DEBIT PAYMENTS 3538

                   POINT OF SALE             PURCHASE 07-20 VISTAPRINT
    7/21/2023                                                                                 ($70.52)
                   DEBIT                     8662074955, MA MCI 7814

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/21/2023                                                                                            $500.00
                   DEPOSIT CREDIT            Transaction

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/21/2023                                                                                            $250.00
                   DEPOSIT CREDIT            Transaction

    7/20/2023 CHECK                          Check - 2582, CHECK                              ($81.58)

                                             PURCHASE 07-19 AMZN Mktp
              POINT OF SALE
    7/20/2023                                US*XS5G32OT3 Amzn.com/bill, WA MCI               ($86.79)
              DEBIT
                                             7814

                                             PURCHASE 07-19 AMZN Mktp
                   POINT OF SALE
    7/20/2023                                US*SZ7337H03 Amzn.com/bill, WA MCI               ($86.76)
                   DEBIT
                                             7814

                   POINT OF SALE             PURCHASE 07-18 CASEYS #1150 BLUE
    7/20/2023                                                                                 ($40.00)
                   DEBIT                     RAPIDS, KS MCI 7814

                                             PURCHASE 07-19 AMZN Mktp
                   POINT OF SALE
    7/20/2023                                US*VX7E03103 Amzn.com/bill, WA MCI               ($21.59)
                   DEBIT
                                             7814

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/20/2023 IAT ACH DEPOSIT                                                                             $37.14
                                             LLC ACH CREDIT MISC CRED

                   POINT OF SALE             PURCHASE 07-17 RAISING CANES 0344
    7/19/2023                                                                                 ($31.16)
                   DEBIT                     MANHATTAN, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-18 EL RANCHERO
    7/19/2023                                                                                 ($26.38)
                   DEBIT                     MEXICAN RE MARYSVILLE, KS MCI 7814

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                   ACH                       FB P-C INS FBM ACH DEBIT Payment
    7/18/2023                                                                                ($118.94)
                   WITHDRAWAL                FBMCOM034163693

                   POINT OF SALE             PURCHASE 07-17 OLD NAVY US 4578
    7/18/2023                                                                                 ($50.19)
                   DEBIT                     MANHATTAN, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-16 RAISING CANES 0344
    7/18/2023                                                                                 ($22.12)
                   DEBIT                     MANHATTAN, KS MCI 7814

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/18/2023 IAT ACH DEPOSIT                                                                             $35.00
                                             LLC ACH CREDIT MISC CRED

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/18/2023 IAT ACH DEPOSIT                                                                             $19.48
                                             LLC ACH CREDIT MISC CRED

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/18/2023                                                                                            $800.00
                   DEPOSIT CREDIT            Transaction

    7/17/2023 CHECK                          Check - 2580, CHECK                             ($493.93)

                   POINT OF SALE             PURCHASE 07-14 AMAZON PAYMENTS
    7/17/2023                                                                                 ($85.69)
                   DEBIT                     SEATTLE, WA PUL 7814

                   POINT OF SALE             PURCHASE 07-15 MARKET 2 BOUTIQUE
    7/17/2023                                                                                 ($84.00)
                   DEBIT                     STEPHENVILLE , TX MCI 7814

                   POINT OF SALE             PURCHASE 07-16 ROUTE 77 CORNER
    7/17/2023                                                                                 ($20.11)
                   DEBIT                     STORE WATERVILLE, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-17 Prime Video
    7/17/2023                                                                                  ($3.79)
                   DEBIT                     *F55NJ5P43 888-802-3080 , WA MCI 7814

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/17/2023                                                                                            $800.00
                   DEPOSIT CREDIT            Transaction

    7/14/2023 CHECK                          Check - 2570, CHECK                              ($75.88)

    7/14/2023 CHECK                          Check - 2564, CHECK                              ($34.27)

                   POINT OF SALE             PURCHASE 07-13 COMMENTSOLD SUB
    7/14/2023                                                                                ($149.00)
                   DEBIT                     HUNTSVILLE, AL MCI 7814

                   POINT OF SALE             PURCHASE 07-13 ROUTE 77 CORNER
    7/14/2023                                                                                 ($43.53)
                   DEBIT                     STORE WATERVILLE, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-13 TST* MARYLICIOUS
    7/14/2023                                                                                 ($39.12)
                   DEBIT                     SNACK MARYSVILLE, KS MCI 7814


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                   POINT OF SALE             PURCHASE 07-13 DOLLAR-GENERAL
    7/14/2023                                                                                   ($26.38)
                   DEBIT                     #2502 MARYSVILLE, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-14 CASEYS #2713
    7/14/2023                                                                                   ($14.82)
                   DEBIT                     WASHINGTON, KS PPE 7814

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/14/2023                                                                                               $400.00
                   DEPOSIT CREDIT            Transaction

    7/13/2023 CHECK                          Check - 2571, CHECK                              ($479.91)

    7/13/2023 CHECK                          Check - 2576, CHECK                              ($289.00)

    7/13/2023 CHECK                          Check - 2574, CHECK                                ($81.56)

                   POINT OF SALE             PURCHASE 07-12 BLUE RAPIDS AUTO &
    7/13/2023                                                                                   ($96.97)
                   DEBIT                     HAR BLUE RAPIDS, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-12 NEW CHINA BUFFET
    7/13/2023                                                                                   ($36.50)
                   DEBIT                     MARYSVILLE, KS MCI 7814

                                             PURCHASE 07-12
              POINT OF SALE
    7/13/2023                                AMAZON.COM*0Y37A1H53 SEATTLE, WA                   ($16.82)
              DEBIT
                                             PUL 7814

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/13/2023                                                                                               $400.00
                   DEPOSIT CREDIT            Transaction

                   ACH                       SHE PROFITS NOW MSC BOUTIQUE ACH
    7/12/2023                                                                                 ($450.00)
                   WITHDRAWAL                DEBIT SALE

                   POINT OF SALE             PURCHASE 07-11 ROUTE 77 CORNER
    7/12/2023                                                                                   ($41.36)
                   DEBIT                     STORE WATERVILLE, KS MCI 7814

                                             PURCHASE 07-12 Prime Video
              POINT OF SALE
    7/12/2023                                *CW0LA8Z43 888-802-3080 , WA MCI                    ($5.99)
              DEBIT
                                             7814

    7/12/2023 CHECK                          Check - 1237, NSF-OD CHECK 1237 PAID            ($1,060.64)

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/12/2023 IAT ACH DEPOSIT                                                                                $55.97
                                             LLC ACH CREDIT MISC CRED

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/12/2023                                                                                              $1,500.00
                   DEPOSIT CREDIT            Transaction

    7/11/2023 CHECK                          Check - 2575, CHECK                              ($646.25)


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    7/11/2023 CHECK                          Check - 2572, CHECK                             ($525.10)

    7/11/2023 CHECK                          Check - 2568, CHECK                              ($82.12)

                   ELECTRONIC                TO XXXXXXXX7480 Internet Banking
    7/11/2023                                                                                ($800.00)
                   DEBIT                     Transaction

                   POINT OF SALE             PURCHASE 07-10 MCDONALD'S F10980
    7/11/2023                                                                                 ($20.90)
                   DEBIT                     CONCORDIA, KS PPE 7814

                   POINT OF SALE             PURCHASE 07-10 DAIRY QUEEN #11499
    7/11/2023                                                                                 ($15.37)
                   DEBIT                     QPS CONCORDIA, KS MCI 7814

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/11/2023 IAT ACH DEPOSIT                                                                             $108.93
                                             LLC ACH CREDIT MISC CRED

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/11/2023 IAT ACH DEPOSIT                                                                              $89.98
                                             LLC ACH CREDIT MISC CRED

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/11/2023 IAT ACH DEPOSIT                                                                              $19.99
                                             LLC ACH CREDIT MISC CRED

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/11/2023                                                                                            $1,000.00
                   DEPOSIT CREDIT            Transaction

                   POINT OF SALE             PURCHASE 07-07 ALDI 46096
    7/10/2023                                                                                 ($60.93)
                   DEBIT                     MANHATTAN, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-08 ULTA 1306
    7/10/2023                                                                                 ($59.98)
                   DEBIT                     MANHATTAN, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-08 ULTA 1306
    7/10/2023                                                                                 ($59.34)
                   DEBIT                     MANHATTAN, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-07 ROUTE 77 CORNER
    7/10/2023                                                                                 ($49.59)
                   DEBIT                     STORE WATERVILLE, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-07 UBER EATS
    7/10/2023                                                                                 ($43.16)
                   DEBIT                     8005928996, CA MCI 7814

                   POINT OF SALE             PURCHASE 07-08 RAISING CANES 0344
    7/10/2023                                                                                 ($31.27)
                   DEBIT                     MANHATTAN, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-07 CHICK-FIL-A #03278
    7/10/2023                                                                                 ($16.56)
                   DEBIT                     MANHATTAN, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-08 SONIC #2566
    7/10/2023                                                                                 ($15.77)
                   DEBIT                     MANHATTAN, KS MCI 7814
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                   POINT OF SALE             PURCHASE 07-07 SONIC #2566
    7/10/2023                                                                                  ($7.39)
                   DEBIT                     MANHATTAN, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-08 UBER EATS
    7/10/2023                                                                                  ($6.04)
                   DEBIT                     8005928996, CA MCI 7814

                   POINT OF SALE             PURCHASE 07-07 CMSVEND*FIVE STAR
    7/10/2023                                                                                  ($2.10)
                   DEBIT                     VEND MARYSVILLE, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-07 CMSVEND*FIVE STAR
    7/10/2023                                                                                  ($2.10)
                   DEBIT                     VEND MARYSVILLE, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-09 APPLE.COM/BILL 866-
    7/10/2023                                                                                  ($1.07)
                   DEBIT                     712-7753 , CA MCI 7814

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/10/2023                                                                                            $1,500.00
                   DEPOSIT CREDIT            Transaction

    7/6/2023       CHECK                     Check - 2554, CHECK                             ($237.03)

    7/6/2023       CHECK                     Check - 2565, CHECK                              ($80.79)

                   POINT OF SALE             PURCHASE 07-06 SHOPIFY* 186447729
    7/6/2023                                                                                 ($548.38)
                   DEBIT                     ELK GROVE VIL, IL MCI 7814

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/6/2023                                                                                             $1,000.00
                   DEPOSIT CREDIT            Transaction

    7/5/2023       CHECK                     Check - 2567, CHECK                             ($525.10)

    7/5/2023       CHECK                     Check - 2557, CHECK                             ($285.76)

    7/5/2023       CHECK                     Check - 2563, CHECK                             ($264.29)

    7/5/2023       CHECK                     Check - 2562, CHECK                             ($222.84)

    7/5/2023       CHECK                     Check - 25550, CHECK                             ($55.41)

                   POINT OF SALE             PURCHASE 07-04 DOLLAR GENERAL
    7/5/2023                                                                                  ($64.81)
                   DEBIT                     #15452 BLUE RAPIDS, KS MCI 7814

                   POINT OF SALE             PURCHASE 07-04 DNH*GODADDY.COM
    7/5/2023                                                                                  ($32.16)
                   DEBIT                     480-505-8855 , AZ MCI 7814

                   POINT OF SALE             PURCHASE 07-04 MCDONALD'S F10980
    7/5/2023                                                                                  ($27.49)
                   DEBIT                     CONCORDIA, KS PPE 7814



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    7/5/2023       IAT ACH DEPOSIT                                                                        $69.98
                                             LLC ACH CREDIT MISC CRED

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/5/2023       IAT ACH DEPOSIT                                                                        $49.97
                                             LLC ACH CREDIT MISC CRED

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/5/2023       IAT ACH DEPOSIT                                                                        $71.00
                                             LLC ACH CREDIT MISC CRED

                   ELECTRONIC                FROM XXXXXXXX0370 Internet Banking
    7/5/2023                                                                                            $1,500.00
                   DEPOSIT CREDIT            Transaction

    7/3/2023       CHECK                     Check - 2561, CHECK                             ($32.83)

                   POINT OF SALE             PURCHASE 06-30 CASEYS #1195
    7/3/2023                                                                                 ($30.15)
                   DEBIT                     BELLEVILLE, KS MCI 7814

                                             HYPERWALLET SYST MY SISTERS CLOSET
    7/3/2023       IAT ACH DEPOSIT                                                                        $39.97
                                             LLC ACH CREDIT MISC CRED




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   MSC - OPERATIONS - Checking
   Available Balance
   $102.56

                                                                                                    Current Balance
                                                                                                                $60.11



   Customer                        603311                          Account                    ****0389
   Last Deposit Date
   09/20/2023
   Last Deposit Amount             $320.00                         Last Statement Date        08/31/2023
   Last Statement Balance          $509.41


   You are currently viewing all transactions from 8/1/2023 to 8/31/2023

    Date           Type                   Description                                          Debits Credits

    8/31/2023 SERVICE CHARGE                  MAINTENANCE FEE                                      ($3.00)

    8/31/2023 CHECK                           Check - 2645, CHECK                                 ($80.34)

    8/31/2023 CHECK                           Check - 2640, CHECK                                 ($26.78)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/31/2023 ACH WITHDRAWAL                                                                      ($40.01)
                                              DEBIT INST XFER CASEYS 3492

                    POINT OF SALE             PURCHASE 08-30 SHOPIFY* 193632647
    8/31/2023                                                                                    ($485.80)
                    DEBIT                     ELK GROVE VIL, IL MCI 7814

                                              PURCHASE 08-30 AMZN Mktp
              POINT OF SALE
    8/31/2023                                 US*T34TA0UD0 Amzn.com/bill, WA MCI                  ($10.18)
              DEBIT
                                              7814

    8/30/2023 CHECK                           Check - 2641, CHECK                                ($455.08)

    8/30/2023 CHECK                           Check - 5518, CHECK                                ($117.90)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/30/2023 ACH WITHDRAWAL                                                                      ($15.83)
                                              DEBIT INST XFER SONIC DRIVE IN

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/30/2023 IAT ACH DEPOSIT                                                                                $49.73
                                              LLC ACH CREDIT MISC CRED
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                   POINT OF SALE
    8/29/2023                                 US*T33PZ70P1 Amzn.com/bill, WA MCI              ($13.01)
                   DEBIT
                                              7814

                                              PURCHASE 08-28 AMZN Mktp
              POINT OF SALE
    8/29/2023                                 US*T33065DG2 Amzn.com/bill, WA MCI               ($8.67)
              DEBIT
                                              7814

    8/29/2023 CHECK                           Check - 2642, NSF-OD CHECK 2642 PAID           ($533.80)

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/29/2023 IAT ACH DEPOSIT                                                                              $72.14
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/29/2023                                                                                            $2,000.00
                   DEPOSIT CREDIT             Transaction

    8/28/2023 CHECK                           Check - 2518, CHECK                             ($39.50)

    8/28/2023 CHECK                           Check - 2638, CHECK                             ($14.16)

    8/28/2023 CHECK                           Check - 2629, CHECK                             ($12.77)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/28/2023 ACH WITHDRAWAL                                                                  ($38.33)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/28/2023 ACH WITHDRAWAL                                                                  ($29.16)
                                              DEBIT INST XFER AMAZON.COM*TQ0K

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/28/2023 ACH WITHDRAWAL                                                                  ($28.70)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/28/2023 ACH WITHDRAWAL                                                                   ($5.41)
                                              DEBIT INST XFER AMAZON KIDS

                   POINT OF SALE              PURCHASE 08-26 DOLLAR GENERAL
    8/28/2023                                                                                 ($27.77)
                   DEBIT                      #15452 BLUE RAPIDS, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-26 APPLE.COM/BILL 866-
    8/28/2023                                                                                  ($9.99)
                   DEBIT                      712-7753 , CA MCI 7814

                   POINT OF SALE              PURCHASE 08-24 SONIC #2566
    8/28/2023                                                                                  ($9.04)
                   DEBIT                      MANHATTAN, KS MCI 7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/28/2023 IAT ACH DEPOSIT                                                                              $72.34
                                              LLC ACH CREDIT MISC CRED

    8/25/2023 CHECK                           Check - 2634, CHECK                             ($90.06)


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                                              EVERGY KS CTRL Bargdill,Rachael ACH
    8/25/2023 ACH WITHDRAWAL                                                                 ($194.68)
                                              DEBIT AUTOPAY 481270361680

                                              BLUE VALLEY TELE Rachael bargdill ACH
    8/25/2023 ACH WITHDRAWAL                                                                 ($148.93)
                                              DEBIT Phone Bill 00015422-1

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/25/2023 ACH WITHDRAWAL                                                                  ($60.56)
                                              DEBIT INST XFER CASEYS 1150

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/25/2023 ACH WITHDRAWAL                                                                  ($35.02)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PURCHASE 08-24 AMZN Mktp
              POINT OF SALE
    8/25/2023                                 US*T37C54Z32 Amzn.com/bill, WA MCI              ($33.64)
              DEBIT
                                              7814

                   POINT OF SALE              PURCHASE 08-25 APPLE.COM/BILL 866-
    8/25/2023                                                                                 ($18.42)
                   DEBIT                      712-7753 , CA MCI 7814

                   POINT OF SALE              PURCHASE 08-24 CMSVEND*FIVE STAR
    8/25/2023                                                                                  ($2.10)
                   DEBIT                      VEND MARYSVILLE, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-24 CMSVEND*FIVE STAR
    8/25/2023                                                                                  ($2.10)
                   DEBIT                      VEND MARYSVILLE, KS MCI 7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/25/2023                                                                                            $500.00
                   DEPOSIT CREDIT             Transaction

    8/24/2023 CHECK                           Check - 2633, CHECK                             ($80.58)

                                              BANK-A-COUNT MY SISTER'S CLOSET
    8/24/2023 ACH WITHDRAWAL                                                                  ($62.89)
                                              ACH DEBIT CK. ORDERS

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/24/2023 ACH WITHDRAWAL                                                                  ($34.28)
                                              DEBIT INST XFER RAISING CANES 0

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/24/2023 IAT ACH DEPOSIT                                                                             $53.44
                                              LLC ACH CREDIT MISC CRED

                   POINT OF SALE              PURCHASE 08-21 GOOGLE *Google
    8/23/2023                                                                                  ($1.99)
                   DEBIT                      Storage Mountain View, CA PUL 7814

    8/22/2023 CHECK                           Check - 2631, CHECK                            ($476.34)

    8/22/2023 CHECK                           Check - 1234, CHECK                            ($241.00)

    8/22/2023 CHECK                           Check - 2610, CHECK                             ($67.60)


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    8/22/2023 CHECK                           Check - 2632, CHECK                             ($56.34)

    8/22/2023 CHECK                           Check - 2044, CHECK                             ($45.80)

    8/22/2023 CHECK                           Check - 2604, CHECK                             ($17.29)

    8/22/2023 CHECK                           Check - 2630, CHECK                             ($16.52)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/22/2023 ACH WITHDRAWAL                                                                  ($18.84)
                                              DEBIT INST XFER MCDONALD S F275

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/22/2023 ACH WITHDRAWAL                                                                   ($9.99)
                                              DEBIT INST XFER PRIME VIDEO CHA

                   POINT OF SALE              PURCHASE 08-21 KLAVIYO INC.
    8/22/2023                                                                                ($175.00)
                   DEBIT                      SOFTWARE BOSTON, MA MCI 7814

                                              PURCHASE 08-21 AMZN Mktp
              POINT OF SALE
    8/22/2023                                 US*TQ5Z99MQ0 Amzn.com/bill, WA MCI              ($12.67)
              DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/22/2023                                                                                            $1,000.00
                   DEPOSIT CREDIT             Transaction

    8/21/2023 CHECK                           Check - 2635, CHECK                            ($525.10)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/21/2023 ACH WITHDRAWAL                                                                  ($29.87)
                                              DEBIT INST XFER ROUTE 77 CORNER

                   POINT OF SALE              PURCHASE 08-20 McDonalds 2753
    8/21/2023                                                                                 ($51.48)
                   DEBIT                      MANHATTAN, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-20 COMMENTSOLD
    8/21/2023                                                                                 ($50.71)
                   DEBIT                      COMMISSION HUNTSVILLE, AL MCI 7814

                   POINT OF SALE              POS PYMT 08-21 SP AFF LITTLEBUFFAL
    8/21/2023                                                                                 ($17.25)
                   DEBIT                      SAN FRANCISCO, CA PUL 7814

                   POINT OF SALE              PURCHASE 08-19 TACO BELL #259
    8/21/2023                                                                                 ($15.38)
                   DEBIT                      MARYSVILLE, KS MCI 7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/21/2023 IAT ACH DEPOSIT                                                                              $40.91
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/21/2023                                                                                             $800.00
                   DEPOSIT CREDIT             Transaction

    8/18/2023 CHECK                           Check - 2608, CHECK                            ($176.71)
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                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                 ($103.00)
                                              DEBIT INST XFER 1028858171459

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                  ($66.76)
                                              DEBIT INST XFER CASEYS 1150

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                  ($59.70)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                  ($18.22)
                                              DEBIT INST XFER TACO BELL 259

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                  ($16.07)
                                              DEBIT INST XFER AMAZON.COM*TQ6W

                                              PURCHASE 08-17 AMZN Mktp
              POINT OF SALE
    8/18/2023                                 US*TQ7NN6JR2 Amzn.com/bill, WA MCI              ($23.27)
              DEBIT
                                              7814

                   POINT OF SALE              PURCHASE 08-18 TST* CAPSTONE3D
    8/18/2023                                                                                 ($11.52)
                   DEBIT                      MANHATTAN, KS MCI 7814

                                              PURCHASE 08-17 AMZN Mktp
              POINT OF SALE
    8/18/2023                                 US*TO53H5WY0 Amzn.com/bill, WA MCI               ($9.95)
              DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/18/2023                                                                                             $500.00
                   DEPOSIT CREDIT             Transaction

    8/17/2023 CHECK                           Check - 2605, CHECK                            ($432.30)

    8/17/2023 CHECK                           Check - 2626, CHECK                            ($206.99)

    8/17/2023 CHECK                           Check - 2607, CHECK                             ($80.46)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/17/2023 ACH WITHDRAWAL                                                                   ($7.96)
                                              DEBIT INST XFER MCDONALD S F101

                                              PURCHASE 08-16
                   POINT OF SALE
    8/17/2023                                 AMAZON.COM*TO61L1KK0 SEATTLE,                   ($85.20)
                   DEBIT
                                              WA PUL 7814

                                              PURCHASE 08-16 AMZN Mktp
              POINT OF SALE
    8/17/2023                                 US*TQ1MP6FT2 Amzn.com/bill, WA MCI              ($10.98)
              DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/17/2023                                                                                            $1,000.00
                   DEPOSIT CREDIT             Transaction
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                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/17/2023                                                                                             $200.00
                   DEPOSIT CREDIT             Transaction

    8/16/2023 CHECK                           Check - 1235, CHECK                            ($241.00)

                                              FB P-C INS FBM ACH DEBIT Payment
    8/16/2023 ACH WITHDRAWAL                                                                 ($135.59)
                                              FBMCOM034377631

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/16/2023 ACH WITHDRAWAL                                                                  ($86.78)
                                              DEBIT INST XFER AMAZON PAYMENTS

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/16/2023 ACH WITHDRAWAL                                                                   ($8.99)
                                              DEBIT INST XFER PRIME VIDEO CHA

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/16/2023 ACH WITHDRAWAL                                                                   ($5.99)
                                              DEBIT INST XFER PRIME VIDEO CHA

                   POINT OF SALE              POS PYMT 08-16 SP AFF TAASINC2 SAN
    8/16/2023                                                                                ($103.62)
                   DEBIT                      FRANCISCO, CA PUL 7814

                   POINT OF SALE              PURCHASE 08-15 MARKET 2 BOUTIQUE
    8/16/2023                                                                                 ($84.00)
                   DEBIT                      STEPHENVILLE , TX MCI 7814

                   POINT OF SALE              PURCHASE 08-15 ROUTE 77 CORNER
    8/16/2023                                                                                 ($14.77)
                   DEBIT                      STORE# BLUE RAPIDS, KS MCI 7814

    8/15/2023 CHECK                           Check - 2602, CHECK                            ($102.67)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/15/2023 ACH WITHDRAWAL                                                                  ($23.25)
                                              DEBIT INST XFER AMAZON.COM*TO5D

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/15/2023 ACH WITHDRAWAL                                                                  ($23.25)
                                              DEBIT INST XFER AMAZON.COM*TO55

    8/15/2023 CHECK                           Check - 2606, NSF-OD CHECK 2606 PAID           ($525.10)

    8/15/2023 CHECK                           Check - 2041, NSF-OD CHECK 2041 PAID           ($259.05)

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/15/2023                                                                                            $1,500.00
                   DEPOSIT CREDIT             Transaction

    8/14/2023 CHECK                           Check - 2591, CHECK                             ($98.98)

    8/14/2023 CHECK                           Check - 2042, CHECK                             ($66.96)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                 ($722.86)
                                              DEBIT INST XFER VZWRLSS*APOCC V


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                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($59.72)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($46.75)
                                              DEBIT INST XFER DOLLAR GENERAL

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($30.00)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($15.74)
                                              DEBIT INST XFER AMAZON.COM*TO5H

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($12.59)
                                              DEBIT INST XFER AMAZON.COM*TO7P

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                   ($7.55)
                                              DEBIT INST XFER AMAZON.COM*TO43

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                   ($1.06)
                                              DEBIT INST XFER AMAZON.COM*TO7T

                   POINT OF SALE              PURCHASE 08-13 COMMENTSOLD SUB
    8/14/2023                                                                                ($149.00)
                   DEBIT                      HUNTSVILLE, AL MCI 7814

                   POINT OF SALE              PURCHASE 08-12 SONIC DRIVE IN #2571
    8/14/2023                                                                                 ($37.25)
                   DEBIT                      MARYSVILLE, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-14 APPLE.COM/BILL 866-
    8/14/2023                                                                                  ($8.99)
                   DEBIT                      712-7753 , CA MCI 7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/14/2023                                                                                            $400.00
                   DEPOSIT CREDIT             Transaction

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/14/2023                                                                                            $600.00
                   DEPOSIT CREDIT             Transaction

    8/11/2023 CHECK                           Check - 2601, CHECK                            ($324.82)

                                              PURCHASE 08-10 AMZN Mktp
                   POINT OF SALE
    8/11/2023                                 US*TO1E65L72 Amzn.com/bill, WA MCI              ($15.61)
                   DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/11/2023                                                                                            $500.00
                   DEPOSIT CREDIT             Transaction

    8/10/2023 CHECK                           Check - 2045, CHECK                             ($80.91)



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                   POINT OF SALE              PURCHASE 08-09 DOLLAR GENERAL
    8/10/2023                                                                                   ($58.55)
                   DEBIT                      #15452 BLUE RAPIDS, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-09 SONIC DRIVE IN #2571
    8/10/2023                                                                                    ($7.91)
                   DEBIT                      MARYSVILLE, KS MCI 7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/10/2023                                                                                               $300.00
                   DEPOSIT CREDIT             Transaction

    8/9/2023       CHECK                      Check - 2599, CHECK                             ($443.77)

    8/9/2023       CHECK                      Check - 2600, CHECK                               ($27.34)

    8/8/2023       CHECK                      Check - 1236, CHECK                            ($2,208.51)

    8/8/2023       CHECK                      Check - 1242, CHECK                               ($26.34)

                                              SHE PROFITS NOW MSC BOUTIQUE ACH
    8/8/2023       ACH WITHDRAWAL                                                             ($450.00)
                                              DEBIT SALE

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/8/2023       ACH WITHDRAWAL                                                               ($32.54)
                                              DEBIT INST XFER IPSY

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/8/2023       ACH WITHDRAWAL                                                               ($16.27)
                                              DEBIT INST XFER IPSY

                                              PURCHASE 08-07 AMZN Mktp
                   POINT OF SALE
    8/8/2023                                  US*TA2ME9Q32 Amzn.com/bill, WA MCI                ($81.29)
                   DEBIT
                                              7814

                   POINT OF SALE              POS PYMT 08-07 SP AFF LITTLEBUFFAL
    8/8/2023                                                                                    ($17.25)
                   DEBIT                      SAN FRANCISCO, CA PUL 7814

                                              PURCHASE 08-07
                   POINT OF SALE
    8/8/2023                                  Amazon.com*TA6MA3QA2                              ($10.82)
                   DEBIT
                                              Amzn.com/bill, WA MCI 7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/8/2023       IAT ACH DEPOSIT                                                                           $57.83
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/8/2023                                                                                               $1,000.00
                   DEPOSIT CREDIT             Transaction

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/8/2023                                                                                               $2,300.00
                   DEPOSIT CREDIT             Transaction

                   MISCELLANEOUS
    8/7/2023                                  MISCELLANEOUS DEBIT                                ($4.00)
                   DEBIT
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    8/7/2023       CHECK                      Check - 2043, CHECK                            ($535.17)

    8/7/2023       CHECK                      Check - 2598, CHECK                             ($21.90)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/7/2023       ACH WITHDRAWAL                                                             ($29.16)
                                              DEBIT INST XFER AMAZON.COM*TA5K

                   POINT OF SALE              PURCHASE 08-05 SHOPIFY* 190260432
    8/7/2023                                                                                 ($398.36)
                   DEBIT                      ELK GROVE VIL, IL MCI 7814

                   POINT OF SALE              PURCHASE 08-04 COMMENTSOLD
    8/7/2023                                                                                  ($55.92)
                   DEBIT                      COMMISSION HUNTSVILLE, AL MCI 7814

                   POINT OF SALE              PURCHASE 08-04 DOLLAR GENERAL
    8/7/2023                                                                                  ($28.23)
                   DEBIT                      #15452 BLUE RAPIDS, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-06 ROUTE 77 CORNER
    8/7/2023                                                                                   ($8.46)
                   DEBIT                      STORE WATERVILLE, KS MCI 7814

                                              PURCHASE 08-07 Prime Video
                   POINT OF SALE
    8/7/2023                                  *TA95D61J0 888-802-3080 , WA MCI                 ($6.99)
                   DEBIT
                                              7814

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/7/2023       ACH DEPOSIT                                                                           $583.14
                                              CREDIT TRANSFER

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/7/2023       IAT ACH DEPOSIT                                                                        $43.92
                                              LLC ACH CREDIT MISC CRED

    8/4/2023       CHECK                      Check - 2597, CHECK                             ($67.04)

                   POINT OF SALE              PURCHASE 08-03 ROUTE 77 CORNER
    8/4/2023                                                                                  ($40.00)
                   DEBIT                      STORE WATERVILLE, KS MCI 7814

                                              PURCHASE 08-03 AMZN Mktp
                   POINT OF SALE
    8/4/2023                                  US*TA82C94X2 Amzn.com/bill, WA MCI              ($15.18)
                   DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/4/2023                                                                                             $500.00
                   DEPOSIT CREDIT             Transaction

    8/3/2023       CHECK                      Check - 1241, CHECK                            ($680.00)

    8/3/2023       CHECK                      Check - 2595, CHECK                             ($80.90)

                                  KANSAS GAS SERVI MY SISTERS CLOSET
    8/3/2023       ACH WITHDRAWAL ACH DEBIT UTIL PAYMT                                        ($95.51)
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                   POINT OF SALE              PURCHASE 08-02 BLUE RAPIDS AUTO &
    8/3/2023                                                                                 ($190.93)
                   DEBIT                      HAR BLUE RAPIDS, KS MCI 7814

                                              PURCHASE 08-02
                   POINT OF SALE
    8/3/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814

                                              PURCHASE 08-02
                   POINT OF SALE
    8/3/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814

                                              PURCHASE 08-02
                   POINT OF SALE
    8/3/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814

                                              PURCHASE 08-02
                   POINT OF SALE
    8/3/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814

                   POINT OF SALE              PURCHASE 08-02 ROUTE 77 CORNER
    8/3/2023                                                                                  ($50.00)
                   DEBIT                      STORE WATERVILLE, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-02 WAL Wal-Mart Super
    8/3/2023                                                                                  ($31.98)
                   DEBIT                      842 MARYSVILLE, KS PPE 7814

                                              PURCHASE 08-02 AMZN Mktp
                   POINT OF SALE
    8/3/2023                                  US*TH7S29RX2 Amzn.com/bill, WA MCI              ($13.01)
                   DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/3/2023                                                                                             $1,000.00
                   DEPOSIT CREDIT             Transaction

    8/2/2023       CHECK                      Check - 2592, CHECK                            ($487.22)

    8/2/2023       CHECK                      Check - 2573, CHECK                             ($36.75)

    8/2/2023       CHECK                      Check - 2594, CHECK                             ($35.10)

    8/2/2023       CHECK                      Check - 2581, CHECK                             ($25.67)

                   POINT OF SALE              PURCHASE 08-01 SHOPIFY* 188943320
    8/2/2023                                                                                 ($481.46)
                   DEBIT                      ELK GROVE VIL, IL MCI 7814

                                              PURCHASE 08-01
                   POINT OF SALE
    8/2/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814



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                                              PURCHASE 08-01 AMZN Mktp
                   POINT OF SALE
    8/2/2023                                  US*TH2C51GX1 Amzn.com/bill, WA MCI               ($9.75)
                   DEBIT
                                              7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/2/2023       IAT ACH DEPOSIT                                                                         $54.72
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/2/2023                                                                                             $1,000.00
                   DEPOSIT CREDIT             Transaction

    8/1/2023       CHECK                      Check - 2584, CHECK                            ($302.07)

    8/1/2023       CHECK                      Check - 2590, CHECK                            ($255.90)

                                              PURCHASE 07-31
                   POINT OF SALE
    8/1/2023                                  WHOLESALEFASHIONSQUARE VERNON,                 ($300.58)
                   DEBIT
                                              CA MCI 7814

                                              PURCHASE 07-31 AMZN Mktp
                   POINT OF SALE
    8/1/2023                                  US*TH3U70832 Amzn.com/bill, WA MCI              ($63.69)
                   DEBIT
                                              7814

                   POINT OF SALE              PURCHASE 07-31 IHOP #3168 ONLINE
    8/1/2023                                                                                  ($32.74)
                   DEBIT                      785-643-4479 , KS MCI 7814

                                              PURCHASE 07-31
                   POINT OF SALE
    8/1/2023                                  Amazon.com*TH6VC2V60                            ($21.69)
                   DEBIT
                                              Amzn.com/bill, WA MCI 7814

                                              PURCHASE 07-31 AMZN Mktp
                   POINT OF SALE
    8/1/2023                                  US*TH56I2E41 Amzn.com/bill, WA MCI              ($14.59)
                   DEBIT
                                              7814

                                              PURCHASE 07-31 AMZN Mktp
                   POINT OF SALE
    8/1/2023                                  US*TH7U728K2 Amzn.com/bill, WA MCI              ($10.87)
                   DEBIT
                                              7814

                                              PURCHASE 07-31 AMZN Mktp
                   POINT OF SALE
    8/1/2023                                  US*TH2G58882 Amzn.com/bill, WA MCI              ($10.84)
                   DEBIT
                                              7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/1/2023       IAT ACH DEPOSIT                                                                         $72.30
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/1/2023                                                                                             $1,000.00
                   DEPOSIT CREDIT             Transaction



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   Transaction History
   MSC - OPERATIONS - Checking
   Available Balance
   $102.56

                                                                                                    Current Balance
                                                                                                                $60.11



   Customer                        603311                          Account                    ****0389
   Last Deposit Date
   09/20/2023
   Last Deposit Amount             $320.00                         Last Statement Date        08/31/2023
   Last Statement Balance          $509.41


   You are currently viewing all transactions from 8/1/2023 to 8/31/2023

    Date           Type                   Description                                          Debits Credits

    8/31/2023 SERVICE CHARGE                  MAINTENANCE FEE                                      ($3.00)

    8/31/2023 CHECK                           Check - 2645, CHECK                                 ($80.34)

    8/31/2023 CHECK                           Check - 2640, CHECK                                 ($26.78)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/31/2023 ACH WITHDRAWAL                                                                      ($40.01)
                                              DEBIT INST XFER CASEYS 3492

                    POINT OF SALE             PURCHASE 08-30 SHOPIFY* 193632647
    8/31/2023                                                                                    ($485.80)
                    DEBIT                     ELK GROVE VIL, IL MCI 7814

                                              PURCHASE 08-30 AMZN Mktp
              POINT OF SALE
    8/31/2023                                 US*T34TA0UD0 Amzn.com/bill, WA MCI                  ($10.18)
              DEBIT
                                              7814

    8/30/2023 CHECK                           Check - 2641, CHECK                                ($455.08)

    8/30/2023 CHECK                           Check - 5518, CHECK                                ($117.90)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/30/2023 ACH WITHDRAWAL                                                                      ($15.83)
                                              DEBIT INST XFER SONIC DRIVE IN

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/30/2023 IAT ACH DEPOSIT                                                                                $49.73
                                              LLC ACH CREDIT MISC CRED
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                                              PURCHASE 08-28 AMZN Mktp
                   POINT OF SALE
    8/29/2023                                 US*T33PZ70P1 Amzn.com/bill, WA MCI              ($13.01)
                   DEBIT
                                              7814

                                              PURCHASE 08-28 AMZN Mktp
              POINT OF SALE
    8/29/2023                                 US*T33065DG2 Amzn.com/bill, WA MCI               ($8.67)
              DEBIT
                                              7814

    8/29/2023 CHECK                           Check - 2642, NSF-OD CHECK 2642 PAID           ($533.80)

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/29/2023 IAT ACH DEPOSIT                                                                              $72.14
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/29/2023                                                                                            $2,000.00
                   DEPOSIT CREDIT             Transaction

    8/28/2023 CHECK                           Check - 2518, CHECK                             ($39.50)

    8/28/2023 CHECK                           Check - 2638, CHECK                             ($14.16)

    8/28/2023 CHECK                           Check - 2629, CHECK                             ($12.77)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/28/2023 ACH WITHDRAWAL                                                                  ($38.33)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/28/2023 ACH WITHDRAWAL                                                                  ($29.16)
                                              DEBIT INST XFER AMAZON.COM*TQ0K

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/28/2023 ACH WITHDRAWAL                                                                  ($28.70)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/28/2023 ACH WITHDRAWAL                                                                   ($5.41)
                                              DEBIT INST XFER AMAZON KIDS

                   POINT OF SALE              PURCHASE 08-26 DOLLAR GENERAL
    8/28/2023                                                                                 ($27.77)
                   DEBIT                      #15452 BLUE RAPIDS, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-26 APPLE.COM/BILL 866-
    8/28/2023                                                                                  ($9.99)
                   DEBIT                      712-7753 , CA MCI 7814

                   POINT OF SALE              PURCHASE 08-24 SONIC #2566
    8/28/2023                                                                                  ($9.04)
                   DEBIT                      MANHATTAN, KS MCI 7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/28/2023 IAT ACH DEPOSIT                                                                              $72.34
                                              LLC ACH CREDIT MISC CRED

    8/25/2023 CHECK                           Check - 2634, CHECK                             ($90.06)


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                                              EVERGY KS CTRL Bargdill,Rachael ACH
    8/25/2023 ACH WITHDRAWAL                                                                 ($194.68)
                                              DEBIT AUTOPAY 481270361680

                                              BLUE VALLEY TELE Rachael bargdill ACH
    8/25/2023 ACH WITHDRAWAL                                                                 ($148.93)
                                              DEBIT Phone Bill 00015422-1

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/25/2023 ACH WITHDRAWAL                                                                  ($60.56)
                                              DEBIT INST XFER CASEYS 1150

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/25/2023 ACH WITHDRAWAL                                                                  ($35.02)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PURCHASE 08-24 AMZN Mktp
              POINT OF SALE
    8/25/2023                                 US*T37C54Z32 Amzn.com/bill, WA MCI              ($33.64)
              DEBIT
                                              7814

                   POINT OF SALE              PURCHASE 08-25 APPLE.COM/BILL 866-
    8/25/2023                                                                                 ($18.42)
                   DEBIT                      712-7753 , CA MCI 7814

                   POINT OF SALE              PURCHASE 08-24 CMSVEND*FIVE STAR
    8/25/2023                                                                                  ($2.10)
                   DEBIT                      VEND MARYSVILLE, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-24 CMSVEND*FIVE STAR
    8/25/2023                                                                                  ($2.10)
                   DEBIT                      VEND MARYSVILLE, KS MCI 7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/25/2023                                                                                            $500.00
                   DEPOSIT CREDIT             Transaction

    8/24/2023 CHECK                           Check - 2633, CHECK                             ($80.58)

                                              BANK-A-COUNT MY SISTER'S CLOSET
    8/24/2023 ACH WITHDRAWAL                                                                  ($62.89)
                                              ACH DEBIT CK. ORDERS

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/24/2023 ACH WITHDRAWAL                                                                  ($34.28)
                                              DEBIT INST XFER RAISING CANES 0

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/24/2023 IAT ACH DEPOSIT                                                                             $53.44
                                              LLC ACH CREDIT MISC CRED

                   POINT OF SALE              PURCHASE 08-21 GOOGLE *Google
    8/23/2023                                                                                  ($1.99)
                   DEBIT                      Storage Mountain View, CA PUL 7814

    8/22/2023 CHECK                           Check - 2631, CHECK                            ($476.34)

    8/22/2023 CHECK                           Check - 1234, CHECK                            ($241.00)

    8/22/2023 CHECK                           Check - 2610, CHECK                             ($67.60)


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    8/22/2023 CHECK                           Check - 2632, CHECK                             ($56.34)

    8/22/2023 CHECK                           Check - 2044, CHECK                             ($45.80)

    8/22/2023 CHECK                           Check - 2604, CHECK                             ($17.29)

    8/22/2023 CHECK                           Check - 2630, CHECK                             ($16.52)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/22/2023 ACH WITHDRAWAL                                                                  ($18.84)
                                              DEBIT INST XFER MCDONALD S F275

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/22/2023 ACH WITHDRAWAL                                                                   ($9.99)
                                              DEBIT INST XFER PRIME VIDEO CHA

                   POINT OF SALE              PURCHASE 08-21 KLAVIYO INC.
    8/22/2023                                                                                ($175.00)
                   DEBIT                      SOFTWARE BOSTON, MA MCI 7814

                                              PURCHASE 08-21 AMZN Mktp
              POINT OF SALE
    8/22/2023                                 US*TQ5Z99MQ0 Amzn.com/bill, WA MCI              ($12.67)
              DEBIT
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                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/22/2023                                                                                            $1,000.00
                   DEPOSIT CREDIT             Transaction

    8/21/2023 CHECK                           Check - 2635, CHECK                            ($525.10)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/21/2023 ACH WITHDRAWAL                                                                  ($29.87)
                                              DEBIT INST XFER ROUTE 77 CORNER

                   POINT OF SALE              PURCHASE 08-20 McDonalds 2753
    8/21/2023                                                                                 ($51.48)
                   DEBIT                      MANHATTAN, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-20 COMMENTSOLD
    8/21/2023                                                                                 ($50.71)
                   DEBIT                      COMMISSION HUNTSVILLE, AL MCI 7814

                   POINT OF SALE              POS PYMT 08-21 SP AFF LITTLEBUFFAL
    8/21/2023                                                                                 ($17.25)
                   DEBIT                      SAN FRANCISCO, CA PUL 7814

                   POINT OF SALE              PURCHASE 08-19 TACO BELL #259
    8/21/2023                                                                                 ($15.38)
                   DEBIT                      MARYSVILLE, KS MCI 7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/21/2023 IAT ACH DEPOSIT                                                                              $40.91
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/21/2023                                                                                             $800.00
                   DEPOSIT CREDIT             Transaction

    8/18/2023 CHECK                           Check - 2608, CHECK                            ($176.71)
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                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                 ($103.00)
                                              DEBIT INST XFER 1028858171459

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                  ($66.76)
                                              DEBIT INST XFER CASEYS 1150

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                  ($59.70)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                  ($18.22)
                                              DEBIT INST XFER TACO BELL 259

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/18/2023 ACH WITHDRAWAL                                                                  ($16.07)
                                              DEBIT INST XFER AMAZON.COM*TQ6W

                                              PURCHASE 08-17 AMZN Mktp
              POINT OF SALE
    8/18/2023                                 US*TQ7NN6JR2 Amzn.com/bill, WA MCI              ($23.27)
              DEBIT
                                              7814

                   POINT OF SALE              PURCHASE 08-18 TST* CAPSTONE3D
    8/18/2023                                                                                 ($11.52)
                   DEBIT                      MANHATTAN, KS MCI 7814

                                              PURCHASE 08-17 AMZN Mktp
              POINT OF SALE
    8/18/2023                                 US*TO53H5WY0 Amzn.com/bill, WA MCI               ($9.95)
              DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/18/2023                                                                                             $500.00
                   DEPOSIT CREDIT             Transaction

    8/17/2023 CHECK                           Check - 2605, CHECK                            ($432.30)

    8/17/2023 CHECK                           Check - 2626, CHECK                            ($206.99)

    8/17/2023 CHECK                           Check - 2607, CHECK                             ($80.46)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/17/2023 ACH WITHDRAWAL                                                                   ($7.96)
                                              DEBIT INST XFER MCDONALD S F101

                                              PURCHASE 08-16
                   POINT OF SALE
    8/17/2023                                 AMAZON.COM*TO61L1KK0 SEATTLE,                   ($85.20)
                   DEBIT
                                              WA PUL 7814

                                              PURCHASE 08-16 AMZN Mktp
              POINT OF SALE
    8/17/2023                                 US*TQ1MP6FT2 Amzn.com/bill, WA MCI              ($10.98)
              DEBIT
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                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/17/2023                                                                                            $1,000.00
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                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/17/2023                                                                                             $200.00
                   DEPOSIT CREDIT             Transaction

    8/16/2023 CHECK                           Check - 1235, CHECK                            ($241.00)

                                              FB P-C INS FBM ACH DEBIT Payment
    8/16/2023 ACH WITHDRAWAL                                                                 ($135.59)
                                              FBMCOM034377631

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/16/2023 ACH WITHDRAWAL                                                                  ($86.78)
                                              DEBIT INST XFER AMAZON PAYMENTS

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/16/2023 ACH WITHDRAWAL                                                                   ($8.99)
                                              DEBIT INST XFER PRIME VIDEO CHA

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/16/2023 ACH WITHDRAWAL                                                                   ($5.99)
                                              DEBIT INST XFER PRIME VIDEO CHA

                   POINT OF SALE              POS PYMT 08-16 SP AFF TAASINC2 SAN
    8/16/2023                                                                                ($103.62)
                   DEBIT                      FRANCISCO, CA PUL 7814

                   POINT OF SALE              PURCHASE 08-15 MARKET 2 BOUTIQUE
    8/16/2023                                                                                 ($84.00)
                   DEBIT                      STEPHENVILLE , TX MCI 7814

                   POINT OF SALE              PURCHASE 08-15 ROUTE 77 CORNER
    8/16/2023                                                                                 ($14.77)
                   DEBIT                      STORE# BLUE RAPIDS, KS MCI 7814

    8/15/2023 CHECK                           Check - 2602, CHECK                            ($102.67)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/15/2023 ACH WITHDRAWAL                                                                  ($23.25)
                                              DEBIT INST XFER AMAZON.COM*TO5D

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/15/2023 ACH WITHDRAWAL                                                                  ($23.25)
                                              DEBIT INST XFER AMAZON.COM*TO55

    8/15/2023 CHECK                           Check - 2606, NSF-OD CHECK 2606 PAID           ($525.10)

    8/15/2023 CHECK                           Check - 2041, NSF-OD CHECK 2041 PAID           ($259.05)

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/15/2023                                                                                            $1,500.00
                   DEPOSIT CREDIT             Transaction

    8/14/2023 CHECK                           Check - 2591, CHECK                             ($98.98)

    8/14/2023 CHECK                           Check - 2042, CHECK                             ($66.96)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                 ($722.86)
                                              DEBIT INST XFER VZWRLSS*APOCC V


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                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($59.72)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($46.75)
                                              DEBIT INST XFER DOLLAR GENERAL

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($30.00)
                                              DEBIT INST XFER ROUTE 77 CORNER

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($15.74)
                                              DEBIT INST XFER AMAZON.COM*TO5H

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                  ($12.59)
                                              DEBIT INST XFER AMAZON.COM*TO7P

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                   ($7.55)
                                              DEBIT INST XFER AMAZON.COM*TO43

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/14/2023 ACH WITHDRAWAL                                                                   ($1.06)
                                              DEBIT INST XFER AMAZON.COM*TO7T

                   POINT OF SALE              PURCHASE 08-13 COMMENTSOLD SUB
    8/14/2023                                                                                ($149.00)
                   DEBIT                      HUNTSVILLE, AL MCI 7814

                   POINT OF SALE              PURCHASE 08-12 SONIC DRIVE IN #2571
    8/14/2023                                                                                 ($37.25)
                   DEBIT                      MARYSVILLE, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-14 APPLE.COM/BILL 866-
    8/14/2023                                                                                  ($8.99)
                   DEBIT                      712-7753 , CA MCI 7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/14/2023                                                                                            $400.00
                   DEPOSIT CREDIT             Transaction

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/14/2023                                                                                            $600.00
                   DEPOSIT CREDIT             Transaction

    8/11/2023 CHECK                           Check - 2601, CHECK                            ($324.82)

                                              PURCHASE 08-10 AMZN Mktp
                   POINT OF SALE
    8/11/2023                                 US*TO1E65L72 Amzn.com/bill, WA MCI              ($15.61)
                   DEBIT
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                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/11/2023                                                                                            $500.00
                   DEPOSIT CREDIT             Transaction

    8/10/2023 CHECK                           Check - 2045, CHECK                             ($80.91)



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                   POINT OF SALE              PURCHASE 08-09 DOLLAR GENERAL
    8/10/2023                                                                                   ($58.55)
                   DEBIT                      #15452 BLUE RAPIDS, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-09 SONIC DRIVE IN #2571
    8/10/2023                                                                                    ($7.91)
                   DEBIT                      MARYSVILLE, KS MCI 7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/10/2023                                                                                               $300.00
                   DEPOSIT CREDIT             Transaction

    8/9/2023       CHECK                      Check - 2599, CHECK                             ($443.77)

    8/9/2023       CHECK                      Check - 2600, CHECK                               ($27.34)

    8/8/2023       CHECK                      Check - 1236, CHECK                            ($2,208.51)

    8/8/2023       CHECK                      Check - 1242, CHECK                               ($26.34)

                                              SHE PROFITS NOW MSC BOUTIQUE ACH
    8/8/2023       ACH WITHDRAWAL                                                             ($450.00)
                                              DEBIT SALE

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/8/2023       ACH WITHDRAWAL                                                               ($32.54)
                                              DEBIT INST XFER IPSY

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/8/2023       ACH WITHDRAWAL                                                               ($16.27)
                                              DEBIT INST XFER IPSY

                                              PURCHASE 08-07 AMZN Mktp
                   POINT OF SALE
    8/8/2023                                  US*TA2ME9Q32 Amzn.com/bill, WA MCI                ($81.29)
                   DEBIT
                                              7814

                   POINT OF SALE              POS PYMT 08-07 SP AFF LITTLEBUFFAL
    8/8/2023                                                                                    ($17.25)
                   DEBIT                      SAN FRANCISCO, CA PUL 7814

                                              PURCHASE 08-07
                   POINT OF SALE
    8/8/2023                                  Amazon.com*TA6MA3QA2                              ($10.82)
                   DEBIT
                                              Amzn.com/bill, WA MCI 7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/8/2023       IAT ACH DEPOSIT                                                                           $57.83
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/8/2023                                                                                               $1,000.00
                   DEPOSIT CREDIT             Transaction

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/8/2023                                                                                               $2,300.00
                   DEPOSIT CREDIT             Transaction

                   MISCELLANEOUS
    8/7/2023                                  MISCELLANEOUS DEBIT                                ($4.00)
                   DEBIT
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    8/7/2023       CHECK                      Check - 2043, CHECK                            ($535.17)

    8/7/2023       CHECK                      Check - 2598, CHECK                             ($21.90)

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/7/2023       ACH WITHDRAWAL                                                             ($29.16)
                                              DEBIT INST XFER AMAZON.COM*TA5K

                   POINT OF SALE              PURCHASE 08-05 SHOPIFY* 190260432
    8/7/2023                                                                                 ($398.36)
                   DEBIT                      ELK GROVE VIL, IL MCI 7814

                   POINT OF SALE              PURCHASE 08-04 COMMENTSOLD
    8/7/2023                                                                                  ($55.92)
                   DEBIT                      COMMISSION HUNTSVILLE, AL MCI 7814

                   POINT OF SALE              PURCHASE 08-04 DOLLAR GENERAL
    8/7/2023                                                                                  ($28.23)
                   DEBIT                      #15452 BLUE RAPIDS, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-06 ROUTE 77 CORNER
    8/7/2023                                                                                   ($8.46)
                   DEBIT                      STORE WATERVILLE, KS MCI 7814

                                              PURCHASE 08-07 Prime Video
                   POINT OF SALE
    8/7/2023                                  *TA95D61J0 888-802-3080 , WA MCI                 ($6.99)
                   DEBIT
                                              7814

                                              PAYPAL INSIDE MY SISTER S CLO ACH
    8/7/2023       ACH DEPOSIT                                                                           $583.14
                                              CREDIT TRANSFER

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/7/2023       IAT ACH DEPOSIT                                                                        $43.92
                                              LLC ACH CREDIT MISC CRED

    8/4/2023       CHECK                      Check - 2597, CHECK                             ($67.04)

                   POINT OF SALE              PURCHASE 08-03 ROUTE 77 CORNER
    8/4/2023                                                                                  ($40.00)
                   DEBIT                      STORE WATERVILLE, KS MCI 7814

                                              PURCHASE 08-03 AMZN Mktp
                   POINT OF SALE
    8/4/2023                                  US*TA82C94X2 Amzn.com/bill, WA MCI              ($15.18)
                   DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/4/2023                                                                                             $500.00
                   DEPOSIT CREDIT             Transaction

    8/3/2023       CHECK                      Check - 1241, CHECK                            ($680.00)

    8/3/2023       CHECK                      Check - 2595, CHECK                             ($80.90)

                                  KANSAS GAS SERVI MY SISTERS CLOSET
    8/3/2023       ACH WITHDRAWAL ACH DEBIT UTIL PAYMT                                        ($95.51)
                                  125177661481445
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                   POINT OF SALE              PURCHASE 08-02 BLUE RAPIDS AUTO &
    8/3/2023                                                                                 ($190.93)
                   DEBIT                      HAR BLUE RAPIDS, KS MCI 7814

                                              PURCHASE 08-02
                   POINT OF SALE
    8/3/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814

                                              PURCHASE 08-02
                   POINT OF SALE
    8/3/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814

                                              PURCHASE 08-02
                   POINT OF SALE
    8/3/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814

                                              PURCHASE 08-02
                   POINT OF SALE
    8/3/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814

                   POINT OF SALE              PURCHASE 08-02 ROUTE 77 CORNER
    8/3/2023                                                                                  ($50.00)
                   DEBIT                      STORE WATERVILLE, KS MCI 7814

                   POINT OF SALE              PURCHASE 08-02 WAL Wal-Mart Super
    8/3/2023                                                                                  ($31.98)
                   DEBIT                      842 MARYSVILLE, KS PPE 7814

                                              PURCHASE 08-02 AMZN Mktp
                   POINT OF SALE
    8/3/2023                                  US*TH7S29RX2 Amzn.com/bill, WA MCI              ($13.01)
                   DEBIT
                                              7814

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/3/2023                                                                                             $1,000.00
                   DEPOSIT CREDIT             Transaction

    8/2/2023       CHECK                      Check - 2592, CHECK                            ($487.22)

    8/2/2023       CHECK                      Check - 2573, CHECK                             ($36.75)

    8/2/2023       CHECK                      Check - 2594, CHECK                             ($35.10)

    8/2/2023       CHECK                      Check - 2581, CHECK                             ($25.67)

                   POINT OF SALE              PURCHASE 08-01 SHOPIFY* 188943320
    8/2/2023                                                                                 ($481.46)
                   DEBIT                      ELK GROVE VIL, IL MCI 7814

                                              PURCHASE 08-01
                   POINT OF SALE
    8/2/2023                                  BEAUTYANDHUSTLE.COM LAS VEGAS,                  ($65.00)
                   DEBIT
                                              NV MCI 7814



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                                              PURCHASE 08-01 AMZN Mktp
                   POINT OF SALE
    8/2/2023                                  US*TH2C51GX1 Amzn.com/bill, WA MCI               ($9.75)
                   DEBIT
                                              7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/2/2023       IAT ACH DEPOSIT                                                                         $54.72
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/2/2023                                                                                             $1,000.00
                   DEPOSIT CREDIT             Transaction

    8/1/2023       CHECK                      Check - 2584, CHECK                            ($302.07)

    8/1/2023       CHECK                      Check - 2590, CHECK                            ($255.90)

                                              PURCHASE 07-31
                   POINT OF SALE
    8/1/2023                                  WHOLESALEFASHIONSQUARE VERNON,                 ($300.58)
                   DEBIT
                                              CA MCI 7814

                                              PURCHASE 07-31 AMZN Mktp
                   POINT OF SALE
    8/1/2023                                  US*TH3U70832 Amzn.com/bill, WA MCI              ($63.69)
                   DEBIT
                                              7814

                   POINT OF SALE              PURCHASE 07-31 IHOP #3168 ONLINE
    8/1/2023                                                                                  ($32.74)
                   DEBIT                      785-643-4479 , KS MCI 7814

                                              PURCHASE 07-31
                   POINT OF SALE
    8/1/2023                                  Amazon.com*TH6VC2V60                            ($21.69)
                   DEBIT
                                              Amzn.com/bill, WA MCI 7814

                                              PURCHASE 07-31 AMZN Mktp
                   POINT OF SALE
    8/1/2023                                  US*TH56I2E41 Amzn.com/bill, WA MCI              ($14.59)
                   DEBIT
                                              7814

                                              PURCHASE 07-31 AMZN Mktp
                   POINT OF SALE
    8/1/2023                                  US*TH7U728K2 Amzn.com/bill, WA MCI              ($10.87)
                   DEBIT
                                              7814

                                              PURCHASE 07-31 AMZN Mktp
                   POINT OF SALE
    8/1/2023                                  US*TH2G58882 Amzn.com/bill, WA MCI              ($10.84)
                   DEBIT
                                              7814

                                              HYPERWALLET SYST MY SISTERS CLOSET
    8/1/2023       IAT ACH DEPOSIT                                                                         $72.30
                                              LLC ACH CREDIT MISC CRED

                   ELECTRONIC                 FROM XXXXXXXX0370 Internet Banking
    8/1/2023                                                                                             $1,000.00
                   DEPOSIT CREDIT             Transaction



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Debtor Name My Sister's Closet LLC


UniterJ States Bankruptcy Court for the: District of Kansas


Case numtJer: 23-20604
                                                                                                                                  0 Check if this is an
               ---------                                                                                                             amended filing




Official Form 425C

MonUdy Operating Report for SmaH Busill'iless Under Chapter 11                                                                                               12/17

Month:                 ~eptember 2023 •                                                                      Date report filed:    11/8/2023
                                                                                                                                   7171M / DD/YYYY

Line of business: Clothing sales - retail                                                                    NAISC code:           4581

In accordance with title 28, section 1746, of the United States Code, I dedare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                             Rachael Bargdill
Original signature of responsible party        ·      --~
                                               ~:!.:~\2.'-:.5·'·<)2~,l•':=;·''-··~<•_ _ _ _ _ _ _ _ _ _ __

Printed name of responsible party              Rachael BargdiH


               1. Questionnahre
     Answer ail questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                                          Yes      •• 'No·      ,NIA.
          If you answer No to any of the quesfo:ms in lines 1-9, attach an explanation and label it Exhibit A.

     1.   Did the business operate durinQ the entire reportinQ period?                                                                    Ga          □         □
     2.   Do you plan to continue to operate the business next month?                                                                     li.i        □         □

     3.   Have you paid all of your bills on time?                                                                                        la          □         □
     4.   Did you pay your employees on time?                                                                                             la          □         □
     5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                 G?i         □          □
     6.   Have you timely filed your tax returns and paid all of your taxes?                                                              G11         □          □
     7.   Have you timely filed all other required government filings?                                                                    G7j         □          □
     8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                 □           □         Qj
     9.   Have you timely paid all of your insurance premiums?                                                                            ~           □          □

           If you answer Yes to an of the uesti,ens ~.l!.!!!?~~-18, attach an ex_eia!!i!!io~ and label it .E!!,.l.!J!!J!P.:_
     10. Do you have any bank accounts. open other than the DIP accounts?                                                                 □           [if        □
     11. Have you sold any assets other than inventory?                                                                                   □           Gl         □
     12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                            □           ~          □

     13. Did any insurance company cane.el your policy?                                                                                   □           ti!        □

     14. Did you have any unusual or significant unanticipated expenses?                                                                  □           [if        □

     15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                              □           [i1f       □
     16. Has anyone made an investment in your business?                                                                                  □           @'         □

Official Form 425C                              Monthly Operating Report for Smail Business Under Chapter 11                                     page 1

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Debtor Name   My Sister's Closet LLC                                                   Case number 23-20604




    17. Have you paid any bills you owed before you foed bankruptcy?                                                                      □

    18. Have you allowed any checks to clear the bank 1:hat were issued before you filed bankruptcy?                                      □




    19. Total opening balance of all accounts
                                                                                                                            3498.64
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash recElived from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.                                                         $21029.72

    21. Total cash disbursements
         Attach a listing of all payments you made in the month and label it Exhibit D. List the
         date paid, payee, purpose, and amount. Include all cash payments, debit card
         transactions, checks issued even if they have not cleared the bank, outstanding
         checks issued before the bankruptcy was filed that were allowed to clear this month,
         and payments made by other parties on your behalf. Do not attach bank statements
         in lieu of Exhibit D.
                                                                                                       - $   20613.72
         Report the total from Exhibit D here.

    22. Net cash flow
         Subtract line 21 from line 20 and report the result here.
                                                                                                                         + $ -$416
         This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
         Add line 22 + line 19. Report the result here.
         Report this figure as the cash on hand at the beginning of the month on your next operating report.             ::::: $3914.64 ·--·

         This amount may not match your bank account balance because you may have outstanding checks that
         have not cleared the bank or deposits in trarn,it.



              3. Unpaid Bills

         Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
         have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
         purpose of the debt, and when th.-, debt is due. Report the total from Exhibit E here.

     24. Tota.I payables                                                                                                    $

                (Exhibit E)




 Official Form 425C                     Monthly Operating Report for Smail Business Under Chapter 11                         page 2


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Debtor Name   My Sister's Closet LLC                                                                    Case number 23-20604




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                              $ _ _0_ _

                  (Exhibit F)



              5. E.mpk,yees
                                                                                                                                                       _ _ _9__ _
    26. What was the number of employees when the case was filed?
                                                                                                                                                       _ _8_ _ _
    27. What is the number of employees as of the date of this monthly report?




              _______________
              6. Professional Fees
              ,                                                       ____________-_____________________
                                                         .,____,.,_,_.,

                                                                                                                                                       $ _ _ _o_.o_o
    28. How much have you paid this month in professional fees related to this.bankruptcy case?
    29. How much have you paid in professional foes related to this bankruptcy case since the case was filed?
                                                                                                                                                              0.00
                                                                                                                                                       $- - - - -
    30. How much have you paid this month in other professional fees?
                                                                                                                                                           0.00
                                                                                                                                                       $---- -
    3 •1,. How much have you paid in total other professional fees since filing the case?                                                              $ _ _ _0_.o_o




         Compare your actual cash receipts and disbursements to what you projected in the previous month.
         Projected figures in the first month should match those provided at the initial debtor interview, if any.


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                                       Ytn!'Lprevfoius month's •           <i~ls. re~prt, •, •
                                       1:Sro~J:it>ft/ •• • ••••.·•.••         •' •,. '.:'. := ;..,, ;; .i ••.
                                                                                 ~




                                         $ _ _45000_ __                      _21029.72_                         =     $ _$23970.28_ _ _$
    32. Cash receipts
                                                                                                                ::
    33. Cash disbursements               $ - - -... 40000_, ___ _           20613.72_                                _a _ _19,386.28_

                                                                            $ 416                               = r$_4484_
    34. Nel: cash fiow
                                                                                                                     L
     35. Total projected cash receipts for the next month:                                                                                               $
                                                                                                                                                        _ _25000 __ _
     36. Total projected cash disbursements for the next month:                                                                                        ~ $

                                                                                                                                                       _ _ _22000
     37. Total projected net cash flow for t11e next month:



                                                                                                                                                       - - - -3000

 Official Form 425C                      Monthly Operating Report for Small Business Under Chapter 11                                                   page 3


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Debtor Name   IVly Sister's Closet LLC                                                 Case num!Jer 23-20604




              8. Additional Information
    if available, check the box to the left and attach copies of the following documents.

    [i£1 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    O 39. Bank reconciliation reports for each account.
    [zj 40. Financial reports such as an income statsment (profit & loss) and/or balance sheet.

    O 41. Budget, projection, or forecast reports.

    [J 42. Project, job costing, or work-in-progress reports.




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Final Audit Report                                                            2023-11-08




uoraft MOR for September 2023 History                           11




    Document created by Ryan Blay WM Law (blay@wagonergroup.com)
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    Document emailed to msckansas@grnail.com for signature
    2023-1'i-08-2:31:14 PM GMT


    Email viewed by msckansas@gmail.com
    2023-11-08- 2:33:55 PMGMT


    Signer rnsckansas@gmail.com entered name at signing as Rachael Bargdiil
    2023-11-08 - 2:34:22 PM GMT


    Document e-signed by Rachael BargdW (msckansas@gmaiLcom)
    Signature Date: 2023-11~08- 2:34:24 PM GMT- Time Source: server


    Agreement completed.
    2023-11-08_ - 2:34:24 PM GMT




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                                                                       107    158
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                 FIRST                                                                    (785) 363-7721         FDltC 1.:.f
                                                                                                                           (llUAlttOUSM
                                                                                                                           LENDE:1111

       COMMERCE BANK                                                                      Branch:
                                                                                          FIRST COMMERCE BANK
                                                                                          21 PUBLIC SQUARE, BOX 157
Downtown Marysville                 On the Square, Blue Rapids                            BLUE RAPIDS, KS 66411
       785-562 - 5558                        785 -363 -7721
                                                                                          Visit our website at:
                                                                                          www.bankfirstcommerce .com




           ADALEE BARGDILL
           331 E COMMERCIAL ST
           WATERVILLE KS 66548-8926


                                                                                                                    Page 1 of 9


Statement Date: September 29, 2023                                                             Account Number:


Blue Checking
ACCOUNT ACTIVITY SUMMARY

Statement period number of days                             29
Average balance                                      $1,126.40
Total service charge this period                         $3.00




Previous balance            08/31/2023               $2,989 .23                                     Debits
                                                                                                    $23,446.29
De osits                           62               $20,995 .85
Withdrawals                        140              $23,446.29
Ending balance              09/29/2023                 $538.79




DEPOSITS

Date                               Description                                                                            Amount
09/01/2023                         SEZZLE        My Sisters Closet ACH CREDIT Payout                                      $119 .40
09/01/2023                         SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                   $502 .08
                                   F6S8S2D4O7E2
09/01/2023                         COMMENTSOLD        RACHAEL BARGDILL ACH CREDIT CommentSol ST-                          $327.69
                                   I6K2O8H4K9I1
09/05/2023                         SHOPIFY    RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                     $95 .61
                                   Q8F7Q7N2P4V6
09/05/2023                         COMMENTSOLD        RACHAEL BARGDILL ACH CREDIT CommentSol ST-                          $518 .16
                                   C3G8B4J7 J8K6
09/05/2023                         REGULAR DEPOSIT                                                                        $460.85
09/06/2023                         SEZZLE        My Sisters Closet ACH CREDIT Payout                                      $148.31
09/06/2023                         SHOPPAYINST AFRM MySister'sC losetKansas ACH CREDIT PAYMENTS                            $74 .04
                                   N7SBOX5LKPHYLl9
09/06/2023                         SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                              $2,663.29
                                   N6I2A8T6Z6T4
09/06/2023                         COMMENTSOLD        RACHAEL BARGDILL ACH CRED IT CommentSol ST-                     $1,280 .16
                                   U3M6W9J5H9K5
                            Case23-20604
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09/07/2023                         SEZZLE        My Sisters Closet ACH CREDIT Payout                                       $81.06
                         FIRST
                   COMMERCE BANK
              Downtown Marysville    On the Square, Blue Rapids
                  785-562-5558             785-363-772 1


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 ADALEE BARGDILL                                                                                        Account Number:


DEPOSITS (continued)

Date                                Description                                                                            Amount
09/07/2023                          SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                  $125 .72
                                    M3T9H4Z9I4D7
09/07/2023                          COMMENTSOLD         RACHAEL BARGDILL ACH CREDIT CommentSol ST-                           $29.49
                                    C1K5X7S3P8Y5
09/08/2023                          SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                  $496.52
                                    K9L9F2P5J6I3
                                             ----------
09/08/2023                          COMMENTS OLD        RACHAEL BARGDILL ACH CREDIT CommentSol ST-                           $67 .17
                                    V0G9T1D7U7H3
-------------
09/08/2023                          REGULA R DEPOSIT
09/11/2023                          SHOPIFY    RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                     $215.43
                                    W6Q5N9J3G0O9
09/11/2023                          COMMENTSOLD         RACHAEL BARGDILL ACH CREDIT CommentSol ST-                          $444.49
                                    G4H4F8G7B8L2
09/12/2023                          SEZZLE        My Sisters Closet ACH CREDIT Payout                                       $233.03
09/12/2023                          SHOPIFY       RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                $1,472 .73
                                    B6F1 D2K1 Q3A7
09/12/2023                          SEZZLE        My Sisters Closet ACH CREDIT Payout                                        $20.43
09/12/2023                          COMMENTSOLD            RACHAEL BARGDILL ACH CREDIT CommentSol ST-                       $611 .61
                                    V9L0W8H2V4Z7
09/13/2023                          SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                     $99 .90
                                    W9D3F4L4T9J2
09/13/2023                          SEZZLE        My Sisters Closet ACH CREDIT Payout                                        $89 .00
09/13/2023                          COMMENTSOLD     RACHAEL BARGDILL ACH CREDIT CommentSol ST-                              $128 .26
                                    W1Z3A5G3V5S8
                                            -------
09/13/2023                          REGULAR DEPOSIT                                                                         $352 .10
09/14/2023                          SHOPIFY    RACHAEL BARGDI LL ACH CREDIT TRANSFER ST-                                    $356.40
                                    B8O7M6U5Q2M0
09/14/2023                          SEZZLE        My Sisters Closet ACH CREDIT Payout                                        $30 .22
09/14/2023                          COMMENTSOLD            RACHAEL BARGDILL ACH CREDIT CommentSol ST-                       $358.21
                                    B8I6U5G1 N0F1
09/15/2023                          SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                    $345 .15
                                    B3P8U1 R0U2C0
09/15/2023                          SEZZLE        My Sisters Closet ACH CREDIT Payout                                        $69.86
                                                                      ----~------------------
09/15/2023                          COMMENTS OLD        RACHAEL BARGDILL ACH CREDIT CommentSol ST-                           $65.23
                                    E8Y7R9P8R7O4
09/18/2023                          POS PYMT 09-17 Initiate Instant Payou Huntsville, AL     MAP 8410                       $445.00
_0_9_/1_8_
         /2_02_3_ _ _ _ _ _ _ _ _F_R_O_M
                                       _ XXXXXXXX
                                          _       0389 Internet Banking T_ra_n_s_
                                                                                ac_ti_o_
                                                                                       n _ _ _ _ _ _ __                      $63.00
_0_9_/1_8_/2_02_3_ _ _ _ _ _ _ _ _F_B P-C INS      FBM ACH CREDIT Payment       FBMCOM034596677                              $74.59
09/18/2023                          SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                   $102 .28
                                    L0D2J0A7T6A3
_0_9_/1_9_/2_0_
              23_ _ _ _ _ _ _ _ _P_O_S PYMT 09-18 Initiate Instant Payou Huntsville, AL      MAP 8410                       $494.00
 09/19/2023                         SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                 $1 ,780 .21
                                    S0H9I4W2S6F2
 09/19/2023                         COMMENTSOLD            RACHAEL BARGDILL ACH CREDIT CommentSol ST-                         $0.60
                                    W8Y3P7R9M7G8
------------
09/19/2023   REGULAR DEPOSIT                                                                                                $342 .32
-------------
 09/20/2023                         SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                   $114 .18
                                    I5M9G8C4R5I2
_0_9_/2_0_/2_0_23_ _ _ _ _ _ _ _ _S_EZZLE         My Sisters Closet ACH CREDIT Payout                                       $172.18
09/20/2023
                             Case23-20604
                            Case  23-20604 Doc#
                                 COMMENTSOLD
                                 C3N0T0E9G0A7
                                              Doc# 56-1Filed
                                                           Filed  11/10/23PagePage1092 of
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                                               RACHAEL BARGDILL ACH CREDIT CommentSol ST-
                                                  60          12/19/23                     19                                $46 .81
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 ADALEE BARGDILL                                                                                            Account Number.      I        p.

DEPOSITS (continued)

Date                                Description                                                                                   Amount
09/21/2023                          SHOP IFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                        $277 .69
                                    A 1Q5P4F4E0Z1
09/21/2023                          COMMENTSOLD         RACHAEL BARGDILL ACH CRED IT CommentSol ST-                               $109.99
                                    N2B1V0K1A6M1
09/22/2023                          SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                         $202.71
                                    K6X2B0L2S5V8
09/22/2023                          COMMENTSOLD         RACHAEL BARGDILL ACH CREDIT CommentSol ST-                                    $52 .14
                                    Y9L4O2 I9X0Q0
09/25/2023                          POS PYMT 09-25 Initiate Instant Payou Huntsville, AL         MAP 8410                         $302.00
09/25/2023                          SHOPIFY    RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                           $711 .94
                                    L5Q1V8V8G8G3
09/25/2023                          SEZZLE        My Sisters Closet ACH CREDIT Payout                                             $477.12
             ------
09/26/2023                          SHOPIFY    RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                         $1,258 .38
                                    B0U4U5E9X6W3
09/26/2023                          SEZZLE        My Sisters Closet ACH CREDIT Pa_y_o_ut_ __                                         $177.15
09/26/2023      COMMENTSOLD    RACHAEL BARGDILL ACH CREDIT CommentSol ST-                                                            $112 .93
                L5A8W1A0O9A9
       ------------ --------
09/27/2023      SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                                                  $67 .12
                A8T0X7K6A4X0
09/27/2023                          SEZZLE        My Sisters Closet ACH CREDIT Payout                                                $153.13
09/27/2023                          COMMENTSOLD            RACHAEL BARGDILL ACH CREDIT CommentSol ST-                                 $44.78
                                    K9Z9R5T8H4W8
09/27/2023  REGULAR DEPOSIT                                                                                            $383 .28
                      ------                                                                                     ------
09/28/2023  SHOPIFY       RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                                     $285.77
            P0E1O5R7 J1 F4
--------------
09/28/2023  COMMENTSOLD      RACHAEL BARGDILL ACH CREDIT CommentSol ST-                                                               $65 .89
            I9B6G7K7H9L0
09/29/2023                          SHOPIFY       RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                           $237 .31
                                    V1S9I8Z1 U4J9
                                              ---
09/29/2023                          SEZZLE        My Sisters Closet ACH CREDIT Payout                                                 $24.50
09/29/2023                          COMMENTSOLD            RACHAEL BARGDILL ACH CREDIT CommentSol ST-                                $160 .92
                                    B1 P2X1 B3W3T5

Number of Deposits 62                                                                                            Total Deposits $20,995.85



WITHDRAWALS

Date                                Description                                                                                   Amount
09/01/2023                          PURCHASE 09-01 APPLE .COM/BILL 866-712-7753 , CA                  MCI 8410                         $7 .99
                                    Recurring Debit
09/01/2023                          PURCHASE 08-31 SEZZLE*PRAB*5FMR0*P3 MINNEAPOLIS, MN                                               $14.44
                                    MCI 8410 Recurring Debit
09/01/2023                          PURCHASE 08-30 Temu .com Boston, MA                    MCI 8410                                   $27 .52
------------
09/01/2023                          TO XXXXXXXX0389 Internet Banking Transaction                                                 $2,500 .00
09/01/2023                          PAYPAL         INSIDE MY SISTERS CLO ACH DEB IT INST XFER TACO                                    $10 .82
                                    BELL 259
09/01/2023                          PAYPAL         INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                          $35.79
                                    TRENDSI
09/01 /2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT INST XFER SP                                           $41 .19
                                    MIABELLABOUT
                            Case23-20604
                           Case  23-20604 Doc#
                                           Doc#60
                                                56-1Filed
                                                       Filed 11/10/23Page
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ADALEE BARGDILL                                                                                    Account Number:


WITHDRAWALS (continued)

Date                               Description                                                                        Amount
09/01/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                             $68 .75
                                   TRENDSI
09/01/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEB IT INST XFER                               $79 .04
                                   NINEXISUSA
09/05/2023                         POS PYMT 09-02 SP AFF         BELLASORELLA SAN FRANC ISCO, CA                       $13 .50
                                   PUL 8410 Recurring Debit
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEB IT INST XFER                             $3.16
                                   TRENDSI
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEB IT INST XFER RUE21                       $4.30
                                   0924 MA
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                              $6 .01
                                   TRENDSI
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEB IT INST XFER                            $13.31
                                   TRENDSI
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                             $14 .93
                                   TRENDSI
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEB IT INST XFER                            $20.34
                                   TRENDS I
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER ROUTE                       $21.47
                                   77 CORNER
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                             $22 .09
                                   TRENDSI
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                             $23.84
                                   TRENDSI
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                             $24.32
                                   TRENDSI
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER VENMO                       $32 .00
                                   *RUSTICC
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                             $35.37
                                   TRENDSI
09/05/2023                         PAYPAL      INSIDE MY SISTERS CLO ACH DEBIT INST XFER                               $92.40
                                   FASHIONGO* ANAR
09/05/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEB IT INST XFER                           $104.90
                                   TRENDSI
09/05/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT INST XFER                               $126 .55
                                   FASHIONGO* ACTI
09/05/2023                         PAYPAL    INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                $627 .96
                                   WWW.EZENANA.COM
09/06/2023                         TO XXXXXXXX7480 Internet Banking Transaction                                       $800.00
09/06/2023                         TO XXXXXXXX0389 Internet Banking Transaction                                      $1,000.00
09/07/2023                         POS PYMT 09-06 SP AFF         KIDSCHARM CO SAN FRANCISCO, CA                       $155 .93
                                   PUL 8410 Recurring Debit
09/07/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER ROUTE                         $6 .35
                                   77 CORNER
09/07/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                             $19.32
                                   TRENDSI
09/07/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEB IT INST XFER                            $19.32
                                   TRENDSI
09/07/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                $21.95
                                   LINDSAYNUSS
09/07/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEB IT INST XFER                            $30.95
                           Case23-20604
                          Case  23-20604
                               TRENDS I   Doc#60
                                         Doc#  56-1Filed
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 ADALEE BARGDILL                                                                                     Account Number:   J 111,pt
WITHDRAWALS (continued)

Date                               Description                                                                          Amount
                                                                                               -     -- --------
09/07/2023                         PAYPAL        INSIDE MY SISTER S CLO ACH DEBIT INST XFER                  $30.95
                                   TRENDS!
09/07/2023                         PAYPAL        INSIDE MY SISTER S CLO ACH DEBIT INST XFER                               $31 .02
                                   TRENDS!
09/07/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                $40.04
                                   TRENDS!
09/07/2023                         PAYPAL        INSIDE MY SISTER S CLO ACH DEBIT IN ST XFER                              $88.89
                                   TRENDSI
09/08/2023                         PURCHASE 09-07 SP+AFF* TENNESSEE JAN SAN FRANCISCO, CA                                 $13.25
                                   MCI 8410
                                        --------------------------------
09/08/2023                         TO XXXXXXXX0389 Internet Banking Transaction                                        $1 ,000.00
09/08/2023                         PAYPAL    INSIDE MY SISTERS CLO ACH DEBIT INST XFER EL                                 $22 .95
                                   RANCHERO MEX
09/08/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER CJ                             $26.15
                                   EXPRESS 2
- - - - - - - - - - - -PAY
                        - PAL                                                                                             $86 .28
09/08/2023                                     IN SIDE MY SISTERS CLO ACH DEBIT INST XFER
                                   FASHIONGO* LOVE
------------                                                                                                             $704 .50
09/08/2023                         PAY PAL   IN SIDE MY SISTERS CLO ACH DEBIT IN ST XFER
                                   WWW.EZENANA.COM
09/11/2023                         PURCHASE 09-10 TAPMANGO SMSOVERAG BUFFALO GROVE, IL                                    $33.30
                                   MCI 8410 Recurring Debit
09/11/2023                         PURCHASE 09-09 TAPMANGO SUB BUFFALO GROVE, IL               MCI                       $428 .00
                                   8410 Recurring Debit
09/11/2023                         TO XXXXXXXX0389 Internet Banking Transaction                                        $1 ,000 .00
09/11/2023                         PAYPAL      INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                   $8 .96
                                   TST**TST* MARYL
09/11/2023                         PAYPAL        INSIDE MY SISTER S CLO ACH DEBIT INST XFER                               $15.56
                                   TRENDSI
09/11/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT IN ST XFER                               $15 .59
                                   TRENDSI
09/11/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                $28.92
                                   TRENDSI
09/11/2023                         PAYPAL        INSIDE MY SISTER S CLO ACH DEBIT INST XFER                               $29.30
                                   TRENDSI
09/11/2023                         PAYPAL        INSIDE MY SISTER S CLO ACH DEBIT INST XFER                               $41 .59
                                   TRENDSI
------------
09/11/2023                         PAY PAL       INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                $41.99
                                   TRENDSI
09/11/2023                         PAYPAL      INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                  $43.18
                                   SEZZLE*TEJA*P1
09/11/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT IN ST XFER SP                               $52.10
                                   JADYK WHOLES
09/11/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                $64 .30
                                   TRENDSI
09/11/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                   $90.00
                                   ELEMENTS SALON
09/11/2023                         PAYPAL    INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                   $235.45
                                   WWW.EZENANA.COM
-----------
09/11/2023                         PAY PAL   INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                   $253.33
                                   JUDSON COMPANY
-----------
09/11/2023      PAYPAL     IN SIDE MY SISTERS CLO ACH DEBIT INST XFER                                                    $400 .20
            Case23-20604
           Case  23-20604 CULT
                FASHIONGO*     Doc#60
                             Doc#     56-1Filed
                                             Filed  11/10/23Page
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ADALEE BARGDILL                                                                                       Account Number:
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WITHDRAWALS (continued)

Date                               Description                                                                           Amount

09/12/2023                         PURCHASE 09-12 APPLE .COM/B ILL 866-712-7753 , CA        MCI 8410                       $10.84
                                   Recurring Debit
09/12/2023                         TO XXXXXXXX0389 Intern et Banking Transaction                                         $300 .00
09/12/2023                         TO XXXXXXXX0389 Internet Banking Transaction                                         $1,000 .00
09/12/2023                         PAYPAL        IN SIDE MY SISTERS CLO ACH DEBIT INST XFER SQ *DG                          $9 .51
                                   S BAVARI
09/12/2023                         PAYPAL      INS ID E MY SISTERS CLO ACH DEBIT INST XFER                               $116.21
                                   SEZZLE*ATTC *0GG
09/13/2023                         PURCHASE 09-12 ROUTE 77 CORNER STORE WATERVILLE , KS                                     $5.07
                                   MCI 841 0
09/13/2023                         PURCHASE 09-12 TRENDSI CITY OF INDUS, CA            MCI 8410                            $47. 19
09/13/2023                         PURCHASE 09-12 NINEXIS* #46159 WHITTIER, CA             MCI 8410                       $219 .73
09/13/2023                         PAYPAL        IN SID E MY SISTERS CLO ACH DEBIT IN ST XFER                               $8.94
                                   TRENDSI
09/13/2023                         PAYPAL    INSIDE MY SISTERS CLO ACH DEBIT IN ST XFER                                   $233.91
                                   WWW.EZENANA.COM
09/14/2023                         POS PYMT 09-13 SP AFF         COUNTRY GRAP SAN FRANCISCO, CA                            $16 .60
                                   PUL 8410 Recurring Debit
09/14/2023                         PURCHASE 09-14 TRENDS I CITY OF INDUS, CA           MCI 8410                            $41.99
----------------------------'-------------------'---
09/14/2023                         PURCHASE 09-14 TRENDSI CITY OF INDUS, CA            MCI 8410                            $67 .22
09/14/2023                         PURCHASE 09-13 SEZZLE*GLBL*P9TL0*P4 MINNEAPOLIS, MN                                     $86.13
                                   MCI 8410 Recurring Debit
09/14/2023                         PURCHASE 09-13 SEZZLE*PRAB*VMGNG*P4 MINNEAPOLIS, MN                                    $146 .75
                                   MCI 8410 Recurring Debit
09/14/2023                         TO XXXXXXXX0389 Internet Banking Transaction                                           $300.00
09/14/2023                         TO XXXXXXXX0389 Internet Banking Transaction                                           $300.00
09/14/2023                         TO XXXXXXXX0389 Internet Banking Tran saction                                          $500 .00
09/15/2023                         PURCHASE 09-14 SEZZLE*PRAB*5FMR0*P4 MINNEAPOLIS, MN                                     $14.45
                                   MCI 8410 Recurring Debit
09/15/2023                         PURCHASE 09-14 SEZZLE INC MINNEAPOLIS, MN              MCI 8410                         $80.63
09/15/2023                         POS PYMT 09-14 SP AFF Dressed by Je SAN FRANCISCO, CA                                  $106.00
                                   PUL 8410 Recurring Debit
09/15/2023                         TO XXXXXXXX0389 Internet Banking Transaction                                           $500 .00
09/18/2023                         PURCHASE 09-15 TRENDS I CITY OF INDUS , CA          MCI 8410                            $20.83
09/18/2023                         PURCHASE 09-15 TRENDS I CITY OF INDUS , CA          MCI 8410                            $41 .99
09/18/2023                         PURCHASE 09-15 TRENDSI CITY OF INDUS, CA            MCI 8410                            $62 .80
09/18/2023                         TO XXXXXXXX7480 Internet Banking Transaction                                           $100.00
09/18/2023                         TO XXXXXXXX7480 Internet Banking Transaction                                           $200 .00
09/18/2023                         TO XXXXXXXX0389 Intern et Banking Tra nsaction                                         $400 .00
09/18/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT TRANSFER ADD                                 $35.90
                                   TO BALANCE
09/19/2023                         PURCHASE 09-17WENDY'S 11020 MANHATTAN , KS                   MCI                        $12 .61
                                   8410
09/19/2023                         PURCHASE 09-17 WENDY'S 11020 MANHATTAN, KS                   MCI                        $28.38
                                   8410
09/19/2023                         PURCHASE 09-18 TIME CLOCK WIZARD INC 8662087618, NY                                     $34.90
                                   MCI 8410
09/19/2023                         TO XXXXXXXX7480 Internet Banking Transaction                                           $200.00
09/19/2023                 Case23-20604
                          Case  23-20604 Doc#
                                          Doc#60
                                               56-1Filed
                                                      Filed 11/10/23Page
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                                   TO XXXXXXXX0389 Internet Banking Transaction
                                                         12/19/23                19                                     $1,000 .00
09/20/2023                         PURCHASE 09-19 TRENDSI CITY OF INDUS, CA            MCI 8410                            $14 .74
                     FIRST
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 ADALEE BARGDILL                                                                                       Account Numbe1 •          ;,

WITHDRAWALS (continued)

Date                                Description                                                                            Amount
09/20/2023                          PURCHASE 09-19 TRENDS I CITY OF INDUS, CA           MCI 8410                             $16.06
09/20/2023                          PURCHASE 09-19 TRENDS I CITY OF INDUS, CA           MCI 8410                             $16.42
09/20/2023                          PURCHASE 09-19 TRENDSI CITY OF INDUS, CA            MCI 8410                             $24 .18
09/20/2023                          PURCHASE 09-19 TRENDSI CITY OF INDUS, CA            MCI 8410                             $35.03
09/20/2023                          PURCHASE 09-19 TRENDSI CITY OF INDUS, CA            MCI 8410                             $36.29
09/20/2023                          PURCHASE 09-19 TRENDS I CITY OF INDUS, CA           MCI 8410                             $41 .99
09/20/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                           $100 .00
09/20/2023                          PURCHASE 09-19 SEZZLE INC MIN NEAPOLIS, MN             MCI 8410                        $112 .95
09/20/2023                          TO XXXXXXXX0389 Internet Banking Transaction                                           $320 .00
09/21/2023                          TO XXXXXXXX0389 Internet Banking Transaction                                             $70 .00
09/21/2023                          TO XXXXXXXX0389 Internet Banking Transaction                                           $100 .00
                                                                                   ------------------
09/21/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                           $100 .00
09/21/2023                          PURCHASE 09-20 SP TAASINC2 CARROLL TON , TX             MCI 8410                       $134.11
09/21/2023                          PAYPAL        INSIDE MY SISTERS CLO ACH DEB IT INST XFER LAND                             $1.53
                                    SLIFE
09/22/2023                          PURCHASE 09-21 SEZZLE•TEJA•OV3BG•P2 MINNEAPOLIS, MN                                      $86 .62
                                    MCI 8410 Recurring Debit
09/22/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                            $300.00
09/25/2023                          POS PYMT 09-22 SP AFF TENNESSEE JA SAN FRANC ISCO, CA                        $13 .25
                                    PUL 8410 Re_cu_r_ri-'
                                                       ng=-D
                                                           _ e_b_it_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
09/25/2023                          TO XXXXXXXX0389 Internet Banking Transaction                                $100.00
09/25/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                            $100.00
                                                                           ----
09/25/2023                          PURCHASE 09-24 SEZZLE· Anc· oGG30•p4 MINNEAPOLIS, MN                                    $129 .51
                                    MCI 8410 Recurring Debit
09/25/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                            $150.00
09/25/2023                          POS PYMT 09-23 SP AFF         KIDSCHARM CO SAN FRANCISCO, CA                            $156.00
                                    PUL 8410 Recurring Debit
_0_9_/2_5_/2_0_
              23_ _ _ _ _ _ _ _ _T_O_ XXXXXXXX
                                       _ _ _ 0389 Internet Banking Transaction                                              $300.00
09/25/2023                          TO XXXXXXXX0389 Internet Banking Transaction                                          $1 ,000 .00
09/26/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                            $100 .00
                                                                                   ----
09/26/2023                          TO XXXXXXXX0389 Internet Banking Transaction                                          $1,500.00
09/27/2023                          PURCHASE 09-26 TRENDSI CITY OF INDUS, CA            MCI 8410                             $16 .35
09/27/2023                          PURCHASE 09-26 TRENDSI CITY OF INDUS, CA            MCI 8410                             $33 .72
09/27/2023             POS PYMT 09-26 SP AFF BLOOMWHOLESA SAN FRANCISCO, CA                                $34.76
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                                                            it _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
09/27/2023             PURCHASE 09-26 TRENDSI CITY OF INDUS, CA                    MCI 8410                $61.33
09/27/2023                          PURCHASE 09-26 TRENDSI CITY OF INDUS, CA            MCI 8410                             $66 .81
09/27/2023                          PURCHASE 09-26 TRENDSI CITY OF INDUS, CA            MCI 8410                             $70.99
09/27/2023                          POS PYMT 09-27 SP AFF Dressed by Je SAN FRANCISCO, CA                                   $105 .73
                                    PUL 8410 Recurring Debit
09/28/2023                          PURCHASE 09-27 TAPMANGO BUFFALO GROVE, IL               MCI 8410                         $15.00
                                    Recurring Debit
09/28/2023                          PURCHASE 09-27 TRENDS I CITY OF INDUS, CA           MCI 8410                             $28.21
09/28/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                            $100.00
09/28/2023                          TO XXXXXXXX7402 Internet Banking Transaction                                            $150 .00
09/28/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                            $220 .00
 09/29/2023                  Case23-20604
                            Case  XX-XXXXXXX-28
                                 PURCHASE
                                 MCI 8410
                                              Doc#
                                             Doc#    56-1Filed
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                                                DOLLAR-GENERAL     11/10/23
                                                                12/19/23
                                                               #2502         Page
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                                                                                 KS 114 of 158
                                                                                           19                                $16 .18
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                  COMMERCE BANK
             Downtown Marysville        On the Square, Blue Rapids
                785-562 -5558                 785- 363-772 1


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ADALEE BARGDILL                                                                                              Account Number:

WITHDRAWALS (continued)

Date                                   Description                                                                                Amount
09/29/2023                             PURCHASE 09-28 TRENDSI CITY OF INDUS, CA           MCI 8410                                 $32 .66
09/29/2023                             PURCHASE 09-28 TRENDSI CITY OF INDUS, CA           MCI 8410                                 $52.79
                                                                          -----------------------
09/29/2023                             PURCHASE 09-27 ELEMENTS SALON AND SPA WASHINGTON, KS                                       $111 .00
                                       MCI 8410
09/29/2023                             PURCHASE 09-28 FASHIONGO* LOVEANDREPE LOS ANGELES, CA                                      $168 .89
                                       MCI 8410
09/29/2023                             MAINTENANCE FEE                                                                              $3 .00

Number of Withdrawals 140                                                                                     Total Withdrawals $23,446.29



DAILY BALANCE SUMMARY

Date                      Amount                             Date            Amount               Date                          Amount
09/01/2023               $1 ,152.86                          09/13/2023     $1 ,217 .08           09/22/2023                    $912 .75
09/05/2023               $1 ,041 .03                         09/14/2023       $503.22             09/25/2023                    $455.05
09/06/2023               $3,406.83                           09/15/2023       $282 .38            09/26/2023                    $403 .51
09/07/2023               $3,198.38                           09/18/2023       $105 .73            09/27/2023                    $662 .13
09/08/2023               $2,283 .27                          09/19/2023     $1,446.97             09/28/2023                    $500 .58
09/11/2023                 $161.42                           09/20/2023     $1,062.48             09/29/2023                    $538.79
09/12/2023               $1 ,062 .66                         09/21/2023     $1,044.52


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   09/05/2023              $460 .85                                        09/08/2023         $374.33



                                                                                                :.. J,.../




   09/13/2023              $352 .10                                        09/19/2023         $342 .32




   09/27/2023              Case
                          Case
                          $383      23-20604 Doc#
                               .28 23-20604   Doc#60
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                                                                    Account Reconciliation Form
 A. The ending balance shown on                                                          H. The ending balance in your check
    statement                                         $ _ _ _ _ _ _ _ __                     register                                        $ _ _ _ _ _ _ _ __
 B. List deposits not shown on                        $ _ _ _ _ _ _ _ __                 I. List deposits, transfers or interest             $ _ _ _ _ _ _ _ __
    statement                                         $ _ _ _ _ _ _ _ __                     cred ited not already listed in your            $ _ _ _ _ _ _ _ __
                                                      $ _ _ _ _ _ _ __                       check reg ister                                 $ _ _ _ _ _ _ _ __
                                                      $ _ _ _ _ _ _ _ __                                                                     $ _ _ _ _ _ _ __
                                                      $ _ _ _ _ _ _ __                                                                       $ _ _ _ _ _ _ __
 C. Total of lines B                                  $ _ _ _ _ _ _ __                   J. Total of lines I                                 $ - - - - - ,.- -~ " ~••~
                                                                                                                                                                     · '-
 D. Add line C to li ne A                             $ _ _ _ _ _ _ __                   K. Add line J to line H                             $ _ _ _ _ _ _ __
 E. List below all checks written and any                                                L. List below all checks and charges not
    withdrawa ls not posted on statement                                                     already reflected in your check reg ister
    Check#               $ Amount                Check#            $ Amount              Check #               $ Amount                Check #            $ Amount
                     $ _ _ _ _ __                               $ _ _ _ _ __                               $ _ _ _ _ __                               $ _ _ _ _ __
                     $ _ _ _ _ __                               $ _ _ _ __ _                               $ _ _ _ _ __                               $ _ _ _ __
                     $ _ _ _ _ __                               $ _ _ _ _ __                               $ _ _ _ __                                 $ _ _ _ _ __
                     $ _ _ _ __                                 $ _ _ _ __                                 $ _ _ _ __                                 $ _ _ _ _ __
                     $ _ _ _ __                                 $ _ _ _ __                                 $ _ _ __ _ _                               $ _ _ _ _ __

    F. Tota l of Column E                             $ _ _ _ _ _ _ _ __                 M. Tota l of Column L                               $ _ _ _ _ _ _ __
    G. Subtract line F from line D                    $ _ _ _ _ _ _ __                   N. Subtract line M from line K                      $ _ _ _ _ _ _ __

                                   The balances (Line "G" and Line "N" above) shou ld agree. If not, recheck your entries from th is
                                      statement and your check register. All deposits and cred its are subject to fina l collection.
                              The following pertains to accounts established for personal, family or household purposes only.
For information regarding business and custod ial accounts please refer to your account disclosure. Contact us if you have a specific question pertaining to
                                                                      your account.
In Case of Errors or Questions About Your Electronic Transfers                           you may have to pay the amount in question . While we investigate whether or
                                                                                         not there has been an error, the following are true:
Direct inquiries to us at our address or telephone number printed on the front
page of this statement if you think your statement or receipt is wrong or if you               We cannot try to collect the amount in question, or report you as
need more information about a transfer on the statement or receipt. We must                    delinquent on that amount.
hear from you no later than 60 days after we sent you the FIRST statement on                   The charge in question may remain on your statement, and we may
which the error or problem appeared.                                                           continue to charge you interest on that amount. But, if we determine that
                                                                                               we made a mistake, you will not have to pay the amount in question or any
1.     Tell us your name and account number (if any).
                                                                                               interest or other fees related to that amount.
2.     Describe the error or the transfer you are unsure about, and explain as
       clearly as you can why you believe there is an error or why you need more               While you do not have to pay the amount in question, you are responsib le
                                                                                               for the remainder of your balance.
       information.
3.     Tell us the dollar amount of the suspected error.                                       We can apply any unpaid amount against your credit limit.

If you tell us ora lly, we may requ ire that you send us your complaint or question      PAYMENT INFORMATION - Please mail or deliver your payment to the
in writing within 10 business days.                                                      financia l institution at the address indicated on the reverse side hereof.
                                                                                         Payments received on weekends and holidays wi ll be credited the next
We will determine whether an error occurred within 10 business days after we             business day. Payments received after your closi ng date will appear on your
hear from you and wi ll correct any error promptly. If we need more time,                next statement. If the financial institution has been authorized to deduct the
however, we may take up to 45 days to investigate your complaint or question.            minimum payment from your Account, it wi ll be deducted and credited to your
If we decide to do this, we wi ll cred it your account within 10 business days for       Account as of the date shown on the reverse side hereof. To avoid additional
the amount you think is in error, so that you wi ll have the use of the money            INTEREST CHAR<;,ES, pay your balance in fu ll. Please call the financia l
during the time it takes us to complete our investigation. If we ask you to put          institution fort~ exa'ct'ba lance as the balance changes daily.
your complaint or q.,1;J&i',i9n in writing and we do not receive it within 10 business
days, we may not creil'it your account.                                                  INTEREST CHARGE -The INTEREST CHARGE on your account is ca lculated
                                                                                         by applying the different PERIOD IC RATES to the appropriate range of the
For errors involving new accounts, point-of-sale, or foreign-initiated                   outstanding daily balance of your account. The outstanding daily balance is
transactions, we may take up to 90 days to investigate your complaint or                 ca lcu lated by using the beginning balance of your account each day, adding any
question. For new accounts, we may take up to 20 business days to credit your            new advances or debits, and subtracting any payments or credits. The
account for the amount you think is in error.                                            INTEREST CHARGE may be determined as fo llows:
We will tell you the results with in 3 business days after completing our                1.    Using the rate ranges , separate the outstanding daily balance into
investigation . If we decide that there was no error, we wi ll send you a written              appropriate range amounts.
explanation . You may ask for copies of the documents that we used in our                2.    Multiply each outstanding daily balance by the applicable periodic rate .
investigation.                                                                           3.    Multip ly ea~ese resu lts by the number of days the applicable rate
The information b~low i;; applicable to those Accounts which may be                            was in effect. •
subject to an lnterest~tfiarge.                                   _ __                   4.    Add the resu lts of step #3 together.

What To Do If You Think You Find A Mistake On Your Statement                             USE OF THE AVERAGE DAILY BALANCE• If the daily balances are not
                                                                                         shown on your statement, the average daily balance may be used. The
If you think there is an error on your statement, write to us (on a separate sheet)      average dai ly balance is or can be multiplied by the number of days in the
at our address shown on the front page of this statement as soon as possible. In         bi lli ng cycle and the periodic rate applied to the product to determine the
your letter, give us the following information :                                         amount of the interest charge. To calcu late the average daily balance, all of
                                                                                         the daily balances for the billing cycle are added up, and the total is divided by
•       Account information: Your name and account number.                               the number of days in the bi lling cycle. The INTEREST CHARGE is or may be
•       Dollar amount: The dollar amount of the suspected error.                         determined as follows:
•       Description of Problem: If you think there is an error on your bill , describe
        what you believe is wrong and why you believe it is a mistake.                    1.   Multiplying each of the average balances by the number of days in the
                                                                                               billing cycle (or if the daily rate varied during the cycle, by multiplying by
You must contact us,within 60 days after the error appeared on your statement.                 the number of days the applicable rate was in effect).
You must notify us of any potential errors in writing [or electronically]. You may       2.    Multiplying each of the results by the applicable periodic rate , and adding
call us, but if you do we are not req uired to investigate any potential errors, and           these products together.


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                                  Case  23-20604 Doc#
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                 FIRST                                                                   (785) 363-7721      FOi(
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       COMMERCE BANK                                                                     Branch:
                                                                                         FIRST COMMERCE BANK
                                                                                         21 PUBLIC SQUARE, BOX 157
Downtown Marysville                 On the Square, Blue Rapids                           BLUE RAPIDS, KS 66411
       785 - 562-5558                       785-3 63-7721
                                                                                         Visit our website at:
                                                                                         www.bankfirstcommerce .com




           CHAD BARGDILL
           331 E COMMERCIAL ST
           WATERVILLE KS 66548-8926


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Statement Date: September 29, 2023                                                            Account Number:


Blue Checking
ACCOUNT ACTIVITY SUMMARY

Statement period number of days                            29
Average balance                                       $630.21
Total service charge this period                        $3.00




                                                                                Debits
Previous balance            08/31/2023                $509.41               $13,090.43

Deposits                           24              $13,526.87
Withdrawals                        98              $13,090.43
Ending balance              09/29/2023                $945.85



                                                                 Total for this period                     Total year to date
Total overdraft fees                                                           $90.00                                    $330.00
Total returned item fees                                                        $0.00                                      $0.00



DEPOSITS

Date                               Description                                                                           Amount
09/01/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                    $2,500 .00
09/06/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                    $1 ,000 .00
09/06/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                  $39.05
                                   CRED
09/06/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                  $35 .64
                                   CRED
09/08/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                    $1,000 .00
09/11/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                    $1,000.00
09/12/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                    $1,000.00
         ---
09/12/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                         $300 .00
09/14/2023                       FROM XXXXXXXX0370 Internet Banking Transaction                     $300 .00
                                                                     - - - - ---- --- - - - - - - - - - -
09/14/2023       _         Case 23-20604
                       _ _ Case 23-20604     Doc#Internet
                                            Doc#
                                 FROM XXXXXXXX0370  56-1 Filed
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                                                                    Transaction   Page 10ofof158
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09/14/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                         $500 .00
                         FIRST
                   COMMERCE BANK
              Downtown Marysville    On the Square, Blue Rapids
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CHAD BARGDILL                                                                                          Account Number:

DEPOSITS (continued)

Date                                Description                                                                            Amount
09/15/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                         $500.00
09/18/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                         $400 .00
09/18/2023                          FROM XXXXXXXX7402 Internet Banking Transaction                                         $140.00
09/18/2023                          FROM XXXXXXXX7480 Internet Banking Transaction                                         $100.00
09/19/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                       $1 ,000 .00
09/19/2023                          HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CRED IT MISC                                 $22.18
                                    CRED
09/20/2023                          FROM XXXXXXXX0370 Internet Banking Transaction
09/21/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                          $70 .00
09/21/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                         $100 .00
09/25/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                         $300 .00
09/25/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                         $100.00
09/25/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                       $1 ,000 .00
09/26/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                       $1 ,500 .00

Number of Deposits 24                                                                                     Total Deposits $13,526.87



WITHDRAWALS

Date                                Description                                                                            Amount
09/01/2023                          PURCHASE 08-31 AMZN Mktp US*TL9FR6Ll2 Amzn .com/bi ll , WA                                $5.10
                                    MCI 7814
09/01/2023                          PURCHASE 08-31 Amazon .com*TL93U0C70 Amzn.com/bi ll , WA                                $13.24
                                    MCI 7814
09/01/2023                          PURCHASE 08-31 COMMENTSOLD COMMISS ION HUNTSVILLE, AL                                   $28 .02
                                    MCI 7814 Recurring Debit
09/01 /2023                         OVERDRAFT CHECK FEE                                                                     $30.00
09/01/2023                          OVERDRAFT CHECK FEE                                                                     $30 .00
09/01/2023                          PAYPAL      IN SIDE MY SISTERS CLO ACH DEBIT INST XFER                                  $65 .00
                                    CASEYS 1150
09/05/2023                          PURCHASE 09-03 SONIC #2566 MANHATTAN, KS                MCI 7814                          $6 .52
09/05/2023                          PURCHASE 09-03 ROUTE 77 CORNER STORE WATERVILLE, KS                                     $10 .29
                                    MCI 7814
09/05/2023                          POS PYMT 09-04 SP AFF         LITTLEBUFFAL SAN FRANCISCO, CA                            $17 .25
                                    PUL 7814 Recurring Debit
09/05/2023                          PURCHASE 09-03 RAISING CANES 0344 MANHATTAN , KS               MCI                      $21 .87
                                    7814
09/05/2023                          PURCHASE 09-03 SHARP'S SHORT STOP RANDOLPH, KS                                          $37.13
                                    MCI 7814
09/05/2023                          PURCHASE 09-01 Amazon .com*TL9DQ3J02 Amzn.com/bill, WA                                  $81 .36
                                    MC I 7814
09/05/2023                          PURCHASE 09-04 SHOP IFY* 194175144 ELK GROVE VIL, IL           MCI                     $168 .93
                                    7814 Recurring Debit
09/05/2023                          PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER TACO                              $1 .23
                                    BELL 259
09/05/2023                          PAYPAL        IN SIDE MY SISTERS CLO ACH DEBIT INST XFER IPSY                           $16 .27
09/05/2023                          PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER IPSY                            $32 .54
09/05/2023                          PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER ROUTE                           $35 .02
                            Case 23-20604
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                                            Doc# 56-1 Filed
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                  COMMERCE BANK
             Downtown Marysville    On the Square, Blue Rapids
                 785-562-5558             785-363-772 l


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 CHAD BARGDILL                                                                                         Account Number:

WITHDRAWALS (continued)
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Date                               Description                                                                           Amount
09/05/2023                         PAYPAL     IN SID E MY SISTERS CLO ACH DEBIT INST XFER                                 $97.90
                                   MELALEUCA BACKU
09/07/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT IN ST XFER                                   $7.58
                                   AMAZON .COM*TL90
09/07/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT IN ST XFER                                  $10 .82
                                   AMAZON.COM *TL 1S
09/07/2023                         PAYPAL    IN SIDE MY SISTERS CLO ACH DEBIT IN ST XFER                                  $45 .05
                                   AMAZON.COM*TL25
09/07/2023                         SHE PROFITS NOW MSC BOUTIQU E ACH DEBIT SALE                                          $450 .00
09/08/2023                         PURCHASE 09-07 AMZN Mktp US*TL98J46X1 Amzn .com/bill , WA                              $24.90
                                   MCI 7814
09/08/2023                         PAYPAL        INS IDE MY SISTERS CLO ACH DEBIT IN ST XFER TACO                          $6.43
                                   BELL 259
09/08/2023                         PAYPAL        IN SIDE MY SISTERS CLO ACH DEBIT IN ST XFER ROUTE                        $35 .02
                                   77 CORNER
09/11/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT IN ST XFER ROUTE                         $64 .51
                                   77 CORNER
09/12/2023                         PURCHASE 09-11 Amazon .com*TR5CV6Z21 Amzn .com/bill , WA                                $8 .53
                                   MCI 7814
09/12/2023                         PURCHASE 09-11 AMZN Mktp US*TR7M82ZB1 Amzn.com/bill, WA                                 $9 .21
                                   MCI 7814
09/12/2023                         PURCHASE 09-11 AMZN Mktp US*TR3CB4Z21 Amzn.com/bill , WA                               $13.00
                                   MCI 7814
09/12/2023                         PURCHASE 09-11 AMZN Mktp US*TR4M486F2 Amzn.com/bill , WA                               $86.76
                                   MCI 7814
09/12/2023                         PAYPAL        INSIDE MY SISTERS CLO ACH DEBIT INST XFER EBAY                           $45.52
                                   800-456-32
09/12/2023                         PAYPAL        IN SID E MY SISTERS CLO ACH DEBIT INST XFER ROUTE                        $54 .56
                                   77 CORNER
09/12/2023                         BLUE VALLEY TELE Rachael bargdill ACH DEBIT Phone Bill 00015422-1                      $74.35
09/12/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT IN ST XFER                                 $388 .61
                                   VZWRLSS*APOCC V
09/13/2023                         PAYPAL     INSIDE MY SISTERS CLO ACH DEBIT INST XFER                                   $62 .04
                                   AMAZON .COM*TR8F
09/14/2023                         PURCHASE 09-14 APPLE.COM/BILL 866-712-7753, CA             MCI 7814                     $8 .99
                                   Recurring Debit
09/14/2023                         FB P-C INS     BARGDILLBRANDON ACH DEBIT Payment                                      $457.12
09/15/2023                         PURCHASE 09-14 COMMENTSOLD SUB HUNTSVILLE, AL                   MCI                   $149 .00
                                   7814 Recurring Debit
09/15/2023                         AUTO TRANSFER TO LOAN 25508                                                           $470 .51
09/18/2023                         TO XXXXXXXX7480 Internet Banking Transaction                                           $50.00
09/18/2023                         PURCHASE 09-15 TRENDS! CITY OF INDUS, CA             MCI 7814                          $55.32
09/18/2023                         TO XXXXXXXX0370 Internet Banking Transaction                                           $63.00
09/18/2023                         PURCHASE 09-15 MARKET 2 BOUTIQUE STEPHENVILLE , TX                                     $84.00
                                   MCI 7814 Recurring Debit
09/19/2023                         OVERDRAFT CHECK FEE                                                                    $30.00
09/21/2023                         DISCOVER        BARGDILL RACHAEL ACH DEBIT PAYMENTS 3538                               $46.00
09/22/2023                         PURCHASE 09-21 SP MIA BELLA INTERIORS WATERVILLE , KS                                   $6 .50
                                   MCI 7814
09/25/2023                         PURCHASE 09-21 GOOGLE *Goog le Storage Mountain View, CA                                $1 .99
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                                PUL 7814 Doc# 60
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                        FIRST
                  COMMERCE BANK
             Downtown Marysville          On the Square, Blue Rapids
                 785-562-5558                     785 - 363 - 772 l


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 CHAD BARGDILL                                                                                                    Account Number:'       IT
WITHDRAWALS (continued)

Date                                     Description                                                                                     Amount

09/25/2023                               POS PYMT 09-24 APPLE COM BILL CUPERTINO, CA                     PUL                                $9 .75
                                         7814
09/25/2023                               PURCHASE 09-21 RIVERSIDE MARKET BLUE RAPIDS , KS                      MCI                         $11.02
                                         7814
09/25/2023                               PURCHASE 09-22 DOLLAR GENERAL #15452 BLUE RAPIDS, KS                                              $19 .10
                                         MCI 7814
09/25/2023                               PURCHASE 09-22 TST* CHEF CAFE II Manhattan , KS                 MCI 7814                          $70 .94
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             23_ _ _ _ _ _ _ _ _FB P-C INS                  FBM ACH DEBIT Payment      FBMCOM034672365                                    $173.44
09/25/2023                               EVERGY KS CTRL Bargdill,Rachael ACH DEBIT AUTOPAY                                                $242.48
                                         481639036450
09/28/2023                               PURCHASE 09-27 APPLE.COM/BILL 866-712-7753, CA                  MCI 7814                            $9 .99
                                         Recurring Debit
                                                                                                                     ----------
09/29/2023                               MAINTENANCE FEE                                                                     $3.00

Number of Withdrawals 55                                                                                             Total Withdrawals $4,046.71



CHECKS

 Number              Date                Amount          Number               Date         Amount     Number               Date           Amount
2033             09/25/23             $212 .93           2647 *            09/25/23         $24 .50   2665             09/14/23            $497.38
2611 *           09/25/23               $60 .33          2648              09/01/23        $520 .18   2666             09/11 /23           $527.52
2612             09/12/23              $439.90           2650 *            09/19/23         $16 .01   2668 *           09/20/23             $50 .62
2613             09/11/23            $1,394.50           2651              09/11/23         $59.87    2669             09/14/23             $80 .24
2614             09/05/23              $818.66           2652              09/06/23        $471.41    2672 *           09/27/23             $15.39
2615             09/12/23               $30.00           2653              09/15/23         $32 .32   2673             09/25/23             $65 .87
2616             09/12/23               $32.74           2654              09/06/23         $80.13    2674             09/20/23            $502 .31
2617             09/01/23              $680.00           2655              09/25/23         $15.40    2675             09/19/23            $525 .10
2618             09/20/23               $54 .40          2656              09/18/23        $213.90    2677 *           09/20/23             $39.70
2619             09/13/23               $39.00           2657              09/12/23         $77.73    2678             09/21/23             $79.56
2620             09/22/23                $7.00           2659 *            09/20/23         $56.95    2682 *           09/29/23             $42 .00
2623 *           09/19/23               $13 .30          2662 *            09/27/23         $15.63    2685 *           09/25/23            $494.86
2628 *           09/19/23               $25 .98          2663              09/18/23         $56.18    2687 *           09/28/23             $80.48
2637 *           09/19/23               $53.44           2664              09/19/23         $17.48    2689 *           09/27/23            $476 .10
2644 *           09/20/23               $46 .72

* Indicates Break In Sequence
Number of Checks 43                                                                                            Total Amount of Checks $9,043.72



 DAILY BALANCE SUMMARY

 Date                        Amount                          Date                     Amount               Date                        Amount
09/01/2023                  $1,637.87                        09/13/2023               $127 .90             09/22/2023                     $91 .05
09/05/2023                    $292 .90                       09/14/2023               $184 .17             09/25/2023                     $88.44
09/06/2023                    $816 .05                       09/15/2023                $32 .34             09/26/2023                 $1,588.44
09/07/2023                    $302 .60                       09/18/2023               $149 .94             09/27/2023                 $1 ,081.32
09/08/2023                  $1 ,236.25                       09/19/2023               $490 .81             09/28/2023                   $990.85
09/11/2023                    $189 .85                       09/20/2023                $60 .11             09/29/2023                   $945.85
09/12/2023                    $228.94                        09/21 /2023              $104.55



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                        COMMERCE BANK
             Downtown Marysville                On the Square, Blue Rapids
                    785-562 -5558                       785-363 -7721


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CHAD BARGDILL                                                                                                                         Account Number:                       OS?

IMAGES


   MSC - OPERATIONS                                           2033

                                            1r t;. c13,__
   RACHAEL OR BRANDON BARGDILL                                                 IIY SISTER'S CLOSET
   331 E COMMERCIAL ST                                                          ltACHAE.L BARGOlll
   WATERVILLE, KS 88548                                                        :11tw.1t~~
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  Check #2033                     09/25/2023                 $212.93         Check #2611                               09/25/2023                           $60 .33


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  Check #2612                     09/12/2023                 $439.90         Check #2613                                09/11/2023                    $1,394.50


                                                                               MY SISTER'S CLOSET
                                                                               RACHAEL BARGOILL
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  Check #2614                     09/05/2023                 $818.66         Check #2615                                09/12/2023                           $30 .00


    MY SISTER'S CLOSET
    RACHAEL BARGDILL                        /            ?   2616
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  Check #2616                     09/12/2023                  $32.74         Check #2617                                08/31/2023                        $680.00


                                                                               MY SISTER'S CLOSET
                                                                               RACHAEL BARGOILL                                                            2619
                                                                               ~i1~~~i~~~                                      ~20               ;5     ll-1497/1011




  Check #2618                     09/20/2023                  $54.40         Check #2619                                09/13/2023                           $39.00




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                                     FIRST
                         COMMERCE BANK
                 Downtown Marysville                 On the Square, Blue Rapids
                        785-562-5558                            785-363-772 1


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CHAD BARGDILL                                                                                                              Account Number:   Q
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IMAGES (continued)




   Check #2620                          09/22/2023                    $7.00       Check #2623                      09/19/2023      $13.30

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          MY SISTER'S CLOSET
          RACHAEL BARG0!LL                                         2628
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      Check #2628                       09/1 9/2023                  $25.98        Check #2637                                     $53.44




      Check #2644


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                                        09/20/2023



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                                                                     $46.72        Check #2647


                                                                                       MY SISTER'S CLOSETi
                                                                                     • RACHAEL BARG0ILL.
                                                                                                                   09/25/2023      $24.50




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      Check #2648                       08/3 1/2023                $520.18        Check #2650                      09/19/2023      $16.01




      Check #2651                                                    $59.87       Check #2652                      09/06/2023     $471.41




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                 Downtown Marysville                                   On the Square, Blue Rapids
                    785-562-5558                                             785-363-772 1

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CHAD BARGDILL                                                                                                                                     Account Number:


IMAGES (continued)




   Check #2653                                      09/15/2023                        $32 .32       Check #2654                       ... 09/06/2023      $80.13




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   Check #2655                                      09/25/2023                         $15.40       Check #2656                         09/18/2023       $213.90


      MY SISTER'S CLOSET
      RACHAEL BARGDIL.L
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   Check #2657                                      09/12/2023                         $77.73       Check #2659                         09/20/2023        $56.95

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       MY SISTER'S CLOSET
       RACHAEL BARGDILL                                                             2662
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   Check #2662                                      09/26/2023                        $15.63        Check #2663                         09/18/2023        $56.18



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   Check #2664                                      09/19/2023                         $17.48       Check #2665                         09/14/2023       $497.38




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               Downtown Marysville                    On the Square, Blue Rapids
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CHAD BARGDILL                                                                                                                                    Account Number:

IMAGES (continued)


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       RACHAEL BARGOtLL
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   Check #2666                        09/11/2023                       $527 .52     Check #2668                                09/20/2023                             $50.62
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                                                                                        MY SISTER"S CLOSET
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                                                                                        RACHAEL BARGOILL
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   Check #2669                         09/14/2023                         $80 .24   Check #2672                                09/26/2023                             $15.39


                                                                                         MY SISTER'S CLOSET                                                          2674
                                                                                         RACHAEL BARGDIU
                                                  _ /...                 2673
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   Check #2673                         09/25/2023                         $65.87    Check #2674                                09/20/2023                          $502 .31
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                                                                                        RACHAEL BARGOILL
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   Check #2675                        09/18/2023                       $525.10      Check #2677                                09/20/2023                             $39.70



                                                                                                                                             /                       2662
                                                                                                                                        ____!__!:!____20B._ ft. 1-40111(11




   Check #2678                      ~ 09/2~/2023                          $79.56    Check #2682                                09/29/2023                             $42.00




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                               COMMERCE BANK
                 Downtown Marysville         On the Square, Blue Rapids
                    785 -562-5558                  785 -363 -7721


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CHAD BARGDILL                                                                                                   Account Numbe1g     a
IMAGES (continued)                                                                                                                        , ..,._
     MY SISTER'S CLOSET                                                    MY SISTER'S CLOSET
     RACHAEL BARGO ILL                                                     RACHAEL BARGOILL
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     WA~VILLI! , l<.8665'1                                                 ~li~Ji:Wi~~




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   Check #2685                    09/25/2023          $494.86             Check #2687                                  $80.48

    J,N SISTER'S CLOSET
    RACHAEL BARGOILL                                        2689
    ~lit~~~~~                          _ _ _ _ 21} _ _   83- 149111011




   Check #2689                    09/27/2023          $476 .10




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                                                                    Account Reconciliation Form
    A. The ending balance shown on                                                     H. The ending balance in your check
       statement                                     $ _ _ _ _ _ _ __                      register                                           $ _ _ _ _ _ _ __
    B. List deposits not shown on                    $ _ _ _ _ _ _ __                  I. List deposits, transfers or interest                $ _ _ _ _ _ _ __
       statement                                     $ _ _ _ _ _ _ __                      cred ited not already li sted in your              $ _ _ _ _ _ _ __
                                                     $ _ _ _ _ _ _ __                      check reg ister                                    $ _ _ _ _ _ _ __
                                                     $ _ _ _ _ _ _ __                                                                         $ _ _ _ _ _ _ __
                                                     $ _ __ _ _ __ _                                                                          $ _ _ _ _ _ _ __
    C. Total of lines B                              $ _ _ _ _ _ _ __                      J. Total of lines I                                $ _ _ _ _ _ _ __
    D. Add line C to line A                          $ _ _ _ _ _ __                        K. Add line J to line H                            $ _ _ _ _ _ _ __
    E. List below all checks written and any                                               L. List below all checks and charges not
       withdrawals not posted on statement                                                     already reflected in your check register
    Check#               $ Amount               Check#             $ Amount                Check #             $ Amount                 Check #             $1,\IT,)P,Unt
                     $ _ __ __                                 $ _ _ _ __                                   $ _ _ _ __                                 $"' :       .,
                     $ _ _ _ _ __                              $ _ _ _ _ __                                 $ _ _ _ _ __                               $ _ _ _ _ __
                     $ _ _ _ _ __                              $ _ _ _ __                                   $ _ _ _ __                                 $ _ _ _ __
                     $ _ _ _ __                                $ _ _ _ __                                   $ _ _ _ __                                 $ _ _ _ _ __
                     $ _ _ _ __                                $ _ _ _ _ __                                 $ _ _ __ __                                $ _ _ _ _ __

    F. Total of Column E                             $ _ _ _ _ _ _ __                      M. Tota l of Column L                              $ _ _ _ _ _ _ __
    G. Subtract line F from line D                   $ _ _ _ _ _ __                        N. Subtract line M from line K                     $ _ _ _ _ _ _ __

                                  The balances (Line "G" and Line "N" above) shou ld agree. If not, recheck your entries from this
                                     statement and your check register. All deposits and cred its are subject to fi nal collection.
                             The following pertains to accounts established for personal, family or household purposes only.
For information regarding business and custodial accounts please refer to your account disclosure . Contact us if you have a specific question pertaining to
                        ·t    ·-1-                                   Your account.                   ,:4, '

In Case of Errors or Questions About Your Electronic Transfers                         you may have to pay the amount in question . While we investigate whether or
                                                                                       not there has been an error, the following are true:
Direct inquiries to us at our address or telephone number printed on the front
page of this statement if you th ink your statement or receipt is wrong or if you      •       We cannot try to collect the amount in question, or report you as
need more information about a transfer on the statement or receipt. We must                    delinquent on that amount.
hear from you no later than 60 days after we sent you the FIRST statement on           •       The charge in question may remain on your statement, and we may
which the error or problem appeared .                                                          continue to charge you interest on that amount. But, if we determine that
                                                                                               we made a mistake, you wi ll not have to pay the amount in question or any
1.     Tell us your name and account number (if any).
                                                                                               interest or other fees related to that amount.
2.     Describe the error or the transfer you are unsure about, and explain as
       clearly as you can why you believe there is an error or why you need more       •       While you do not have to pay the amount in question, you are responsib le
       information.                   •                                                        for the remainder of your balance .
3.     Tell us the dollar amouit of the suspected error.                               •       We can apply any unpaid amount against your credit limit.

If you tell us orally, we may require that you send us your complaint or question      PAYMENT INFORMATION - Please mail or deliver your payment to the
in writing with in 10 business days.                                                   financial institution at the address indicated on the reverse side hereof.
                                                                                       Payments received on weekends and holidays will be credited the next
We wi ll determine whether an error occurred within 10 business days after we          business day. Payments received after your closing date will appear on your
hear from you and wi ll correct any error promptly. If we need more time,              next statement. If the financial institution has been authorized to deduct the
however, we may take up to 45 days to investigate you r complaint or question.         minimum payment from your Account, it will be deducted and credited to your
lfwe decide to do this, we will credit your account within 10 business days for        Account as of the date shown on the reverse side hereof. To avoid additional
the amount you think is in error, so that you will have the use of the money           INTEREST CHARGES, pay your balance in full. Please call the financial
during the time it takes us to complete our investigation. If we ask you to put        institution for the exact balance as the balance changes daily.
your complaint or question in writing and we do not receive it within 10 business
days, we may not credit your account.                                                  INTEREST CHARGE - The INTEREST CHARGE on your account is ca lculated
                                                                                       by applying the different PERIODIC RATES to the appropriate rang e of the
For errors involving new accounts, point-of-sale, or foreign-in itiated                outstanding daily balance of your account. The outstanding daily balance is
transactions, we may take up to 90 days to investigate your complaint or               calculated by using the beginning balance of your account each day, adding any
question. For new accounts, we may take up to 20 business days to credit your          new advances or debits, and subtracting any payments or credits. The
account for the amount you think is in error.                                          INTEREST CHARGE may be determined as fo llows:
We wi ll tell you the resu lts within 3 business days after completing our             1.      Using the rate ranges , separate the outstanding daily balance into
investigation. If we decide that there was no error, we wi ll send you a written               appropriate range amounts.
explanation. You may ask for copies of the documents that we used in our               2.      Multiply each outstanding daily balance by the applicable periodic rate.
investigation .
                                                                                       3.      Multiply each of these results by the number of days the applicable rate
The information below is applicable to those Accounts which may be                             was in effect.
subject to an Interest Charge.                                                         4.      Add the results of step #3 together.
What To Do If You Think You Find A Mistake On Your Statement                           USE OF THE AVERAGE DAILY BALANCE - If the daily balances are not
                                                                                       shown on your statement, the average daily balance may be used. The
If you think there is an error on your statement, write to us (on a separate sheet)    average daily balance is or can be multiplied by the number of days in the
at our address shown on the front page of this statement as soon as possible. In       billing cycle and the periodic rate applied to the product to determine the
your letter, give us the following information :                                       amount of the interest charge. To calcu late the average daily balance, all of
                                                                                       the daily balances for the billing cycle are added up, and the total is divided by
•      Account information: Your name and account number.
                                                                                       the number of days in the billing cycle. The INTEREST CHARGE is or may be
•      Dollar amount: The dollar amount of the suspected error.                        determined as fo llows:
•      Description of Problem: If you think there is an error on your bill, describe
       what you believe is wrong and why you believe it is a mistake.                  1.      Multiplying each of the average balances by the number of days in the
                                                                                               billing cycle (or if the daily rate varied during the cycle, by multiplying by
You must contact us within 60 days after the error appeared on your statement.                 the number of days the applicable rate was in effect).
You must notify us of any potential errors in writing [or electronically). You may     2.      Multiplying each of the results by the applicable periodic rate, and adding
call us, but if you do we are not required to investigate any potential errors, and            these products together.


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Fill in this information to identify the case:

Debtor Name My Sister's Closet LLC


United States Bankruptcy Court for the: District of Kansas

Case number: 23-20604
                                                                                                                       0 Check if this is an
             ---------                                                                                                    amended fi ling




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                                     12/17

Month:                 October 2023                                                               Date report filed:    12/11/2023
                                                                                                                        MM/ DD/YYYY

Line of business : Clothing Sales - Retail                                                        NAISC code:           4581

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                            Rachael Bargdill
                                                       .-,a.....,
Original signature of responsible party             RKhM?i 8Mgdi!I (OK 18, 2023 ll:51 CST)



Printed name of responsible party             Rachael Bargdill


              1. Questionnaire
     Answer all questions on behalf of the debtor for the period covered by th is report, unless otherwise indicated.
                                                                                                                               Yes        No        NIA
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

     1.   Did the business operate during the entire reporting period?                                                         li:I       □         □
     2.   Do you plan to continue to operate the business next month?                                                          lH         □         □

     3.   Have you paid all of your bills on time?                                                                             ~          □         □

     4.   Did you pay your employees on time?                                                                                  ~          □         □

     5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                      li:I       □         □

     6.   Have you timely filed your tax returns and paid all of your taxes?                                                   li:I       □         □

     7.   Have you timely filed all other required government filings?                                                         li:I       □         □

     8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                      □          □         [if'

     9.   Have you timely paid all of your insurance premiums?                                                                 lH         □         □

          If ;i:ou answer Yes to an;i: of the 9uestions in lines 10-18, attach an exelanation and label it Exhibit B.

     10. Do you have any bank accounts open other than the DIP accounts?                                                       □          [B        □

     11 . Have you sold any assets other than inventory?                                                                       □          [if'      □

     12. Have you sold or transferred any assets or provided services to anyone re lated to the DIP in any way?                □          (ti'       □

     13. Did any insurance company cancel your policy?                                                                         □          [B         □

     14. Did you have any unusual or significant unanticipated expenses?                                                       □          [B         □

     15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                   □          [B'        □

     16. Has anyone made an investment in your business?                                                                       □          [B         □

 Official Form 425C                            Monthly Operating Report for Small Business Under Chapter 11                           page 1
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Debtor Name   My Sister's Closet LLC                                                    Case nu mber 23-20604




    17. Have you paid any bills you owed before you filed bankruptcy?                                                     □                 □

    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                       □                 □



              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                            $      1,484.64
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month . If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash received from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.
                                                                                                        $    35,546.81

    21 . Total cash disbursements
         Attach a listing of all payments you made in the month and label it Exhibit D. List the
         date paid , payee, purpose, and amount. Include all cash payments , debit card
         transactions, checks issued even if they have not cleared the bank, outstanding
         checks issued before the bankruptcy was filed that were allowed to clear this month ,
         and payments made by other parties on your behalf. Do not attach bank statements
         in lieu of Exhibit D.                                                                         - $   34,255.04
         Report the total from Exhibit D here.

    22 . Net cash flow
                                                                                                                          + $      1,291.77
         Subtract line 21 from line 20 and report the result here.
         This amount may be different from what you may have calcu lated as net profit.

    23. Cash on hand at the end of the month
         Add line 22 + line 19. Report the result here.
         Report this figure as the cash on hand at the beginning of the month on your next operating report.
                                                                                                                          =$       2,776.41

         This amount may not match your bank account balance because you may have outstanding checks that
         have not cleared the bank or deposits in transit.




              3. Unpaid Bills
         Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
         have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
         purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                        $          0.00
                                                                                                                                  -----
                (Exhibit E)




Official Form 425C                      Monthly Operating Report for Small Business Under Chapter 11                            page 2

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                                                                                    158
Debtor Name   My Sister's Closet LLC                                                      Case number 23-20604




              4. Money Owed to You

        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold . Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here .
    25. Total receivables                                                                                                   $            0.00
                                                                                                                                 -----
               (Exhibit F)



              5. Employees
                                                                                                                                           9
    26. What was the number of employees when the case was filed?
                                                                                                                                            8
    27 . What is the number of employees as of the date of this monthly report?




              6. Professional Fees
                                                                                                                                  0.00
                                                                                                                             $ ----
    28. How much have you paid th is month in professional fees related to this bankruptcy case?                                    -
    29. How much have you paid in professional fees related to th is bankruptcy case since the case was filed?
                                                                                                                             $      1,430.00

    30. How much have you paid this month in other professional fees?                                                        $           0.00
                                                                                                                                 -----
    31 . How much have you paid in total other professional fees since filing the case?                                           0.00
                                                                                                                             $ ---- -



              7. Projections

         Compare your actual cash receipts and disbursements to what you projected in the previous month.
         Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                       Column B                     Column C
                                        Projected                      Actual                   =   Difference

                                        Copy lines 35-37 from          Copy lines 20-22 of          Subtract Column B
                                        the previous month's           this report.                 from Column A.
                                        report.

    32. Cash receipts                   $   25,000.00                  $ 35,546.81              =   $   -10,546.81

    33. Cash disbursements              $ 22,000.00                    $ 34,255.04              =   $ -12,255.04


    34. Net cash flow
                                      ~ 3,000.00                1- ~              1.77       7=     $     1,708.23
                                                                                                                        7
    35. Total projected cash receipts for the next month:                                                                    $     40,000.00

    36. Total projected cash disbursements for the next month:                                                              _ $    38,000.00

    37. Total projected net cash flow for the next month:                                                                            2,000.00




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Debtor Name   My Sister's Closet LLC                                                  Case number 23-20604




              8. Additional Information

    If avai lable, check the box to the left and attach copies of the following documents.

    fH 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
    D 39. Bank reconciliation reports for each account.
    D 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
    D 41 . Budget, projection, or forecast reports.
    D 42. Project, job costing, or work-in-progress reports .




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11          page 4

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                                                                                  158
 draft October MOR
 Final Audit Report                                                               2023-12-19

     Created :               2023-12-11

     By:                     Ryan Blay WM Law (blay@wagonergroup.com)

     Status:                 Signed

     Transaction ID:         CBJ CH BCAABAAktsqZH S6D1 snpgAMsoM Dhq 1_x3RKklhJ




 "draft October MOR" History
 ~ Document created by Ryan Blay WM Law (blay@wagonergroup.com)
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                                                                                                           Contact us:              MEMll~
                  FIRST                                                                                    (785) 363-7721           FDIC

       CoMMERcEBANK                                                                                        Branch:
                                                                                                           FIRST COMMERCE BANK
                                                                                                           21 PUBLIC SQUARE, BOX 157
Downtown Marysville                       On the Square, Blue Rapids                                       BLUE RAPIDS, KS 66411
   785-562-5558                                 785-363-7721
                                                                                                           Visit our website at:
                                                                                                           www.bankfirstcommerce.com




           CHAD BARGDILL
           331 E COMMERCIAL ST
           WATERVILLE KS 66548-8926



                                                                                                                                         Page 1 of 8


Statement Date: October 31, 2023                                                                                   Account Number: 8>389


Blue Checking
ACCOUNT ACTIVITY SUMMARY

Statement period number of days                                  32
Average balance                                             $303.75
Total service charge this period                              $3.00




                                                                                          Credits
Previous balance             09/29/2023                      $945.85                  $13,248.57
                                                                                                                    Debits
                                    ·•-· . ----· --·--                                                              $13,364.23
Deposits                                29                $13,248.57
Withdrawals                              67               $13,364.23
Ending balance               10/31/2023                      $830.19



                                                                          Total for this period                                   Total year to date
Total overdraft fees                                                                   $330.00                                               $660.00
Total returned Item fees                                                                  $0.00                                                 $0.00



DEPOSITS

Date                                     Description                                                                                  Amount
       -------                                                       ................. ···-·--· · - · · · · - - - - - - - - - - - -
_1_0_
    ,0_2_
        ,2_0_
            23_ _ _ _ _ _ _ _ _F_R_OM XXXXXXXX.0370 Internet Banking Transaction                     ··-- ··--··- _____________     $_1,_2_
                                                                                                                                          00_._
                                                                                                                                              oo_
 10/02/2023                    HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                    $72.91
                               CRED
_1_0_/0_4_/2_0_23
                _ _ _ _ _ _ _ _ _F_R_O_M
                                       _ X_X_XXXXXX0370 Internet Banking .. Transaction                     ----·········---······--······----
                                                                                                                                             $5_0_0_.o_o_
_1_0_/0_4_/2_0_2_
                3 _ _ _ _ _ _ _ _ _F_R_O_M
                                         _ X_X_X_X_X_XXX0370 Internet BankingTransaction . __ ---··- ·---·------ ·-·······--··· _ _$_
                                                                                                                                    50_0_.o_o_
 10/06/2023                        HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                          $106.47
                                   CRED
10/10/2023                               FROM XXXXXXXX0370 Internet Banking Transaction                                                        $500.00
              --------------                                                                    -----------------
10/11/2023                              . FROM XXXXXXXX0370 Internet Banking Transaction                                                       $500.00
10/11/2023                               FROM XXXXXXXX0370 Internet Banking Transaction                                                        $750.00
 10/11/2023                .......................... -· ~_ROMJ<_)(X)()()()0._~~?0 Internet Ban.kin9Trans~~tiC>n                               $300.00
 10/11/2023                                              HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                 $72 .83
                                                         CRED

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              Downtown Marysville    On the Square, Blue Rapids
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 CHAD BARGDILL                                                                                                                                                                     Account Number: •389

DEPOSITS (continued)

Date                                Description                                                                                                                                                         Amount
10/11/2023                          HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                  $72 .37
                                    CRED
10/12/2023                          HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                   $41 .06
                                    CRED
10/17/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                                                                                                     $2,300 .00
10/17/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                                                                                                       $520.00
    /1_7_
_1_0_   /2_0_
            23_ _ _ _____
                 _ _ _ _ FR_C>rv1X_XXXXXXX7480 Internet Ban~ing Transa._?_tion                                                                                                                           $286.00
 10/20/2023              FROM XXXXXXXX0370 Internet Banking Transaction                                                                                                                                  $750.00
- - - - - - - - - - - - - - - ············-·---.. ---· ·- •••• ·-· ·-···-···--·· ..-· ------     ·••   ····••··•·

10/23/2023               FROM XXXXXXXX0370 Internet Banking Transaction                                                                                                                                  $1 00.00
10/23/2023                          FROM XXXXXXXX0370 Internet Banking Transaction                                                                                                                       $500.00
 10/24/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                                                                                                     $1,200.00
 10/24/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                $185.49
                                    CRED
 10/24/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                $341 .66
                                    CRED                                                                                                                                         ________               ., __ ,, __ ,,.,,.   ·--·-·

 10/25/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                   $87.83
                                    CRED
_1_0_/2_6_/2_0_2_
                3 _ _ _ _ _ _ _ _ _F_R_O
                                       _M_ XX)(>.<)(>.<)()(0370 Internet Banking T~a.n~8.9.!~?.~-- __ _ .. _ _ _ _ _ _ _ _ _ _ _ _$_3_00_._oo_
 10/26/2023                        HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                           $58 .53
                                   CRED
 10/27/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                    $48.84
                                    CRED
 10/30/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                $331 .95
                                    CRED
 10/31/2023                         FROM XXXXXXXX0370 Internet Banking Transaction                                                                                                                     $1 ,200.00
 10/31/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                $195.15
                                    CRED
 10/31/2023                         HYPERWALLET SYST MY SISTERS CLOSET LLC ACH CREDIT MISC                                                                                                                $227.48
                                    CRED

 Number of Deposits 29                                                                                                                                                                 Total Deposits $13,248.57



 WITHDRAWALS

 Date                                Description                                                                                                                                                         Amount
 10/02/2023                         TO XXXXXXXX7480 Internet Banking Transaction                                                                                                                           $100.00
 10/02/2023                          PURCHASE 09-30 KLAVIYO INC . SOFTWARE BOSTON , MA                                                                                                                     $175.00
                                     MCI 7814 Recurring Debit
10/02/2023               PURCHASE 09-29 SHOPIFY• 197647996 ELK GROVE VIL, IL                      MCI         $487.60
_ _ _ _ _ _ _ _ _ _ _ . 7 814_..Recurring _Debit                 ............._ .. . .... _ ..____________________
10/02/2023               PAYPAL           INSIDE MY SISTERS CLO ACH DEBIT INST XFER IPSY                       $16.27
- - - - - - - - - - - - - - -                 uHrnHH••-     -     OHHHH••--••-          •-••••                      -•-••--•••-•-••--•--•--   --•---•--   -•-••••••-••••••--•-   •••••-•m•-•-•------    --•--•••--•-••.,         ---•

 10/02/2023                          PAYPAL                  INSIDE MY SISTERS CLO ACH DEBIT INST XFER IPSY                                                                                                    $32.24
 10/05/2023                          PURCHASE 10-04 SHOPIFY• 198318976 ELK GROVE VIL, IL                                                                                         MCI                       $180.30
                                     7814 Recurring Debit
                                                          ------····-···-······•·-··-                                                   - - - - - - - - - - - - - --······ -··-·····-··
 10/06/2023                          PURCHASE 10-05 VISTAPRINT 8662074955, MA                                                                             MCI 7814                                         $110.66
 10/10/2023                          PURCHASE 10-10 AMZN Mktp us· TE54666O0 Amzn .com/bill , WA                                                                                                                $46.15
                                     MCI 7814
                                            ----
 10/10/2023                          PURCHASE 10-09 AMZN Mktp us·T92 H91WV1 Amzn .com/bill, WA                                                                                                                 $80.64
                                     MCI 7814
 10/10/2023                          KANSAS GAS SERVI RACHAEL BARGDILLA ACH DEBIT UTIL PAYMT                                                                                                                $130 03

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                                      FIRST
                           COMMERCE BANK
                   Downtown Marysville                    On the Square, Blue Rapids
                      785 -562 -5558                            785 -36.l -772 1


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  CHAD BARGDILL                                                                                                                                                            Account Number: •389

WITHDRAWALS (continued)

Date                                                    Description                                                                                                                                           Amount
10/10/2023                                              SHE PROFITS NOW MSC BOUTIQUE ACH DEBIT SALE                                                                                                            $450.00
-----------------
10/11/2023                                              OVERDRAFT CHECK FEE                                                                                                                                     $30 .00
10/11/2023                                              BLUE VALLEY TELE Rachael bargdill ACH DEBIT Phone Bill 00015422-1                                                                                      $263.42
 10/11/2023                                             FB P-C INS               BARGDILLADALEE ACH DEBIT Payment                                                                                              $360.36
 10/13/2023                                             OVERDRAFT CHECK FEE                                                                                                                                     $30.00
------------                                                                                     ---                                                                                                            $30.00
 10/13/2023                                             OVERDRAFT CHECK FEE
                                      - - - - - -·-·                                              ,_,   ..
 10/16/2023                                             OVERDRAFT CHECK FEE                                                                                                                                     $30.00
                                                                                                                                                                                  ·-··   ------·· -····
 10/17/2023                                              FB P-C INS              BARGDILLBRANDON ACH DEBIT Payment                                                                                             $135.52
 10/17/2023                                              PURCHASE 10-16 AMZN Mktp US*TP1VT6J91 Amzn .com/bill , WA                                                                                              $25.92
                                                         MCI 7814
                                                                                                                                                  ------· ----------------- - - - - -
 10/17/2023                                              OVERDRAFT CHECK FEE                                                                                                                                    $30.00
 10/17/2023                                              OVERDRAFT CHECK FEE                                                                                                                                    $30 .00
 10/17/2023                                              OVERDRAFT CHECK FEE                                                                                                                                    $30.00
-10/19/2023
   - - - - - - - - - - -OVERDRAFT
                         -                                                                                                                                                                                      $30.00
                                  CHECK FEE
                                                                                                --------
 10/19/2023                                              OVERDRAFT CHECK FEE                                                                                                                                    $30.00
 10/20/2023                                              OVERDRAFT CHECK FEE                                                                                                                                    $30.00
 10/23/2023                                              PURCHASE 10-21 GOOGLE *G oogle Storage Mountain View, CA                                                                                                $1 .99
                                                         PUL 7814
10/24/2023             PURCHASE 10-23 KLAVIYO INC . SOFTWARE BOSTON , MA                                                                                                                                       $175.00
_ _ _ _ _ _ _ _ _ _ _ _M
                       _C_ I 7814 Recurring_Debit __________________________
10/24/2023             TRANSFER TO XXXXXXXX5508                                                                                                                                                                $470.51
- - - - - - - - - - - - - - -                                            --•-•H•Hom•   ••-••-•••••-----•     HHOH••••H-•m•mHHH•• - • • • • •




 10/25/2023                                              EVERGY KS CTRL Bargdill ,Rachael ACH DEB IT AUTOPAY                                                                                                   $216.05
                                                         481850444421
- - - - - - - - - - - - - - - - - - · · · • · · • • · - · • • · • • · - -.. --, ....
 10/26/2023                                              PURCHASE 10-25 SHOPIFY* 200334974 ELK GROVE VIL, IL                                                            MCI                                    $481.19
                                                         7814 Recurring Debit
10/27/2023             PURCHASE 10-27 APPLE.COM/BILL 866-712-7753 , CA                                                                                           MC I 7814                                        $8.99
_ _ _ _ _ _ _ _ _ _ _ _R_ecurring Debit ___ -·-- ________ _ .... --·· ·---- ____________
10/30/2023             PURCHASE 10-27 APPLE.COM/BILL 866-712-7753, CA                                                                                            MCI 7814                                         $9.75
_ _ _ _ _ _ _ _ _ _ _ _R_e_c_ur_ring Debit
 10/30/2023                                              PURCHASE 10-28 APPLE.COM/BILL 866-712-7753 , CA                                                          MCI 7814                                        $9.99
                                                         Recurring Debit
 10/30/2023                                              TO XXXXXXXX0370 Internet Banking Transaction                                                                                                          $100.00
                                                                                                                                                  - - - - - - - - - - - - - - --··------------------
 10/30/2023                                             _T? ~~XXXXX0370 Internet Banking_!ransaction                                                                                                           $250.00
 10/31/2023                                              OVERDRAFT CHECK FEE                                                                                                                                    $30.00
 10/31/2023                                              MAINTENANCE FEE                                                                                                                                          $3.00

 Number of Withdrawals 37                                                                                                                                                      Total Withdrawals $4,650.58



 CHECKS

 Number                          Date                    Amount               Number                                             Date          Amount        Number                       Date                  Amount
 1238                       10/03/23                    $680.00               2676 *                                   10/03/23                 $32.32       2698 *               10/11/23                      $478.64
 2046 *                     10/19/23                    $248.10               2680 *                                   10/04/23                 $24.01       2699                 10/11/23                      $525.10
 2621 *                     10/13/23                   $2,037.67              2681                                     10/24/23                 $15.40       2700                 10/13/23                       $80 .57
 2624 *                     10/17/23                      $40 .00             2686 *                                   10/03/23                 $48.41       2702 *               10/19/23                      $392.22
 2625                       10/31/23                      $94.35              2690 *                                   10/24/23                 $15.03       2703                 10/20/23                       $80.35
 2639 *                     10/02/23                      $23.55              2692 •                                   10/03/23                $525.1 0      2704                 10/17/23                      $525.10
 2643 *                     10/03/23                      $24 .59             2693                                     10/11/23                 $89.13       2709 •               10/31/23                       $30.54
 2660 *                     10/16/23                     $148.30              2694                                     10/05/23                 $80.46       2710                 10/26/23                      $476.10
 2667 •                     10/03/23                      $24.20              2696 •                                   10/04/23                $476.10       2711                 10/23/23                      $525.10
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                          FIRST
                  CoMMERcEBANK
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                 785 - 562 - 5558                   785-363-772 l


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CHAD BARGDILL                                                                                                                 Account Number: 90389

CHECKS (continued}

Number               Date                 Amount         Number             Date                  Amount        Number                        Date                 Amount
2712             10/26/23                  $80.23        2727 *          10/31123                  $431 .84     2728                       10/31/23                $461.14

* Indicates Break In Sequence
Number of Checks 30                                                                                                      Total Amount of Checks $8,713.65




Date                         Amount                         Date                        Amount                         Date                                     Amount
10/02/2023                  $1 ,384 .10                     10/12/2023                   $67.21                        10/24/2023                              $1,063 .58
10/03/2023                      $49.48                      10/13/2023               $2,111.03 -                       10/25/2023                               $935.36
10/04/2023                    $549.37                       10/16/2023               $2 ,289.33 -                      10/26/2023                                $256.37
10/05/2023                    $288.61                       10/17/2023                    $0.13                        10/27/2023                                $296.22
10/06/2023                    $284.42                       10/19/2023                 $700.19 -                       10/30/2023                                $258.43
10/10/2023                      $77.60                      10/20/2023                   $60.54 -                      10/31/2023                                $830.19
10/11/2023                      $26.15                      10/23/2023                   $12 .37




   Check#1238                 10/03/2023               $680.00                      Check#2046                    10/18/2023                     $248.10


                                                                                        MY SISTER'S CLOSET
                                                                                        RACHAEL BARGDIU.                                        2624
                                                                                        l31ECOt,t"'EACIALST
                                                                                        WATERVIU.£,IISN.5o48           ~ 2 0 ,,;,             l).1~11/1011




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                                                                                    I ,:1 □ 1H~q ?E,1:         ~ .. 1E.1 ~             ~             -

   Check #2621                10/12/2023             $2,037.67                      Check #2624                   10/16/2023                        $40.00




   Check#2625                 10/31/2023                $94 .35                     Check#2639                    10/02/2023                        $23.55




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                      FIRST
                    CoMMERcEBANK
           Downtown Marysville                On the Square, Blue Rapids
                  785 - 562 - 5558                         785 -363 -772 l


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CHAD BARGDILL                                                                                                                    Account Number: 240389




   MY SISTER'S CLOSET                                                             MY SISTER'S CLOSET
   RACHAEL BARGDILL                                                               RACHAEL 8ARG01Ll
   ~l~~i~                            --7/t.:i--201.L             2643             ~,~al

                                                    1$ /;J.~ . ~"'




                                            L
  Check#2643                   10/03/2023                          $24 .59    Check #2660                          10/13/2023                      $148.30


   MY SISTER'S CLOSET                                                             MY SISTER' S CLOSET
   RACHAEL BARGDILL                                              2667             RACHAEL BARGDILL
                                                                                  331 ECoi.<.MERCIALST
   ~lft~~d~~                                                                      WATCRVLI..E, KS ~ I




                                                                                                                                           DOL~ QE-=




                                                                                                                            2m : e

  Check#2667                   10/03/2023                           $24 .20   Check #2676                          10/03/2023                          $32 .32

                                                                                                          ---                     --
                                                                                   MY SISTER'S CLOSET
                                                                                   RACHAEL BARGDILL                        _j./.ts__               2681
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  Check#2680                   10/04/2023                           $24.01    Check#2681                           10/24/2023                          $15.40


    MY SISTER'S CLOSET
    RACHAEL BARGDIU                    _/_~                       2686                                                                              2690
   ~l,i~S~~~                         ...::J.../.):!:20J1._ a- , , , ,1,011                                                 ~20..ti..             l).Mll'/1 011

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  Check#2686                   10/03/2023                           $48.41    Check#2690                           10/24/2023                          $15.03


    MY SISTER'S CLOSET                                                            MY S~TER'S CLOSET
    RACHAEL BARGOILL                                                              RACHAEL BARGDILL                                                   2693
                                                                                  331 ECOMf,,I.E"Cw. Sr
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  Check#2692                    10/03/2023                        $525.10     Check#2693                           10/11/2023                          $89.13




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           Downtown MarylVille               On the Square, Blue Rapids
                  785 -562 -555 8                   785 - 363 -772 1


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CHAD BARGDILL                                                                                                        Account Number: .-e&9




   MY SISTER'S CLOSET
   RACHAEL BARGDILL                                      2694
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  Check #2694                 10/05/2023                    $80.46        Check#2696                      10/04/2023                 $476.10


                                                                               MY SISTER'S CLOSET
                                                                               RACHAEL BARGOILL
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  Check #2698                 10/11/2023                  $478.64         Check#2699                      10/10/2023                 $525.10


    MY SISTER'S CLOSET
    RACHAEL BARGDILL
    ~l~~




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  Check#2700                  10/12/2023                    $80.57        Check#2702                     ., 10/18/2023               $392.22


    MY SlSTER'S CLOSET
    RACHAEL BARGOILL                                       2703
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  Check#2703
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                              10/19/2023                     $80.35       Check #2704                    --       :;,
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                                                                                                          10/16/2023                 $525.10




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  Check#2709                   10/31/2023                    $30 .54          Check #2710                  10/26/2023                 $476.10




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                  COMMERCE BANK
          Downtown Marysville     On the Square, Blue Rapids
             785 -562-5558              785 -363 -772 1


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CHAD BARGDILL                                                                                  Account Number: •389




   MY SISTER'S CLOSET                                           MY SISTER'S CLOSET
   RACHAEL BARGDILL                                             RACHAEL BARGDILL
                                                                '31 E COMMERCIAL 8T
   Wl!~~~                                                       WA~RVl.1.£, KS66.S48




 Check #2711             10/23/2023        $525.10             Check #2712             10/26/2023     $80 .23


                                                                 MY SISTER'S CLOSl:T
                                                                 RA CHA EL BARGDILL
                                                                 ~A~~~~




  Check#2727             10/31/2023        $431 .84            Check#2728              10/30/2023    $461.14




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                                                                    Account Reconciliation Form
    A. The ending balance shown on                                                      H. The ending balance in your check
       statement                                     $ _ _ _ _ _ _ _ __                     register                                           $ _ _ _ _ _ _ _ __
    B. List deposits not shown on                    $ _ _ _ _ _ _ _ __                 I. List deposits, transfers or interest                $ _ _ _ _ _ _ _ __
       statement                                     $ _ _ _ _ _ _ _ __                     cred ited not already listed in your               $ _ _ _ _ _ _ _ __
                                                     $ _ _ _ _ _ _ __                       check register                                     $ _ _ _ _ _ _ _ __
                                                     $ _ _ _ _ _ _ __                                                                          $ _ _ _ _ _ _ __
                                                     $ _ _ _ _ _ _ _ __                                                                        $ _ _ _ _ _ __
    C. Total of lines B                              $ _ _ _ _ _ _ _ __                 J. Total of lines I                                    $ _ _ _ _ _ _ __
    D. Add line C to line A                          $ _ _ _ _ _ _ _ __                 K. Add line J to line H                                $ _ _ _ _ _ _ __
    E. List below all checks written and any                                            L. List below all checks and charges not
       withdrawals not posted on statement                                                  already reflected in your check register
    Check #              $ Amount               Check #            $Amount                  Check#               $ Amount                Check#             $Amount
                     $ _ _ _ _ __                               $ _ _ _ __                                   $ _ _ _ _ __                               $ _ _ _ _ __
                     $ _ _ _ _ __                               $ _ _ _ __                                   $ _ _ _ _ __                               $ _ _ _ __
                     $ _ _ _ __                                 $ _ _ _ __                                   $ _ _ _ __                                 $ _ _ _ __
                     $ _ _ _ __                                 $ _ _ _ __                                   $ _ __ _ __                                $ _ _ __ _
                     $ _ _ _ __                                 $ _ _ _ __                                   $ _ _ _ __                                 $ _ _ _ __

    F. Total of Column E                              $ _ _ __ _ _ __                       M. Total of Column L                               $ _ _ _ _ _ __
    G. Subtract line F from line D                    $ _ _ _ _ _ _ _ __                    N. Subtract line M from line K                     $ _ _ _ __ __

                                  The balances (Line "G" and Line "N" above) should agree. If not, recheck your entries from this
                                     statement and your check register . All deposits and credits are subject to fina l collection .
                             The following pertains to accounts established for personal, family or household purposes only.
For information regarding business and custodial accounts please refer to your account disclosure. Contact us if you have a specific question pertaining to
                                                                     your account.
In Case of Errors or Questions About Your Electronic Transfers                          you may have to pay the amount in question. Wnile we investigate whether or
                                                                                        not there has been an error, the following are true:
Direct inquiries to us at our address or telephone number printed on the front
page of this statement if you think your statement or receipt is wrong or if you        •       We cannot try to collect the amount in question, or report you as
need more information about a transfer on the statement or receipt. We must                     delinquent on that amount.
hear from you no later than 60 days after we sent you the FIRST statement on                    The charge in question may remain on your statement, and we may
which the error or problem appeared.                                                            continue to charge you interest on that amount. But, ifwe determine that
                                                                                                we made a mistake, you will not have to pay the amount in question or any
1.     Tell us your name and account number (if any) .
                                                                                                interest or other fees rflated to that amount.
2.     Describe the error or the transfer you are unsure about, and explain as
       clearly as you can why you believe there is an error or why you need more        •       While you do not have to pay the amount in question, you are responsible
       information.                                                                             for the remainder of your balance.
3.     Tell us the dollar amount of the suspected error.                                •       We can apply any unpaid amount against your credit limit.

If you tell us orally, we may require that you send us your complaint or question       PAYMENT INFORMATION - Please mail or deliver your payment to the
in writing within 10 business days.                                                     financial institution at the address indicated on the reverse side hereof.
                                                                                        Payments received on weekends and holidays will be credited the next
We will determine whether an error occurred within 1o business days after we            business day. Payments received after your closi ng date wi ll appear on your
hear from you and will correct any error promptly. If we need more time ,               next statement. If the financial institution has been authorized to deduct the
however, we may take up to 45 days to investigate your complaint or question.           minimum payment from your Account, it will be deducted and credited to your
If we decide to do this, we will credit your account within 1O business days for        Account as of the date shown on the reverse side hereof. To avoid additional
the amount you think is in error, so that you will have the use of the money            INTEREST CHARGES, pay your balance in full. Please call the financial
during the time it takes us to complete our investigation. If we ask you to put         institution for the exact balance as the balance changes daily.
your complaint or question in writing and we do not receive it within 1O business
days, we may not credit your account.                                                   INTEREST CHARGE - The INTEREST CHARGE on your account is calculated
                                                                                        by applying the different PERIODIC RATES to the appropriate range of the
For errors involving new accounts, point-of-sa le, or foreign-initiated                 outstanding daily bala nce of your account. The outstanding daily balance is
transactions, we may take up to 90 days to investigate your complaint or                calculated by using the beginning balance of your account each day, adding any
question. For new accounts, we may take up to 20 business days to credit your           new advances or debits, and subtracting any payments or credits. The
account for the amount you think is in error.                                           INTEREST CHARGE may be determined as follows:
We will tell you the results within 3 business days after completing our                1.      Using the rate ranges, separate the outstanding daily balance into
investigation. If we decide that there was no error, we will send you a written                 appropriate range amounts.
explanation. You may ask for copies of the documents that we used in our
                                                                                        2.      Multiply each outstanding daily balance by the applicable periodic rate .
investigation.
                                                                                        3.      Multiply each of these results by the number of days the applicable rate
The information below is applicable to those Accounts which may be                              was in effect.
subject to an Interest Charge.                                                          4.      Add the results of step #3 together.
What To Do If You Think You Find A Mistake On Your Statement                            USE OF THE AVERAGE DAILY BALANCE - If the daily balances are not
                                                                                        shown on your statement, the average daily balance may be used. The
If you think there is an error on your statement, write to us (on a separate sheet)     average daily balance is or can be multiplied by the number of days in the
at our address shown on the front page of th is statement as soon as possible. In       billing cycle and the periodic rate applied to the product to determine the
your letter, give us the following information:                                         amount of the interest charge. To calculate the average daily balance, all of
                                                                                        the daily balances for the billing cycle are added up, and the total is divided by
       Account information : Your name and account number.
                                                                                        the number of days in the billing cycle. The INTEREST CHARGE is or may be
       Dollar amount: The dollar amount of the suspected error.                         determined as follows:
•      Description of Problem: If you think there is an error on your bill , describe
       what you believe is wrong and why you believe it is a mistake.                   1.      Multiplying each of the average balances by the number of days in the
                                                                                                billing cycle (or if the daily rate varied during the cycle , by multiplying by
You must contact us within 60 days after the error appeared on your statement.                  the number of days the applicable rate was in effect).
You must notify us of any potential errors in writing [or electronically]. You may      2.      Multiplying each of the resu lts by the applicable periodic rate , and adding
call us, but if you do we are not required to investigate any potential errors, and             these products together.




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                                                                                                       Contact us:
                     FIRST                                                                             (785) 363-7721

           CoMMERcEBANK                                                                                 Branch:
                                                                                                        FIRST CO MMERCE BANK
                                                                                                        21 PUBLIC SQUARE, BOX 157
Downtown Marysville                      On the Square, Blue Rapids                                     BLUE RAPIDS, KS 66411
   785-562-5558                                785-363 -7721
                                                                                                        Visit our website at:
                                                                                                        www.bankfi rstcommerce.com




            ADALEE BARGDILL
            331 E COMMERCIAL ST
            WATERVILLE KS 66548-8926


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Statement Date: October 31, 2023                                                                             Account Number: 90370


Blue Checking
ACCOUNTACTNITYSUMMARY
Statement period number of days                                    32
Average balance                                             $1,343.36
Total service charge this period                                $3.00




                                                                                        Debits
Previous balance               09/29/2023                     $538.79               $20,890.81                 Credits
                                                                                                               $22,298.24
Deposits                                 63                $22 ,298.24
Withdrawa     ls
      -------- ·-·
--····-·
                                       108                 $20,890.81
Ending balance                 10/31/2023                   $1,946.22




Date                                    Description                                                                                  Amount
_1_0_/0_2_/2_0_
              23_ _ _ _ _ _ _ _ _POS PYMT 09-30 lnitiate__ lnstant PayouHuntsviUe, AL___ _ __M
                                                                                             _A_P
                                                                                                _ 8_4_10_ _ _ _ _ _ _ _
                                                                                                                      $3_1_0_.0_0_
10/02/2023                              SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                        $230.20
                                        I6W6N4A7P1 R1
_1_0_/0_2_/2_0_
              23_ _ _ _ _ _ _ _ _S_EZ
                                   _ Z_L_
                                        E_ _ _M_,_y_S_is_te_rs_ C_
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                                                                                   D_IT_P_a_,_
                                                                                            y_ ou_t_ _ _ _ _ _ _ _ _ _ _ _ _         $292.18
 10/02/2023                      REGULAR DEPOSIT                                                                                     $616.28
------------                                              ---------------- ------------
 10/03/2023                             REFUND        10-01 TRENDSI CITY OF INDUS, CA            MCI 8410                              $1 .22
 10/03/2023                             REFUND        10-01 TRENDSI CITY OF INDUS, CA            MC I 8410                             $0.77
 10/03/2023                             SHOPIFY    RACHAEL BARGD ILL ACH CREDIT TRANSFER ST-                                     $2,488.98
                                        O0O7M3D4F4T0
 - - - - - - - --·---------·----·- ·- ·····-
 10/03/2023                             SEZZLE          My Sisters Closet ACH CREDIT Payout _                                        $100.40
 10/03/2023                             COMMENTSOLD          RACHAEL BARGDILL ACH CREDIT CommentSol ST-                              $171 .15
                                        W9X7L4R4W0C8
 10/04/2023                             SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                        $401 .23
                                        U2E5I9V685H1
     ------------···-·····--·······-····-·-"-...--,- ..
 10/04/2023                             COMMENTSOLD          RACHAEL BARGDILL ACH CREDIT CommentSol ST-                              $614.99
                                        L0l2Z5Q0E988
 10/05/2023                             REFUND        10-04 TRENDSI CITY OF INDUS, CA            MCI 8410                              $4.72

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ADALEE BARGDILL                                                                                                 Account Number: •370

DEPOSITS (continued)

Date                                   Description                                                                              Amount
10/05/2023                             REFUND        10-04 TRENDSI CITY OF INDUS, CA           MCI 8410                           $3.60
                   -----------
10/05/2023                             REFUND        10-04 TRENDSI CITY OF INDUS, CA           MCI 8410                           $1 .66
10/05/2023                             SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                    $329.56
                                       I9F8E5U8P5C1
10/05/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CREDIT CommentSol ST-                    $101.40
                                       R4S4S1 E7W4J0
10/06/2023                             FB P-C INS       FBM ACH c~~(?~T Payment       FBMCOM034758934_ _ _ _ _ _ _ _ _ _ _$_3_82_._oo_
10/06/2023                             SHOPIFY        RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                  $564.29
                                       J2K7T0L 101 J9
10/06/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CREDIT CommentSol ST-                    $184.81
                                       H8P1 C3T9P8F5
10/10/2023                             REFUND        10-07 TRENDS! CITY OF INDUS, CA           MCI 8410                           $2 .88
10/10/2023                             REFUND        10-07 TRENDSI CITY OF INDUS , CA          MC I 8410                          $1 .06
10/10/2023                             REFUND        10-07 TRENDSI CITY OF INDUS, CA           MCI 8410                           $2.04
10/10/2023                             SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                     $291 .62
                                       N3B5K0U8N7H1
10/10/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CREDIT CommentSol ST-                    $284.18
                                       N4Q3P1 D6M1Y8
10/10/2023                             SEZZLE          My Sisters Closet ACH CREDIT Payout                                      $293.60
10/11/2023                             SHOPIFY    RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                     $1,119.83
                                       Y0W7V5B5X6E2
10/11/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CREDIT CommentSol ST-                    $708.61
                                       L9W3L8R6D0M4
      - - - - - - - - - SHOP IFY
10/12/2023                                         RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                     $289.55
                                       T7P3U9S5S3O3
10/12/2023                             SEZZLE           My Sisters Closet ACH CREDIT Payout                                      $40.15
10/12/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CREDIT CommentSol ST-                     $11 .99
                                       D4O0Z6J2Q6I7
10/12/2023                             REGULAR DEPOSIT                                                                          $379.57
10/13/2023
             ··-   - -    -·   ...
                                       SHOPIFY    RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                      $225.10
                                       V3T5W2G9K4N8
10/13/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CREDIT CommentSol ST-                     $14.11
                                       M3C0Y4C4F6V3
10/16/2023                             SHOPIFY    RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                      $154.59
                                       M2W2C5F9K7E0
10/16/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CREDIT CommentSol ST-                    $126.84
                                       Y1 M8T6P7X7O7
10/17/2023                             SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                    $1,508.00
                                       X7T1 D7D8M8X4
-10/17/2023
   -------------
                                       COMMENTS OLD               RACHAEL BARGDILL ACH CREDIT CommentSol ST-                    $465.08
                                       I6R9D6Y0F1 G2
10/17/2023                             REGULAR DEPOSIT                                                                          $438.72
--------------
10/18/2023                             SHOPIFY       RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                   $296.58
                                       Y2A 1J5O4I6Z0
10/18/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CRED IT CommentSol ST-                    $13.84
                                       R7Q2K3C0Z6V6
10/19/2023                             SHOP IFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                   $327.11
                                       Z5B0U5J 1L1D7
10/20/2023                             SHOPIFY    RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                      $319.78
                                       K6H6G7H5X5O1
10/20/2023                             COMMENTSOLD                RACHAEL BARGDILL ACH CREDIT CommentSol ST-                    $414.12
                                       Z9O0Y2I6D2P2

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 ADALEE BARGDILL                                                                                              Account Number: .-e10




Date                                 Description                                                                                 Amount
10/23/2023                           SHOPIFY     RACHAEL BARGDILL ACH CRED IT TRANSFER ST-                                        $440.27
                                     F8T3R7Y5C0N6
10/23/2023                           SEZZLE           My Sisters Closet ACH CREDIT Payout                                         $138.73
                                         -                                              -
10/23/2023                           COMMENTSOLD                 RACHAEL BARGDILL ACH CREDIT CommentSol ST-                        $33.65
                                     H5Q4R2P6W0X8
10/24/2023                           SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                       $2,141.98
                                     X7F9U0X3R5X8
10/24/2023                           COMMENTSOLD                 RACHAEL BARGDILL ACH CREDIT CommentSol ST-                       $517.15
                                     Z8T5B0Y0Y9X6
10/24/2023                           REGULAR DEPOSIT                                                                              $485.90
10/25/2023                           SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                        $297.51
                                     B6Z1I8H9K3D0
10/25/2023                           COMMENTSOLD                 RACHAEL BARGDILL ACH CREDIT CommentSol ST-                       $118.92
                                     T1 C8M5B4N2U1
10/26/2023                           SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                          $88.69
                                     R6N0I0M5O0N9
10/27/2023                           SHOPIFY      RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                        $323.24
                                     I7V1 N7V9O7M6
10/27/2023                           COMMENTSOLD                 RACHAEL BARGDILL ACH CREDIT CommentSol ST-                       $147.87
                                     Y2G1 E5U3Z2S5
10/30/2023                           FROM XXXXXXXX0389 Internet Banking Transaction                                               $250.00
_1_0_/3_0/_2_02_3_ _ _ _ _ _ _ _ FROM XXXXXXXX0389 lnte_r_
                                                         ne_t_B_a_
                                                                 nk_in--=g'-T_r_
                                                                               an_s_a_
                                                                                     ct_io_n _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ 1o
                                                                                                                          $_ _o_.o_o_
 10/30/2023                      FACEBOOK INC RACHAEL BARGDILL ACH CREDIT B9NW4JF77S                                       $23.50
                                 B9NW4JF77S
10/30/2023                           SHOPIFY     RACHAEL BARGDILL ACH CREDIT TRANSFER ST-                                         $231 .85
                                     R2Z7P2E0C3Q5
10/30/2023                           COMMENTSOLD                 RACHAEL BARGDILL ACH CREDIT CommentSol ST-                         $85.87
                                     M2F6B0K0O5B1
10/30/2023                           SEZZLE           My SistersCloset ACH CREDIT Payout                                            $47.20
10/31/2023                           SHOPIFY    RACHAEL BARGD ILL ACH CREDIT TRANSFER ST-                                        $1 ,769.93
                                     R5O6M6P4T6F2
10/31/2023                           COMMENTSOLD                 RACHAEL BARGDILL ACH CREDIT CommentSol ST-                       $499.39
                                     H6U3J 1J3I9T5
10/31/2023                           SEZZLE            My Sisters Closet ACH CREDIT Payout                                          $28.20

Number of Deposits 63                                                                                            Total Deposits $22,298.24



WITHDRAWALS

Date                                 Description                                                                                  Amount
10/02/2023                           PURCHASE 09-30 COMMENTSOLD COMM ISSION HUNTSVILLE, AL                                           $2.76
                                     MCI 8410 Recurring Debit
 10/02/2023                          PURCHASE 10-02 APPLE.COM/BILL 866-712-7753 , CA                 MCI 8410                        $4.33
                                     Recurring Debit
10/02/2023
  - - - - - - - - - - -PURCHASE 10-01 TRENDSI CITY OF INDUS , CA  MCI 8410     $18.65
-                       --                                     -------------------
 10/02/2023                          PURCHASE 10-01 TRENDSI CITY OF INDUS, CA                   MCI 8410                            $19 .83
                                                                                      -------                          -----
 10/02/2023                          PURCHASE 09-29 TRENDSI CITY OF INDUS, CA                   MCI 8410                            $26.12
 10/02/2023                          PURCHASE 09-29 TRENDSI CITY OF INDUS, CA                   MCI 8410                            $41.99
 10/02/2023                          PURCHASE 09-29 COMMENTSOLD COMMISSION HUNTSVILLE, AL                                           $60.31
                                     MCI 8410 Recurring Debit


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    ADALEE BARGDILL                                                                                                                                     Account Number: •370

WITHDRAWALS (continued)

Date                                    Description                                                                                                                      Amount
10/02/2023                              PURCHASE 09-29 SEZZLE*DRBJ*GOQ90*P2 MINNEAPOLIS, MN                                                                               $82.13
                                        MCI 8410 Recurring Debit
10/02/2023                              TO XXXXXXXX7480 Internet Banking Transaction                                                                                     $100.00
10/02/2023                              TO XXXXXXXX0389 Internet Banking Transaction                                                                                   $1,200.00
10/03/2023                              PURCHASE 10-02 WWW. EZENANA.COM LOS ANGELES, CA                                                                                  $304.44
                                        MCI 8410
10/04/2023                              PURCHASE 10-03 TRENDSI CITY OF INDUS, CA                                                          MCI 8410                        $46.56
-      -   -
10/04/2023                              PURCHASE 10-03 TRENDSI CITY OF INDUS, CA                                                          MCI 8410                        $56.06
                                                                                                                                                     - - - - - - - - - - $80.62
                                                                                                                                                                         ---
    10/04/2023                          PURCHASE 10-03 SEULE INC MINNEAPOLIS, MN                                                            MCI 8410
                                                                    ........... ·-···       ---··
10/04/2023              PURCHASE 10-03 SEZZLE*GLBL*18I70*P2 MINNEAPOLIS , MN                                                                                             $114.45
_ _ _ _ _ _ _ _ _ _ _ _ MCI 8410 Recurring Debit
_1
 _0_/0_4_/2_0_2_3_ _ _ _ _ _ _ _ TO XXXXXXXX0389 Internet Banking Tra_n_
                                                                       sa_c_ti_
                                                                              on_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _$5_0_0_.0_0_
 10/04/2023                      TO XXXXXXXX0389 Internet Banking Transaction                                    $500.00
    10/05/2023                          PURCHASE 10-04 SEZZLE INC MINNEAPOLIS, MN                                                           MC I 8410                     $23.75
10/05/2023               PURCHASE 10-04 FASHIONGO* VERY J LOS ANGELES, CA                                    $148.00
_ _ _ _ _ _ _ _ _ _ _ _ _M
                         _ C_I _8_
                                 41_0 ~ecurring Deb.~t·-·--· ·-- ·-··-- _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
10/05/2023               PURCHASE 10-04 SP URBANISTA GRAND PRAIRIE, TX                   MCI                 $251.50
                         8410
    10/06/2023                          PURCHASE 10-05 SONIC DRIVE IN #2571 MARYSVILLE, KS                                                                                $14.07
                                        MCI 8410
    10/06/2023                          PURCHASE 10-05 SEZZLE*TEJA*OV3BG*P3 MINNEAPOLIS , MN                                                                              $86.62
                                        MC I 841 O Recurring..Debit ···
    10/06/2023                          TO XXXXXXXX7480 Internet Banking Transaction                                                                                     $900.00
10/10/2023               POS PYMT 10-06 SP AFF TENNESSEE JA SAN FRANCISCO, CA                                                                                             $13.25
_ _ _ _ _ _ _ _ _ _ _ _ _P
                         _U_L
                            _ 8_4_10_ R_ec_urring De_b_it_ __
10/10/2023               PURCHASE 10-09 SP SINGS MY SOULE TM SAN ANGELO, TX                                                                                               $14 .06
                         MCI 8410
    10/10/2023                          PURCHASE 10-06 TRENDSI CITY OF INDUS , CA                                                         MCI 8410                        $16.07
    10/10/2023                          PURCHASE 10-06 TRENDS I CITY OF INDUS, CA                                                         MCI 8410                        $17 .26
    10/10/2023                          PURCHASE 10-07 SP WLM WHOLESALE CHARLOTTE, NC                                                                                     $18 .00
                                        MCI 8410
    10/10/2023                          PURCHASE 10-08 DOLLAR TREE MANHATTAN , KS                                                             PPE 8410                    $19.10
------------
    10/10/2023                          PURCHASE 10-06 TRENDSI CITY OF INDUS, CA                           $21.26                         MCI 8410
10/10/2023               POS PYMT 10-08 SP AFF TENNESSEE JA SAN FRANC ISCO, CA                             $24.47
_ _ _ _ _ _ _ _ _ _ _ _ _P
                         _U_L_ 8_4_
                                  10_ Re
                                       _c_u_rr_in~g_D
                                                    _e_bi_t _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
10/10/2023               POS PYMT 10-06 SP AFF TAAS INC2 SAN FRANCISCO, CA               PUL               $33.10
_ _ _ _ _ _ _ _ _ _ _ _ .841 o Recurring Debit
    10/10/2023                          PURCHASE 10-09 TRENDSI CITY OF INDUS, CA                                                          MCI 8410                        $73.99
    10/10/2023                          PURCHASE 10-07 WHOLESALEFASHIONSQUARE VERNON, CA                                                                                 $198.95
                                        MCI 8410
_1_0_11_0_12_0_2_
                3 _ _ _ _ _ _ _ _ TO XXXXXXXX7 48g l~t~~~e~~~~.~i~.\L!~~.nsaction                                                                                        $200.00
 10/10/2023                       PURCHASE 10-07 TAPMANGO SUB BUFFALO GROVE, IL                                                                  MCI                     $428.00
                                  8410 Recurring Debit
_1_0_,1_0_,2_0_2_3_ _ _ _ _ _ _ _ _T
                                   _O_ X_X_XXXXXX0389 I~!:~~.:t Banking Tran~_~_c_ti_
                                                                                    on_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _$5_0_0_.o_o_
    10/10/2023                          PURCHASE 10-06 WWW.EZENANA.COM LOS ANGELES, CA                                                                                   $518.29
                                        MCI 8410
    10/11/2023                          PURCHASE 10-10 TRENDSI CITY OF INDUS, CA                                                          MCI 8410                         $35.55
    10/11/2023                          PURCHASE 10-10 TRENDSI CITY OF INDUS, CA                                                          MCI 8410                         $73.99
-----------··--··-·- -                      - --···- ······-···--                       ·······-··-·-· ······················--··-····-
    10/11/2023                          PURCHASE 10-10 SEZZLE INC MINNEAPOLIS, MN                                                            MCI 8410                    $111 .63
    10/11/2023                          TO XXXXXXXX0389 Internet Banking Transaction
                                                                                        -------------------
                                                                                                                                                                         $300.00

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 ADALEE BARGDILL                                                                                                                                         Account Number: ~70
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Date                                         Description                                                                                                                  Amount

10/11/2023                                   PURCHASE 10-10 FASHIONGO* JUDYBLUE LOS ANGELES, CA                                                                            $357.56
                                             MCI 8410 Recurring Debit
10/11/2023                                   TO XXXXXXXX0389 Internet Banking Transaction                                                                                  $500.00
_1_0_/1_1_/2_0_2_3 _ _ _ _ _ _ _ _ _T_O XX_?<XXXXX7480 Internet Banking Transaction                                                                                        $500.00
_1_0_/1_1_/2_0_2_3 _ _ _ _ _ _ _ _ _T_O__ XXXXXXXX0389 Internet Banking Transaction                                                                                        $750.00
 10/12/2023                                  PURCHASE 10-12 APPLE.COM/BILL 866-712-7753 , CA                                                    MCI 8410                    $10.84
                                             Recurring Debit
 10/12/2023                                  PURCHASE 10-12 WM SUPERCENTER #341 MARYSVILLE, KS                                                                              $21 .50
                                             PPE 8410
 10/12/2023                                   PURCHASE 10-11 TRENDSI CITY OF INDUS, CA                                                     MCI 8410                         $22 .81
 10/12/2023               _ _ _ _ _T_O_ XX
                                         _ XJ?<,X?.<?.<!~~g1~t~~!_let_~ll~~i~~-!rll~_illl~tio~ ____________ _                                                              $350.00
 10/16/2023                        POS PYMT 10-13 SP AFF COUNTRY GRAP SAN FRANCISCO, CA                                                                                     $16.60
                                   PUL 841 O Recurring Debit
                                             --                        "

 10/16/2023                                   PURCHASE 10-15 WAL-MART#0035 MANHATTAN, KS                                                          PPE                       $42.27
                                              8410
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- ----                              - - - ·---------·--- --- "'
 10/16/2023                                   PURCHASE 10-13 TRENDSI CITY OF INDUS, CA                                                     MCI 8410                         $44.09
 10/16/2023                                   PURCHASE 10-15 TRENDSI CITY OF INDUS, CA                                                     MCI 8410                         $48.54
 10/16/2023                                   PURCHASE 10-13 SEZZLE*DRBJ*GOQ90*P3 MINNEAPOLIS, MN                                                                           $82.13
                                              MCI 8410 Recurring Debit
 10/16/2023                                   PURCHASE 10-15 COMMENTSOLD SUB HUNTSVILLE, AL                                                           MCI                  $149.00
                                              841 O Recurring Debit
                           ------
 10/16/2023                                   TO XXXXXXXX7480 Internet Banking Transaction                                                                                 $250.00
-10/17/2023
   ------------ ------                            ------ ------------ --
              PURCHASE 10-15 SONIC #2566 MANHATTAN , KS MCI 8410    $12.61
 10/17/2023                                   TO XXXXXXXX7402 Internet Banking Transaction                                                                                  $20.00
 10/17/2023                                   PURCHASE 10-15 RAISING CANES 0344 MANHATTAN , KS                                                          MCI                 $21 .87
                                              8410
 10/17/2023                                   PURCHASE 10-16 TIME CLOCK WIZARD INC 8662087618, NY                                                                           $49.90
                                              MCI 8410
                                                                                                                  ••    ---------·-·.   ------------------
 10/17/2023                                   PURCHASE 10-16 COMMENTSOLD COMMISSION HUNTSVILLE, AL                                                                          $52.10
                                              MCI 8410 Recurring Debit
 10/17/2023                                   PURCHASE 10-16 SP KIDSCHARM .COM DALLAS, TX                                                         MCI                      $177.91
                                              8410
 10/17/2023                                   TO XXXXXXXX0389 Internet Banking Transaction                                                                                 $520.00
 10/17/2023                                   TO XXXXXXXX0389 Internet BankingTransaction                                                                                 $2,300.00
 10/18/2023                                   PURCHASE 10-17 SEZZLE*SMSB*GTGHG*P2 MINNEAPOLIS, MN                                                                           $82.12
                                              MCI 841 O Recurring Debit
10/18/2023               PURCHASE 10-17 SEZZLE*GLBL *18170*P3 MINNEAPOLIS, MN                                                                                              $114.45
_ _ _ _ _ _ _ _ _ _ _ _ _M
                         _C
                          _ I _8_
                                41_0_Recurring Debit_ _ _ _ _ _ _ _ _ __
10/19/2023               PURCHASE 10-18 SEZZLE*TEWH*PIG9G*P2 MINNEAPOLIS, MN                                                                                                $25.25
                         MCI 8410 Recurring_Debit           ... _ _ _______
10/19/2023               PURCHASE 10-18 TRENDS! CITY OF INDUS, CA           MCI 8410                                                                                        $41 .99
                                    ____ .. ______________ ,                       ---------- ·•·······················--·                -----------
 10/19/2023                                   TO XXXXXXXX7480 Internet Banking Transaction                                                                                 $150.00
10/20/2023               POS PYMT 10-20 SP AFF TENNESSEE JA SAN FRANCISCO, CA                                                                                                $13.25
_ _ _ _ _ _ _ _ _ _ _ _ _P
                         _U_ L_ 8410RecurringDebit ___ _
10/20/2023               PURCHASE 10-19 TRENDS! CITY OF INDUS, CA     MC I 8410                                                                                              $24 .80
 10/20/2023                                       PURCHASE 10-19 TRENDS! CITY OF INDUS , CA                                         $55.97 MCI 8410
10/20/2023             PURCHASE 10-19 SEZZLE*TEJA*OV3BG*P4 MINNEAPOLIS, MN                                                          $86.64
_ _ _ _ _ _ _ _ _ _ _ _M
                       _C_ l_ 841_0 RecurringD_e_b_it _ _
                                                             ···-· ·-······-··-···-------· --·· -----·--·-·-... - - - - - - - - - - - -
10/20/2023             TO XXXXXXXX7480 Internet Banking Transaction                                                                $100.00
 10/20/2023                                   TO XXXXXXXX0389 Internet Banking Transaction                                                                                 $750.00

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 ADALEE BARGDILL                                                                                                                                                         Account Number: . .370




Date                                     Description                                                                                                                                                   Amount
                -- ·---·•-·-· -
_1_0_/2_3_/2_0_2_
                3 _ _ _ _ _ _ _ _ _T_O_ X_X_X_XX
                                               _ XXX0389 Internet Banking Transaction                                                                                                                  $100.00
10/23/2023                               TO XXXXXXXX0389 Internet Banking Transaction                                                                                                                  $500.00
10/23/2023                               DISCOVER                       BARGDILL RACHAEL ACH DEBIT PAYMENTS 3538                                                                                        $45.00
 10/24/2023                              PURCHASE 10-23 SQ *MRS. POWELL'S BAKE Manhattan , KS                                                                                                            $7.04
                                         MCI 8410
 10/24/2023                              PURCHASE 10-23 SHARP'S SHORT STOP RANDOLPH, KS                                                                                                                 $31 .54
                                         MCI 8410
 10/24/2023                              PURCHASE 10·23 TRENDSI CITY OF INDUS , CA                                                          MC I 8410                                                   $41 .99
                                                                                                                                                    --------------
 10/24/2023                              TO XXX?(X~XX~3~9-~~te.rnet~an_k_in-=-g_T_ra_n_s_a_
                                                                                          ct_io_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _$_1,_2_00_._oo_
 10/24/2023                              BANK•A·COUNT STAMP FOR MY SISTER'S ACH DEBIT CK. ORDERS                                     $32.10
 10/24/2023                              FB p . c INS               FBM ACH DEBIT Payment                                         FBMCOM034882800                                                      $141.94
 10/25/2023                              PURCHASE 10·24 DOLLARTREE MANHATTAN, KS                                                                MCI 8410                                                $13.59
                 -----------                                                                                                                            ······························-·---··--·-·- - - - - -
 10/25/2023                              PURCHASE 10·24 TRENDSI CITY OF INDUS  , CA         MCI 8410
                                                                           ........._. - - - ........ ...... ... _ . __ .. _................ ..  ,_._       _                            ,   ,_
                                                                                                                                                                                                             $36.54_
                                                                                                                                                                                                    ..________
 10/25/2023                              PURCHASE 10·24 TRENDSI CITY OF INDUS, CA                                                            MCI 8410                                                   $50.39
 10/25/2023                            PURCHASE 10-24 SEZZLE*JELW*OHML0*P2 MINNEAPOLIS, MN                                                                                                             $113.13
                                     ___M_CI -~410 Re.~~rring Debit
 10/25/2023                             PURCHASE 10·24 Temu.com Boston, MA       MC I 8410                                                                                                             $272.96
          --------                                  ·········-············· ..................... ························-·-··                      ······· ·······-··--·--··········   ---------
 10/26/2023                              PURCHASE 10-25 TST* Marylicious Snack Marysville, KS                                                             MCI                                           $15.73
                                         8410
 10/26/2023                              POS PYMT 10-26 SP AFF                                              BLOOMWHOLESA SAN FRANCISCO, CA                                                              $34.76
                                         PUL 8410 Recurring Debit
 10/26/2023                              TO XXXXXXXX7480 Internet Banking Transaction                                                                                                                  $300.00
- - - - - - - - -·- - - - - - - - - - - ......... ............................................... - - - - -
 10/26/2023                              TO XXXXXXXX0389 Internet Banking Transaction_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _$_3_0_0_.0_0_
 10/26/2023                              PAYPAL                     INSIDE MY SISTERS CLO ACH DEBIT INST XFER EBAY                                                                                       $65.05
                                         800-456-32
 10/27/2023                              PURCHASE 10-26 SON IC DRIVE IN #2571 MARYSVILLE, KS                                                                                                             $19.00
                                         MCI 8410
 10/30/2023                              PURCHASE 10-26 CASEYS #3492 MARYSVILLE, KS                                                                 MCI 8410                                             $26.60
 10/30/2023                              PURCHASE 10-27 TRENDSI CITY OF INDUS, CA                                                            MCI 8410                                                    $39.99
 10/30/2023 PURCHASE 10·27 TRENDS! CITY OF INDUS, CA                    MCI 8410      $64.99
                                                                                                                                     ----------
---------------      -------- ------··-- ---- •••• - - --- ·-··----- ---- ---------------
10/30/2023  PURCHASE 10-29 WM SUPERCENTER #35 MANHATTAN , KS                          $70.04
            MCI 8410
 10/30/2023                              PURCHASE 10-27 SEZZLE*DRBJ*GOQ90*P4 MINNEAPOLIS, MN                                                                                                             $82 .15
                                         MCI 8410 Recurring Debit
 10/30/2023                              PURCHASE 10-27 TRENDSI CITY OF INDUS, CA                                                            MCI 8410                                                  $357.60
 10/30/2023                              PURCHASE 10-27 TRENDSI CITY OF INDUS, CA                                                            MCI 8410                                                  $418.44
                                                                         ·-····-···--··- ···-· ···---·              ---···                     - - - - - - - - - - _____.._____                                 --·--
 10/31/2023                              PURCHASE 10·30 TACO JOHNS 9987 MANHATTAN , KS                                                                       MCI                                         $13.44
                                         8410
10/31/2023               PURCHASE 10-30 COMMENTSOLD COMM ISSION HUNTSVILLE, AL                                                                                                                           $50 .44
_ _ _ _ _ _ _ _ _ _ _ _ _M
                         _ C_I _8_4 1
                                    _0_ Re.curring Debit_
10/31/2023               TO XXXXXXXX7480 Internet Banking Transaction                                                                                                                                  $300.00
 10/31/2023                              TO XXXXXXXX0389 Internet Banki~g_Transaction .                                                                                                               $1 ,200.00
 10/31/2023                              MAINTENANCE FEE                                                                                                                                                  $3.00
                                                                                                                                                           ·······-····---------------

 Number of Withdrawals 108                                                                                                                                                     Total Withdrawals $20,890.81




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ADALEE BARGDILL                                                                                 Account Number:6"1370



DAILY BALANCE SUMMARY

Date                       Amount                         Date          Amount          Date                        Amount
10/02/2023                 $431 .33                       10/12/2023   $1,051 .44       10/23/2023                     $91.47
10/03/2023               $2,889.41                        10/13/2023   $1,290.65        10/24/2023                 $1 ,781 .89
10/04/2023               $2,607 .94                       10/16/2023     $939.45        10/25/2023                 $1 ,711 .71
10/05/2023               $2,625.63                        10/17/2023     $196.86        10/26/2023                 $1,084.86
10/06/2023               $2 ,756 .04                      10/18/2023     $310.71        10/27/2023                 $1,536.97
10/10/2023               $1,535 .62                       10/19/2023     $420.58        10/30/2023                 $1 ,215 .58
10/11/2023                 $735.33                        10/20/2023     $123.82        10/31/2023                 $1,946.22




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   10/02/2023               $616.28                                    10/12/2023   $379.57



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   10/17/2023               $438.72                                    10/24/2023   $485.90




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                                                                    Account Reconciliation Form
 A. The ending ba lance shown on                                                        H. The ending balance in your check
    statement                                         $ _ _ __ _ _ _ __                     register                                        $ _ _ _ __ _ _ __
 B. List deposits not shown on                        $ _ _ __ _ __ _ _                 I. List deposits, transfers or interest             $ _ __ _ _ _ __ _
    statement                                         $ _ _ _ __ _ _ _ _                    credited not already listed in your             $ _ __ _ _ _ _ __
                                                      $ _ _ __ _ _ _ __                     check register                                  $ _ _ _ _ _ _ _ __
                                                      $ _ __ __ _ _ __                                                                      $ _ _ _ _ _ __
                                                      $ _ _ _ _ _ _ __                                                                      $ _ _ _ _ _ _ __
 C. Total of lines B                                  $ _ _ __ __ _ _                   J. Total of lines I                                 $ _ _ _ _ _ _ __
 D. Add line C to line A                              $ _ _ _ _ _ _ __                  K. Add line J to line H                             $ _ _ _ _ _ _ __
 E. List below all checks written and any                                               L. List below all checks and charges not
    withdrawa ls not posted on statement                                                    already reflected in your check register
 Check#                   $ Amount               Check #            $ Amount            Check #                $ Amount               Check#              $Amount
                      $ _ _ _ _ __                              $ _ _ _ __                                 $ _ _ _ _ __                               $ _ __ __ _
                      $ _ _ _ _ __                              $ _ _ _ _ __                               $ _ _ _ __ _                               $ _ _ _ _ __
                      $ _ _ __ __                               $ _ _ _ _ __                               $ _ _ _ _ __                               $ _ _ __ _ _
                      $ _ _ _ _ __                              $ _ _ _ _ __                               $ _ _ _ _ __                               $ _ _ _ _ __
                      $ _ _ _ _ __                              $ _ _ _ _ __                               $ _ _ _ __ _                               $ _ _ _ _ __
                                                      $ _ _ _ __ _ _ __                                                                      $ _ _ _ _ _ _ __
     F. Total of Column E                                                                M. Total of Column L
     G. Subtract line F from line D                   $ _ _ _ _ _ __ _ _                 N. Subtract line M from line K                      $ _ _ __ _ _ __
..................... ·····························
                                   The balances (Line "G" and Line "N" above) should agree. If not, recheck your entries from this
                                      statement and your check register. All deposits and credits are subject to final collection.
                              The following pertains to accounts established for personal, family or household purposes only.
For information regarding business and custodial accounts please refer to your account disclosure. Contact us if you have a specific question pertaining to
                                                                     your account.
In Case of Errors or Questions About Your Electronic Transfers                          you may have to pay the amount in question. Whi le we investigate whether or
                                                                                        not there has been an error, the following are true:
Direct inquiries to us at our address or telephone number printed on the front
page of this statement if you think your statement or receipt is wrong or if you             We cannot try to collect the amount in question, or report you as
need more information about a transfer on the statement or receipt. We must                  delinquent on that amount.
hear from you no later than 60 days after we sent you the Fl RST statement on                The charge in question may remain on your statement, and we may
which the error or problem appeared.                                                         continue to charge you interest on that amount. But, if we determine that
1.      Tell us your name and account number (if any).                                       we made a mistake, you will not have to pay the amount in question or any
                                                                                             interest or other fees related to that amount.
2.      Describe the error or the transfer you are unsure about, and explain as
        clearly as you can why you believe there is an error or why you need more            While you do not have to pay the amount in question , you are responsible
        information.                                                                         for the remainder of your balance.
3.      Tell us the dollar amount of the suspected error.                                    We can apply any unpaid amount against your credit limit.

If you tell us orally, we may require that you send us your complaint or question       PAYMENT INFORMATION · Please mail or deliver your payment to the
in writing within 10 business days.                                                     financial institution at the address indicated on the reverse side hereof.
                                                                                        Payments received on weekends and holidays will be credited the next
We will determine whether an error occurred within 1O business days after we            business day. Payments received after your closing date will appear on your
hear from you and will correct any error promptly. If we need more time,                next statement. If the financial institution has been authorized to deduct the
however, we may take up to 45 days to investigate your complaint or question.           minimum payment from your Account, it will be deducted and credited to your
If we decide to do this, we will credit your account within 1O business days for        Account as of the date shown on the reverse side hereof. To avoid additional
the amount you think is in error, so that you will have the use of the money            INTEREST CHARGES, pay your balance in full. Please call the financial
during the time it takes us to complete our investigation. If we ask you to put         institution for the exact balance as the balance changes daily.
your complaint or question in writing and we do not receive it within 1O business
days, we may not credit your account.                                                   INTEREST CHARGE - The INTEREST CHARGE on your account is calculated
                                                                                        by applying the different PERIODIC RATES to the appropriate range of the
For errors involving new accounts, point-of-sa le, or foreign -initiated                outstanding daily balance of your account. The outstanding daily balance is
transactions, we may take up to 90 days to investigate your complaint or                calculated by using the beginning balance of your account each day, adding any
question. For new accounts, we may take up to 20 business days to credit your           new advances or debits, and subtracting any payments or credits. The
account for the amount you think is in error.                                           INTEREST CHARGE may be determined as follows:
We will tell you the results within 3 business days after completing our                1.   Using the rate ranges, separate the outstanding daily balance into
investigation. If we decide that there was no error, we will send you a written              appropriate range amounts.
explanation. You may ask for copies of the documents that we used in our
                                                                                        2.   Multiply each outstanding daily balance by the applicable periodic rate.
investigation.
                                                                                        3.   Multiply each of these results by the number of days the applicable rate
The information below is applicable to those Accounts which may be                           was in effect.
subject to an Interest Charge.                                                          4.   Add the resu lts of step #3 together.
What To Do If You Think You Find A Mistake On Your Statement                            USE OF THE AVERAGE DAILY BALANCE • If the daily balances are not
                                                                                        shown on your statement, the average daily balance may be used. The
If you think there is an error on your statement, write to us (on a separate sheet)     average daily balance is or can be multiplied by the number of days in the
at our address shown on the front page of this statement as soon as possible. In        billing cycle and the periodic rate applied to the product to determine the
your letter, give us the following information:                                         amount of the interest charge. To calculate the average daily balance, all of
        Account information : Your name and account number.                             the daily balances for the bi lling cycle are added up, and the total is divided by
                                                                                        the number of days in the billing cycle. The INTEREST CHARGE is or may be
        Dollar amount: The dollar amount of the suspected error.                        determined as follows:
        Description of Problem: If you think there is an error on your bill, describe
        what you believe is wrong and why you believe it is a mistake.                  1.   Multiplying each of the average balances by the number of days in the
                                                                                             billing cycle (or if the daily rate varied during the cycle , by multiplying by
You must contact us within 60 days after the error appeared on your statement.               the number of days the applicable rate was in effect).
You must notify us of any potential errors in writing [or electronically]. You may      2.   Multiplying each of the results by the applicable periodic rate, and adding
call us, but if you do we are not required to investigate any potential errors, and          these products together.




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                                             EXHIBIT C

                           JANUARY-JUNE 2023 PROFIT AND LOSS


Tax Returns for the years 2020-2022 are available upon request.




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                                EXHIBIT D


LEASES – Schedule G – Assumption of Executory Contracts and Unexpired Leases




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Fill in this information to identify the case:

Debtor name        My Sister's Closet LLC

United States Bankruptcy Court for the:      DISTRICT OF KANSAS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           lease for second
             lease is for and the nature of       location of debtor
             the debtor's interest

                State the term remaining          ends Dec. 2023                    Brad Simonsson
                                                                                    100 Manhattan Town Center
             List the contract number of any                                        CenterCal Properties LLC
                   government contract                                              Manhattan, KS 66502




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1


                                 Case
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                       EXHIBIT E - PROJECTIONS OF CASH FLOW/EARNINGS
                                  POST CONFIRMATION PERIOD
                        Year 1              Year 2             Year 3                Year 4              Year 5
                        2/2024-1/2025       2/2025-1/2026      2/2026-1/2027         2/2027-1/2028       2/2028-1/2029

Gross Receipts: 1       $420,000                $428,400       $441,252              $454,490            $468,200
                        ($35,000/month)      ($35,700/month)   ($36,771/month)       (37,875/month)      ($39,016/month)
Expenses:
Payroll 2 (includes     $84,000             $90,000            $96,000               $102,000            $102,000
payroll taxes)          $7,000/month        $7,500/month       $8,000/month          $8,500/month        $8,500/month
Insurance               $3,600              $3,600             $3,600                $3,600              $3,600
                        ($300/month)        ($300/month)       ($300/month)          ($300/month)        ($300/month)
Sales Taxes 3           $35,700             $36,414            $37,145               $38,632.56          $44,220
                        ($2975/mo)          ($3034.50 /mo)     ($3125.54/mo)         ($3219.38/mo)       ($3316.36/mo)
Cost of Goods Sold 4    $210,000            $195,840           $218,502              $204,000            $234,096
                        ($17,500/mo)        ($17,850/mo)       ($18,385.50/mo)       ($18,937.50/month   ($19,508/mo)
                                                                                     )
Rent and utilities      $30,000             $31,200            $33,000               $33,600             $33,600
                        ($2500/month)       ($2600/month)      ($2750/month)         ($2800/month)       ($2800/month)
Administrative and      $48,000             $9,600             $9,600                $9,600              $9,600
Operating Expenses      ($4,000/month)      ($800/month)       ($800/month)          ($800/month)        ($800/month)

Marketing/selling       $72,000             $4,800             $4,800                $6,000              $6,000
expenses                ($6,000/month)      ($400/month)       ($400/month)          ($500/month)        ($500/month)
Net income
available after
paying costs of
operations
Plan Payments
Administrative          $450 month          $200 per rmonth    $200 per rmonth       $200 per rmonth     $200 per rmonth
                        average             ($2400 per year)   ($2400 per year)      ($2400 per year)    ($2400 per year)
                        (including
                        Subchapter V
                        Trustee fees paid
                        in lump sump)
                        ($5,400/year)
IRS                     $51.30/month        $51.30/month       $51.30/month
                        ($615.60//year)     ($615.60//year)    ($615.60//year)
Kansas Department       $351.16/month       $351.16/month      $351.16/month         $351.16/month
of Revenue              ($4,213.92 /year)   ($4,213.92         ($4,213.92 /year)     ($4,213.92 /year)
                                            /year)
S.B.A.                  $1960.19/month      $2486/month        $2486/month           $2486/month         $2486/month
                        ($23,522.38//year   ($29,832/year)     ($29,832/year)        ($29,832/year)      ($29,832/year)
                        )
Unsecured Creditors     $0                  0                  $0                    $0                  $400/month
                                                                                                         ($4,800/year)

Total Plan              $33,751.90          $38,145            $33,145.00            $33,145.00          $37,945
Payments                ($2812.66/mo.)      ($3178.75//mo.)    ($2762.08/mo.)        ($2762.08/mo.)      ($3162.08/mo.)
                        Year 1              Year 2             Year 3                Year 4              Year 5


1
  Assumes 2-3% annual growth in income
2
  Including salaries for the owners
3
  At 8.5% of sales
4
  Cost of Goods Sold calculated at 50% of gross receipts

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                                  #    Jan‐24      Feb‐24    Mar‐24       Apr‐24    May‐24      Jun‐24      Jul‐24    Aug‐24     Sep‐24     Oct‐24    Nov‐24      Dec‐24

Beginning Cash Balance                 1,976       (1,174)    (8,754)    (10,434)   (12,315)   (13,695)   (16,425)   (17,855)   (17,386)   (21,616)   (25,746)   (27,676)
Disposable Income
    Sales, Net                        25,000      27,100     32,900       32,500    33,500     30,800     33,400     37,200     27,800     28,000     32,400     35,400
    COGS                              12,500      13,550     16,450       16,250    16,750     15,400     16,700     18,600     13,900     14,000     16,200     17,700
   Gross Profit                       12,500      13,550     16,450       16,250    16,750     15,400     16,700     18,600     13,900     14,000     16,200     17,700
   Operating Expenses
        Administrative costs           2,070       2,070      2,070        2,070     2,070      2,070      2,070      2,070      2,070      2,070      2,070      2,070
        Compensation                   6,340       6,340      6,340        6,340     6,340      6,340      6,340      6,340      6,340      6,340      6,340      6,340
        Occupancy                      3,090       3,090      3,090        3,090     3,090      3,090      3,090      3,090      3,090      3,090      3,090      3,090
        Operating costs                2,120       2,120      2,120        2,120     2,120      2,120      2,120      2,120      2,120      2,120      2,120      2,120
        Selling costs                  2,030       2,030      2,030        2,030     2,030      2,030      2,030      2,030      2,030      2,030      2,030      2,030
   Total Operating Expenses           15,650      15,650     15,650       15,650    15,650     15,650     15,650     15,650     15,650     15,650     15,650     15,650
Net Disposable Income                  (3,150)     (2,100)      800         600      1,100       (250)     1,050      2,950      (1,750)    (1,650)      550      2,050
Plan Payments
         Administrative claims                     (3,200)      (200)       (200)      (200)      (200)      (200)      (200)      (200)      (200)      (200)      (200)
         IRS                                          (32)       (32)        (32)       (32)       (32)       (32)       (32)       (32)       (32)       (32)       (32)
         KS DOR                                      (288)      (288)       (288)      (288)      (288)      (288)      (288)      (288)      (288)      (288)      (288)
         SBA                                       (1,960)    (1,960)     (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)
         Unsecured creditors              ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
Total Plan Payments                       ‐        (5,480)    (2,480)     (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)
Capital Infusions
          ERC Refund                      ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
          Asset sale proceeds             ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
          Capital contributions           ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
Total Capital Infusions                   ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
Net Cash Flow                          (3,150)     (7,580)    (1,680)     (1,880)    (1,380)    (2,730)    (1,430)      470      (4,230)    (4,130)    (1,930)     (430)
Ending Cash Balance                    (1,174)     (8,754)   (10,434)    (12,315)   (13,695)   (16,425)   (17,855)   (17,386)   (21,616)   (25,746)   (27,676)   (28,107)




                                       Jan‐25      Feb‐25    Mar‐25       Apr‐25    May‐25      Jun‐25      Jul‐25    Aug‐25     Sep‐25     Oct‐25    Nov‐25      Dec‐25

Beginning Cash Balance                (28,107)    (32,037)   (34,917)    (34,897)   (35,078)   (34,758)   (35,788)   (35,518)   (33,349)   (35,879)   (38,309)   (38,539)
Disposable Income
    Sales, Net                        28,400      30,500     36,300       35,900    36,900     34,200     36,800     40,600     31,200     31,400     35,800     38,800
    COGS                              14,200      15,250     18,150       17,950    18,450     17,100     18,400     20,300     15,600     15,700     17,900     19,400
   Gross Profit                       14,200      15,250     18,150       17,950    18,450     17,100     18,400     20,300     15,600     15,700     17,900     19,400
   Operating Expenses
        Administrative costs           2,070       2,070      2,070        2,070     2,070      2,070      2,070      2,070      2,070      2,070      2,070      2,070
        Compensation                   6,340       6,340      6,340        6,340     6,340      6,340      6,340      6,340      6,340      6,340      6,340      6,340
        Occupancy                      3,090       3,090      3,090        3,090     3,090      3,090      3,090      3,090      3,090      3,090      3,090      3,090
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         Operating costs           2,120       2,120      2,120          2,120     2,120      2,120      2,120      2,120      2,120      2,120        2,120      2,120
         Selling costs             2,030       2,030      2,030          2,030     2,030      2,030      2,030      2,030      2,030      2,030        2,030      2,030
   Total Operating Expenses       15,650      15,650     15,650         15,650    15,650     15,650     15,650     15,650     15,650     15,650       15,650     15,650
Net Disposable Income              (1,450)      (400)     2,500          2,300     2,800      1,450      2,750      4,650         (50)           50    2,250      3,750
Plan Payments
         Administrative claims       (200)       (200)      (200)         (200)      (200)      (200)      (200)      (200)      (200)      (200)        (200)      (200)
         IRS                          (32)        (32)       (32)          (32)       (32)       (32)       (32)       (32)       (32)       (32)         (32)       (32)
         KS DOR                      (288)       (288)      (288)         (288)      (288)      (288)      (288)      (288)      (288)      (288)        (288)      (288)
         SBA                       (1,960)     (1,960)    (1,960)       (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)      (1,960)    (1,960)
         Unsecured creditors          ‐           ‐          ‐             ‐          ‐          ‐          ‐          ‐          ‐          ‐            ‐          ‐
Total Plan Payments                (2,480)     (2,480)    (2,480)       (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)      (2,480)    (2,480)
Capital Infusions
          ERC Refund                  ‐           ‐          ‐             ‐          ‐          ‐          ‐          ‐          ‐          ‐            ‐          ‐
          Asset sale proceeds         ‐           ‐          ‐             ‐          ‐          ‐          ‐          ‐          ‐          ‐            ‐          ‐
          Capital contributions       ‐           ‐          ‐             ‐          ‐          ‐          ‐          ‐          ‐          ‐            ‐          ‐
Total Capital Infusions               ‐           ‐          ‐             ‐          ‐          ‐          ‐          ‐          ‐          ‐            ‐          ‐
Net Cash Flow                      (3,930)     (2,880)           20       (180)      320      (1,030)      270      2,170      (2,530)    (2,430)       (230)     1,270
Ending Cash Balance               (32,037)    (34,917)   (34,897)      (35,078)   (34,758)   (35,788)   (35,518)   (33,349)   (35,879)   (38,309)     (38,539)   (37,270)




                                   Jan‐26      Feb‐26    Mar‐26         Apr‐26    May‐26      Jun‐26      Jul‐26    Aug‐26     Sep‐26     Oct‐26      Nov‐26      Dec‐26

Beginning Cash Balance            (37,270)    (39,500)   (40,680)      (38,960)   (37,441)   (35,421)   (34,751)   (32,781)   (28,912)   (29,742)     (30,472)   (29,002)
Disposable Income
    Sales, Net                    31,800      33,900     39,700         39,300    40,300     37,600     40,200     44,000     34,600     34,800       39,200     42,200
    COGS                          15,900      16,950     19,850         19,650    20,150     18,800     20,100     22,000     17,300     17,400       19,600     21,100
   Gross Profit                   15,900      16,950     19,850         19,650    20,150     18,800     20,100     22,000     17,300     17,400       19,600     21,100
   Operating Expenses
        Administrative costs       2,070       2,070      2,070          2,070     2,070      2,070      2,070      2,070      2,070      2,070        2,070      2,070
        Compensation               6,340       6,340      6,340          6,340     6,340      6,340      6,340      6,340      6,340      6,340        6,340      6,340
        Occupancy                  3,090       3,090      3,090          3,090     3,090      3,090      3,090      3,090      3,090      3,090        3,090      3,090
        Operating costs            2,120       2,120      2,120          2,120     2,120      2,120      2,120      2,120      2,120      2,120        2,120      2,120
        Selling costs              2,030       2,030      2,030          2,030     2,030      2,030      2,030      2,030      2,030      2,030        2,030      2,030
   Total Operating Expenses       15,650      15,650     15,650         15,650    15,650     15,650     15,650     15,650     15,650     15,650       15,650     15,650
Net Disposable Income                250       1,300      4,200          4,000     4,500      3,150      4,450      6,350      1,650      1,750        3,950      5,450
Plan Payments
         Administrative claims       (200)       (200)      (200)         (200)      (200)      (200)      (200)      (200)      (200)      (200)        (200)      (200)
         IRS                          (32)        (32)       (32)          (32)       (32)       (32)       (32)       (32)       (32)       (32)         (32)       (32)
         KS DOR                      (288)       (288)      (288)         (288)      (288)      (288)      (288)      (288)      (288)      (288)        (288)      (288)
         SBA                       (1,960)     (1,960)    (1,960)       (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)      (1,960)    (1,960)
         Unsecured creditors          ‐           ‐          ‐             ‐          ‐          ‐          ‐          ‐          ‐          ‐            ‐          ‐
Total Plan Payments                (2,480)     (2,480)    (2,480)       (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)      (2,480)    (2,480)
Capital Infusions
          ERC Refund                  ‐           ‐          ‐             ‐          ‐          ‐          ‐          ‐          ‐          ‐            ‐          ‐
                                             Case 23-20604            Doc# 60       Filed 12/19/23         Page 154 of 158
         Asset sale proceeds          ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
         Capital contributions        ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
Total Capital Infusions               ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
Net Cash Flow                      (2,230)     (1,180)    1,720        1,520     2,020        670      1,970      3,870       (830)      (730)     1,470      2,970
Ending Cash Balance               (39,500)    (40,680)   (38,960)    (37,441)   (35,421)   (34,751)   (32,781)   (28,912)   (29,742)   (30,472)   (29,002)   (26,033)




                                   Jan‐27      Feb‐27    Mar‐27       Apr‐27    May‐27      Jun‐27      Jul‐27    Aug‐27     Sep‐27     Oct‐27    Nov‐27      Dec‐27

Beginning Cash Balance            (26,033)    (26,563)   (26,043)    (22,623)   (19,404)   (15,684)   (13,314)    (9,644)    (4,075)    (3,205)    (2,235)      935
Disposable Income
    Sales, Net                    35,200      37,300     43,100       42,700    43,700     41,000     43,600     47,400     38,000     38,200     42,600     45,600
    COGS                          17,600      18,650     21,550       21,350    21,850     20,500     21,800     23,700     19,000     19,100     21,300     22,800
   Gross Profit                   17,600      18,650     21,550       21,350    21,850     20,500     21,800     23,700     19,000     19,100     21,300     22,800
   Operating Expenses
        Administrative costs       2,070       2,070      2,070        2,070     2,070      2,070      2,070      2,070      2,070      2,070      2,070      2,070
        Compensation               6,340       6,340      6,340        6,340     6,340      6,340      6,340      6,340      6,340      6,340      6,340      6,340
        Occupancy                  3,090       3,090      3,090        3,090     3,090      3,090      3,090      3,090      3,090      3,090      3,090      3,090
        Operating costs            2,120       2,120      2,120        2,120     2,120      2,120      2,120      2,120      2,120      2,120      2,120      2,120
        Selling costs              2,030       2,030      2,030        2,030     2,030      2,030      2,030      2,030      2,030      2,030      2,030      2,030
   Total Operating Expenses       15,650      15,650     15,650       15,650    15,650     15,650     15,650     15,650     15,650     15,650     15,650     15,650
Net Disposable Income              1,950       3,000      5,900        5,700     6,200      4,850      6,150      8,050      3,350      3,450      5,650      7,150
Plan Payments
         Administrative claims       (200)       (200)      (200)       (200)      (200)      (200)      (200)      (200)      (200)      (200)      (200)      (200)
         IRS                          (32)        (32)       (32)        (32)       (32)       (32)       (32)       (32)       (32)       (32)       (32)       (32)
         KS DOR                      (288)       (288)      (288)       (288)      (288)      (288)      (288)      (288)      (288)      (288)      (288)      (288)
         SBA                       (1,960)     (1,960)    (1,960)     (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)    (1,960)
         Unsecured creditors          ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
Total Plan Payments                (2,480)     (2,480)    (2,480)     (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)    (2,480)
Capital Infusions
          ERC Refund                  ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
          Asset sale proceeds         ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
          Capital contributions       ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
Total Capital Infusions               ‐           ‐          ‐           ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐          ‐
Net Cash Flow                       (530)        520      3,420        3,220     3,720      2,370      3,670      5,570        870        970      3,170      4,670
Ending Cash Balance               (26,563)    (26,043)   (22,623)    (19,404)   (15,684)   (13,314)    (9,644)    (4,075)    (3,205)    (2,235)      935      5,604




                                   Jan‐28      Feb‐28    Mar‐28       Apr‐28    May‐28      Jun‐28      Jul‐28    Aug‐28     Sep‐28     Oct‐28    Nov‐28      Dec‐28

Beginning Cash Balance             5,604       6,774      8,994       14,114    19,033     24,453     28,523     33,893     41,162     43,732     46,402     51,272
Disposable Income
    Sales, Net                    38,600      40,700     46,500       46,100    47,100     44,400     47,000     50,800     41,400     41,600     46,000     49,000
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   COGS                           19,300     20,350     23,250      23,050    23,550     22,200     23,500     25,400        20,700      20,800    23,000    24,500
   Gross Profit                   19,300     20,350     23,250      23,050    23,550     22,200     23,500     25,400        20,700      20,800    23,000    24,500
   Operating Expenses
        Administrative costs       2,070      2,070      2,070       2,070     2,070      2,070      2,070      2,070            2,070    2,070     2,070     2,070
        Compensation               6,340      6,340      6,340       6,340     6,340      6,340      6,340      6,340            6,340    6,340     6,340     6,340
        Occupancy                  3,090      3,090      3,090       3,090     3,090      3,090      3,090      3,090            3,090    3,090     3,090     3,090
        Operating costs            2,120      2,120      2,120       2,120     2,120      2,120      2,120      2,120            2,120    2,120     2,120     2,120
        Selling costs              2,030      2,030      2,030       2,030     2,030      2,030      2,030      2,030            2,030    2,030     2,030     2,030
   Total Operating Expenses       15,650     15,650     15,650      15,650    15,650     15,650     15,650     15,650        15,650      15,650    15,650    15,650
Net Disposable Income              3,650      4,700      7,600       7,400     7,900      6,550      7,850      9,750            5,050    5,150     7,350     8,850
Plan Payments
         Administrative claims      (200)      (200)      (200)       (200)      (200)      (200)      (200)     (200)         (200)       (200)     (200)     (200)
         IRS                         (32)       (32)       (32)        (32)       (32)       (32)       (32)      (32)          (32)        (32)      (32)      (32)
         KS DOR                     (288)      (288)      (288)       (288)      (288)      (288)      (288)     (288)         (288)       (288)     (288)     (288)
         SBA                      (1,960)    (1,960)    (1,960)     (1,960)    (1,960)    (1,960)    (1,960)   (1,960)       (1,960)     (1,960)   (1,960)   (1,960)
         Unsecured creditors         ‐          ‐          ‐           ‐          ‐          ‐          ‐         ‐             ‐           ‐         ‐         ‐
Total Plan Payments               (2,480)    (2,480)    (2,480)     (2,480)    (2,480)    (2,480)    (2,480)   (2,480)       (2,480)     (2,480)   (2,480)   (2,480)
Capital Infusions
          ERC Refund                 ‐          ‐          ‐           ‐          ‐          ‐          ‐         ‐                ‐        ‐         ‐         ‐
          Asset sale proceeds        ‐          ‐          ‐           ‐          ‐          ‐          ‐         ‐                ‐        ‐         ‐         ‐
          Capital contributions      ‐          ‐          ‐           ‐          ‐          ‐          ‐         ‐                ‐        ‐         ‐         ‐
Total Capital Infusions              ‐          ‐          ‐           ‐          ‐          ‐          ‐         ‐                ‐        ‐         ‐         ‐
Net Cash Flow                      1,170      2,220      5,120       4,920     5,420      4,070      5,370      7,270            2,570    2,670     4,870     6,370
Ending Cash Balance                6,774      8,994     14,114      19,033    24,453     28,523     33,893     41,162        43,732      46,402    51,272    57,642




Beginning Cash Balance            Jan‐29               Year 1     Year 2      Year 3     Year 4     Year 5               Assumptions
Disposable Income
   Sales, Net                     57,642                (1,174)    (28,107)   (28,107)   (28,107)   (28,107)
   COGS
   Gross Profit                   42,000               351,000         ‐          ‐          ‐          ‐                $40,000 YoY increase
   Operating Expenses             21,000               175,500         ‐          ‐          ‐          ‐                50% of sales
         Administrative costs     21,000               175,500         ‐          ‐          ‐          ‐
         Compensation
         Occupancy                 2,070                22,770         ‐          ‐          ‐          ‐
         Operating costs           6,340                69,740         ‐          ‐          ‐          ‐
         Selling costs             3,090                33,990         ‐          ‐          ‐          ‐
   Total Operating Expenses        2,120                23,320         ‐          ‐          ‐          ‐
Net Disposable Income              2,030                22,330         ‐          ‐          ‐          ‐
Plan Payments                     15,650               172,150         ‐          ‐          ‐          ‐                Average of 6/23‐10/23
          Administrative claims    5,350                 3,350         ‐          ‐          ‐          ‐
          IRS
          KS DOR                    (200)               (5,200)        ‐          ‐          ‐          ‐                5 yrs

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          SBA                       (32)              (355)        ‐          ‐          ‐          ‐         5 yrs @ 5%
          Unsecured creditors      (288)            (3,165)        ‐          ‐          ‐          ‐         5 yrs @ 5%
Total Plan Payments              (1,960)           (21,562)        ‐          ‐          ‐          ‐         5 yrs @ 5%
Capital Infusions                   ‐                  ‐           ‐          ‐          ‐          ‐
         ERC Refund              (2,480)           (30,283)        ‐          ‐          ‐          ‐
         Asset sale proceeds
         Capital contributions      ‐                  ‐           ‐          ‐          ‐          ‐
Total Capital Infusions             ‐                  ‐           ‐          ‐          ‐          ‐
Net Cash Flow                       ‐                  ‐           ‐          ‐          ‐          ‐
Ending Cash Balance                 ‐                  ‐           ‐          ‐          ‐          ‐
                                  2,870            (26,933)        ‐          ‐          ‐          ‐
                                 60,511            (28,107)    (28,107)   (28,107)   (28,107)   (28,107)




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                                              EXHIBIT F
                                        LIQUIDATION ANALYSIS


Assets:
   Funds in First Commerce Bank of
Blue Rapids                                    $3,872.35
   Security Deposit for Manhattan
store                                            $2,000
   Furniture and Fixtures, All Used              $1,000
   Inventory                                    $60,000
   ERC (anticipated)                            $37,000
                          Total Value       $103,872.35

Less

Secured claims ($500,000)

Less
  Hypothetical Chapter 7 Trustee
Fees
       25% of $5,000 = $1,250
       10% of $45,000 = $4,500
              $4500
        5% of $53,872.35 =
$2,693.61
                                            $508,443.61

  Total Value minus Chapter 7 Fees
                and secured claims         $-$404,570.36

Less
  Payments to priority creditors               $9,776.58
                 Grand Total Value          -$414,396.94

There would be no distributions to general unsecured creditors under
a theoretical Chapter 7 liquidation.
Therefore, the Plan as proposed satisfies the requirements
of
11 U.S.C. § 1129(a)(7)(ii).




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